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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,                             C.A. No. 17-1734-RGA
                   v.
  CHARTER COMMUNICATIONS, INC., et al.,       PUBLIC VERSION
       Defendants.

  SPRINT COMMUNICATIONS COMPANY LP.,          C.A. No. 17-1736-RGA
       Plaintiff,
                   v.                         PUBLIC VERSION
  MEDIACOM COMMUNICATIONS CORP.,
       Defendants.
                                              C.A. No. 18-361-RGA
  SPRINT COMMUNICATIONS COMPANY LP.,
                                              PUBLIC VERSION
       Plaintiff,
                   v.
  WIDEOPENWEST, INC. et al.,
                                              C.A. No. 18-362-RGA
       Defendants.
                                              PUBLIC VERSION
  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,
                   v.
                                              C.A. No. 18-363-RGA
  ATLANTIC BROADBAND FINANCE, LLC et al.,
       Defendants.                            PUBLIC VERSION

  SPRINT COMMUNICATIONS COMPANY LP.,
         Plaintiff,
                     v.
  GRANDE COMMUNICATIONS NETWORKS,
  LLC et al.,
         Defendants.


     DECLARATION OF KELLY E. FARNAN IN SUPPORT OF CHARTER’S AND
      DEFENDANTS’ OPPOSITION TO SPRINT’S MOTIONS FOR SUMMARY
     JUDGMENT AND MOTIONS TO EXCLUDE EXPERT TESTIMONY UNDER
                              DAUBERT
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 I, Kelly E. Farnan, declare as follows:

        1.      I am an attorney at Richards, Layton & Finger, P.A. representing Defendants

 Charter Communications, Inc., Charter Communications Holdings, LLC, Spectrum Management

 Holding Company, LLC, Charter Communications Operating LLC and Bright House Networks,

 LLC in C.A. No. 17-1734-RGA. I offer this declaration in support of Defendants’ Opening Brief

 in Support of Its Motion for Summary Judgment and Motion to Exclude Expert Testimony Under

 Daubert.

        2.      Attached hereto as Exhibit 1 is the Declaration of Kirill Abramov in Support of

 Charter’s Brief in Opposition to Sprint’s Motion for Partial Summary Judgment Regarding

 Collateral Estoppel and Equitable Defenses.

        3.      Attached hereto as Exhibit 2 are excerpts from the Complaint, docketed at D.I. 1 in

 Sprint Communications Company, L.P. v. Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans.

 Dec. 19, 2011).

        4.      Attached hereto as Exhibit 3 are excerpts from the Pretrial Order, docketed at D.I.

 859 in Sprint Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684

 KHV/DJW (D. Kans. July 24, 2015).

        5.      Attached hereto as Exhibit 4 are excerpts from the Third Amended Scheduling

 Order, docketed at D.I. 525 in the consolidated cases of Sprint Communications Company, L.P. v.

 Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans. Dec. 12, 2014), Sprint Communications

 Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Dec. 12, 2014), and Sprint

 Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW

 (D. Kans. Dec. 12, 2014).



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          6.   Attached hereto as Exhibit 5 are excerpts from the Second Amended Scheduling

 Order, docketed at D.I. 348 in the consolidated cases of Sprint Communications Company, L.P. v.

 Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans. Aug. 12, 2014), Sprint Communications

 Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Aug. 12, 2014), and Sprint

 Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW

 (D. Kans. Aug. 12, 2014).

          7.   Attached hereto as Exhibit 6 are excerpts from the Amended Scheduling Order,

 docketed at D.I. 168 in the consolidated cases of Sprint Communications Company, L.P. v. Time

 Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans. Dec. 19, 2013), Sprint Communications

 Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Dec. 19, 2013), and Sprint

 Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW

 (D. Kans. Dec. 19, 2013).

          8.   Attached hereto as Exhibit 7 are excerpts from the Scheduling Order, docketed at

 D.I. 69 in the consolidated cases of Sprint Communications Company, L.P. v. Time Warner Cable,

 Inc., 11-2686 JTM/KMH (D. Kans. Apr. 15, 2013), Sprint Communications Company, L.P. v.

 Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Apr. 15, 2013), and Sprint Communications

 Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW (D. Kans. Apr. 15,

 2013).

          9.   Attached hereto as Exhibit 8 are excerpts from the Memorandum Order, docketed

 at D.I. 917 in the consolidated cases of Sprint Communications Company, L.P. v. Time Warner

 Cable, Inc., 11-2686 JTM/KMH (D. Kans. Oct. 8, 2015), Sprint Communications Company, L.P.

 v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Oct. 8, 2015), and Sprint Communications




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 Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW (D. Kans. Oct. 8,

 2015).

          10.   Attached hereto as Exhibit 9 are excerpts from the Pretrial Order, docketed at D.I.

 123 in Sprint Communications Company, L.P. v. Time Warner Cable, Inc., 11-2686 JTM/KMH

 (D. Kans. July 24, 2015).

          11.   Attached hereto as Exhibit 10 are excerpts from the Order, docketed at D.I. 926 in

 the consolidated cases of Sprint Communications Company, L.P. v. Time Warner Cable, Inc., 11-

 2686 JTM/KMH (D. Kans. Oct. 5, 2016), Sprint Communications Company, L.P. v. Cable One,

 Inc., 11-2685 RDR/KGS (D. Kans. Oct. 5, 2016), and Sprint Communications Company, L.P. v.

 Comcast Cable Communications, LLC., 11-2684 KHV/DJW (D. Kans. Oct. 5, 2016).

          12.   Attached hereto as Exhibit 11 is the Declaration of Cody Harrison in Support of

 Charter’s Brief in Opposition to Sprint’s Motion for Partial Summary Judgment Regarding

 Collateral Estoppel and Equitable Defenses.

          13.   Attached hereto as Exhibit 12 are excerpts from the deposition transcript of Paul S.

 Min, Ph.D., taken on June 19, 2015 in the consolidated cases of Sprint Communications Company,

 L.P. v. Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans.), Sprint Communications

 Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans.), and Sprint Communications

 Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW (D. Kans.).

          14.   Attached hereto as Exhibit 13 are excerpts from the Expert Report of Zygmunt J.

 Haas Regarding Invalidity of in U.S. Patent Nos. 6,452,932, 6,463,052, 6,633,561, 7,286,561,

 7,505,454, 6,343,084, 6,473,429, 6,298,064, 7,327,728, 6,330,224, 6,697,340, 6,563,918 dated

 March 20, 2020 and submitted in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

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          15.   Attached hereto as Exhibit 14 are excerpts from the Reply Expert Report of Dr.

 Henry H. Hough Regarding Invalidity of in U.S. Patent Nos. 6,452,932, 6,463,052, 6,633,561,

 7,286,561, 7,505,454, 6,343,084, 6,473,429, 6,298,064, 7,327,728, 6,330,224, 6,697,340 dated

 June 12, 2020 and submitted in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

          16.   Attached hereto as Exhibit 15 are excerpts from the Expert Report of Dr. Kevin

 Almeroth Regarding Invalidity dated March 20, 2020 and submitted in Sprint Communications

 Company L.P. v. Charter Communications, Inc., et al., 17-1734-RGA.

          17.   Attached hereto as Exhibit 16 are excerpts from U.S. Patent No. 6,633,561.

          18.   Attached hereto as Exhibit 17 are excerpts from the Memorandum Order, docketed

 at D.I. 98 in the consolidated cases of Sprint Communications Company, L.P. v. Time Warner

 Cable, Inc., 11-2686 JTM/KMH (D. Kans. Oct. 9, 2014), Sprint Communications Company, L.P.

 v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Oct. 9, 2014), and Sprint Communications

 Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW (D. Kans. Oct. 9,

 2014).

          19.   Attached hereto as Exhibit 18 are excerpts from the Reply Expert Report of Dr.

 Kevin Almeroth Regarding Invalidity dated May 15, 2020 and submitted in Sprint

 Communications Company L.P. v. Charter Communications, Inc., et al., 17-1734-RGA.

          20.   Attached hereto as Exhibit 19 are excerpts from the Expert Report of Dr. Michael

 Frendo dated March 20, 2020 and submitted in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.




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           21.   Attached hereto as Exhibit 20 are excerpts from the Reply Expert Report of Dr.

 Michael Frendo dated May 15, 2020 and submitted in Sprint Communications Company L.P. v.

 Charter Communications, Inc., et al., 17-1734-RGA.

           22.   Attached hereto as Exhibit 21 are excerpts from the Jury Instructions, docketed at

 D.I. 447 in Sprint Communications Company, L.P. v. Time Warner Cable, Inc., 11-2686

 JTM/KMH (D. Kans. Mar. 3, 2017).

           23.   Attached hereto as Exhibit 22 are excerpts from the Transcript of Jury Trial Before

 the Honorable John W. Lungstrum, Senior United States District Court Judge, which occurred in

 Sprint Communications Company, L.P. v. Time Warner Cable, Inc., 11-2686 JTM/KMH (D.

 Kans.).

           24.   Attached hereto as Exhibit 23 are excerpts from the Reply Expert Report of Dr.

 Stephen B. Wicker Regarding Infringement in Response to the Rebuttal Expert Report of Dr.

 Almeroth Dated April 24, 2020, and submitted in Sprint Communications Company L.P. v.

 Charter Communications, Inc., et al., 17-1734-RGA.

           25.   Attached hereto as Exhibit 24 are excerpts from the deposition transcript of Jay A.

 Gerstner, dated January 22, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

           26.   Attached hereto as Exhibit 25 are excerpts from the deposition transcript of Kent

 Mitchell, dated November 21, 2019 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

           27.   Attached hereto as Exhibit 26 are excerpts from the deposition transcript of Steven

 Contorno, dated December 17, 2019 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

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        28.    Attached hereto as Exhibit 27 are excerpts from the Expert Report of Russell W.

 Mangum III, Ph.D., dated March 20, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

        29.    Attached hereto as Exhibit 28 are excerpts from the Expert Report of Dr. Stephen

 B. Wicker Regarding Infringement of U.S. Patent Nos. 6,452,932, 6,463,052, 6,633,561,

 7,286,561, 7,505,454, 6,298,064, 6,343,084, 6,473,429, 7,327,728, 6,330,224, & 6,697,340, dated

 March 20, 2020 and submitted in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

 Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

 Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

 WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

 Communications, Networks, LLC, et al., 18-363-RGA.

        30.    Attached hereto as Exhibit 29 are excerpts of the Declaration of Leonard J. Forys,

 Ph.D., docketed at D.I. 220 in the consolidated cases of Sprint Communications Company, L.P. v.

 Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans. Apr. 5, 2014), Sprint Communications

 Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans. Apr. 5, 2014), and Sprint

 Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684 KHV/DJW

 (D. Kans. Apr. 5, 2014).

        31.    Attached hereto as Exhibit 30 are excerpts of the File History of U.S. Patent

 5,825,780, produced at SPRIKS_02_00003487.

        32.    Attached hereto as Exhibit 31 are excerpts of U.S. Patent No. 6,633,561.

        33.    Attached hereto as Exhibit 32 are excerpts of the Utility Patent Application

 Transmittal, produced at SPRI_01_00002560.

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        34.    Attached hereto as Exhibit 33 are excerpts from the deposition transcript of Michael

 Joseph Gardner dated March 26, 2015 and taken in the consolidated cases of Sprint

 Communications Company, L.P. v. Time Warner Cable, Inc., 11-2686 JTM/KMH (D. Kans.),

 Sprint Communications Company, L.P. v. Cable One, Inc., 11-2685 RDR/KGS (D. Kans.), and

 Sprint Communications Company, L.P. v. Comcast Cable Communications, LLC., 11-2684

 KHV/DJW (D. Kans.).

        35.    Attached hereto as Exhibit 34 are excerpts of U.S. Patent No. 6,991,301.

        36.    Attached hereto as Exhibit 35 are excerpts from the deposition transcript of Michael

 Joseph Gardner dated January 7, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

        37.    Attached hereto as Exhibit 36 are excerpts from the deposition transcript of Dr.

 Michael Frendo dated May 29, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

        38.    Attached hereto as Exhibit 37 are excerpts from the deposition transcript of William

 L. Wiley dated January 28, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

 Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

 Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

 WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

 Communications, Networks, LLC, et al., 18-363-RGA.

        39.    Attached hereto as Exhibit 38 are excerpts from the deposition transcript of William

 L. Wiley dated January 28, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

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 Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

 Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

 WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

 Communications, Networks, LLC, et al., 18-363-RGA.

        40.    Attached hereto as Exhibit 39 are excerpts of a document titled “Broadband –

 Intelligent Network Prototype Project Authorization” produced at SPRp-01-029-00075.

        41.    Attached hereto as Exhibit 40 are excerpts of the File History of U.S. Patent

 5,991,301, produced at SPRIKS_02_00004012.

        42.    Attached hereto as Exhibit 41 are excerpts of the U.S. Utility Patent Application,

 produced at SPRe-022-01-00939.

        43.    Attached hereto as Exhibit 42 are excerpts of a document titled “BBOSD-Lab-

 0001-02D” and produced at SPRe-008-01-06853.

        44.    Attached hereto as Exhibit 43 are excerpts from the deposition transcript of Michael

 Logan dated January 29, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

        45.    Attached hereto as Exhibit 44 are excerpts from the deposition transcript of Tom

 Moore dated January 21, 2020 in Sprint Communications Company L.P. v. Charter

 Communications, Inc., et al., 17-1734-RGA.

        46.    Attached hereto as Exhibit 45 are excerpts of a document titled “Circuit Switching

 Analysis Update” and produced at SPRp-002-01-00718.

        47.    Attached hereto as Exhibit 46 are excerpts of a document titled “JCS2000 Reasons

 for Discontinuance” and produced at SPRp-016-01-00001.




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         48.    Attached hereto as Exhibit 47 are excerpts from the deposition transcript of Douglas

  C. Shriver dated February 7, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         49.    Attached hereto as Exhibit 48 are excerpts of a document titled “R&D Study” and

  produced at SPRp-026-01-00831.

         50.    Attached hereto as Exhibit 49 are excerpts of a document titled “R&D Study” and

  produced at SPRp-026-01-00723.

         51.    Attached hereto as Exhibit 50 are excerpts of a document titled “Phase II

  Questionnaire Qualification of Sample Dollars” and produced at EY-SPRINT-000001.

         52.    Attached hereto as Exhibit 51 are excerpts of an e-mail dated September 18, 2006

  and produced at SPRi4_03_00126712.

         53.    Attached hereto as Exhibit 52 are excerpts of a document titled “Creating Value

  Together A BHN & Sprint Partnership Solution” dated June 22, 2006 and produced at SPRe-044-

  01-03252.0001.

         54.    Attached hereto as Exhibit 53 are excerpts of a document titled “Charter RFP

  Network Design Assumptions” dated February 16, 2004 and produced at SPRI4_03_00602929.

         55.    Attached hereto as Exhibit 54 are excerpts of a document titled “Creating Value

  Together” dated June 19, 2005 and produced at SPRe-046-01-71826.0001.

         56.    Attached hereto as Exhibit 55 is a copy of an e-mail, produced at SPRe-046-01-

  03176.0001, and dated August 15, 2005.

         57.    Attached hereto as Exhibit 56 is a copy of an e-mail, produced at SPRe-046-

  12195.0001, and dated January 4, 2006.




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            58.      Attached hereto as Exhibit 57 are excerpts from the deposition transcript of Mark

  E. Chall dated December 19, 2019 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

  Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

  Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

  WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

  Communications, Networks, LLC, et al., 18-363-RGA.

            59.      Attached hereto as Exhibit 58 is a copy of an e-mail, produced at SPRe-046-01-

  45403.0001 and dated December 7, 2006.

            60.      Attached hereto as Exhibit 59 is a copy of a document titled “Charter & Sprint

  Opportunities” dated August 7, 2007 and produced at SPRIKS_07_00433676.

            61.      Attached hereto as Exhibit 60 is a copy of a document titled “Cable Solutions Team

  PMO Status Report” dated February 16, 2005 and produced at SPRe-046-01-04396.0001.

            62.      Attached hereto as Exhibit 61 is a copy of a document titled “Interconnection,

  Traffic         Exchange,     Transport     and     Termination      Agreement”       produced      at

  CHARTER_SPRINT0817851.

            63.      Attached hereto as Exhibit 62 is a copy of a document titled “Time Warner Cable

  & Bright House Networks Go It Alone Status Discussion” dated October 15, 2009 and produced

  at CHARTER_SPRINT0373670.

            64.      Attached hereto as Exhibit 63 are excerpts from the deposition transcript of Andrew

  Greig dated February 5, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.




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         65.    Attached hereto as Exhibit 64 are excerpts from the deposition transcript of Scott

  Kalinoski dated January 15, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

  Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

  Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

  WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

  Communications, Networks, LLC, et al., 18-363-RGA.

         66.    Attached hereto as Exhibit 65 are excerpts from the deposition transcript of Harley

  R. Ball dated January 8, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA; Sprint Communications Company L.P. v. Atlantic

  Broadband Finance, LLC., et al., 18-362-RGA; Sprint Communications Company L.P. v.

  Mediacom Communications Corp., 17-1736-RGA; Sprint Communications Company L.P. v.

  WideOpenWest, Inc. et al., 18-361-RGA; and Sprint Communications Company L.P. v. Grande

  Communications, Networks, LLC, et al., 18-363-RGA.

         67.    Attached hereto as Exhibit 66 are excerpts from the deposition transcript of Cody

  Harrison dated January 30, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         68.    Attached hereto as Exhibit 67 is a copy of an e-mail, produced at

  SPRI4_02_00061605, and dated December 17, 2007.

         69.    Attached hereto as Exhibit 68 is a copy of a letter, produced at

  CHARTER_SPRINT1060468, and dated January 25, 2010.

         70.    Attached hereto as Exhibit 69 is a copy of an e-mail, produced at

  CHARTER_SPRINT1036089, and dated April 20, 2010.

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         71.       Attached hereto as Exhibit 70 are excerpts from Charter Defendants’ Objections

  and Responses to Sprint’s Second Set of Interrogatories (Nos. 9-15) dated April 17, 2019 and

  submitted in Sprint Communications Company L.P. v. Charter Communications, Inc., et al., 17-

  1734-RGA.

         72.       Attached hereto as Exhibit 71 are excerpts from the Rebuttal Expert Report of Carla

  S. Mulhern, dated April 24, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         73.       Attached hereto as Exhibit 731 are excerpts from an article titled, “Value Shares of

  Technologically Complex Products” by Jonathan D. Putnam and dated April 16, 2014.

         74.       Attached hereto as Exhibit 74 are excerpts from an article titled, “How Valuable is

  Patent Protection? Estimates by Technology Field” by Mark Schankerman and dated Spring, 1998.

         75.       Attached hereto as Exhibit 75 are excerpts from an article titled, “A Study of Patent

  Mortality Rates: Using Statistical Survival Analysis to Rate and Value Patent Assets” by Jonathan

  A. Barney and dated Summer 2002.

         76.       Attached hereto as Exhibit 76 are excerpts from an article titled, “Patents as

  Options: Some Estimates of the Value of Holding European Patent Stocks” by Ariel Pakes and

  dated July 1986.

         77.       Attached hereto as Exhibit 77 are excerpts from an article titled, “A dynamic

  stochastic analysis of international patent application and renewal processes” by Yi Deng and

  dated May 12, 2011.




         1
             Exhibit 72 has been intentionally omitted.
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         78.     Attached hereto as Exhibit 78 are excerpts from the Rebuttal Expert Report of Dr.

  Kevin Almeroth Regarding Non-Infringement, dated April 24, 2020 and submitted in Sprint

  Communications Company L.P. v. Charter Communications, Inc., et al., 17-1734-RGA.

         79.     Attached hereto as Exhibit 79 are excerpts from an article titled, “Technology

  policy for a world of skew-distributed outcomes” by F.M. Scherer and Dietmar Harhoff.

         80.     Attached hereto as Exhibit 80 are excerpts from the Rebuttal Expert Report of

  Robert Pedigo, dated April 24, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         81.     Attached hereto as Exhibit 81 are excerpts from the deposition transcript of Russell

  W. Mangum III, Ph.D., taken on June 3, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         82.     Attached hereto as Exhibit 82 are excerpts from the deposition transcript of Kevin

  C. Almeroth, Ph.D. taken on June 10, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         83.     Attached hereto as Exhibit 83 are excerpts from the deposition transcript of Dr.

  Carla S. Mulhern taken on June 3, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

         84.     Attached hereto as Exhibit 84 are excerpts from the Parties’ Joint Proposed Final

  Pretrial Order – Volcano Trial, docketed at D.I. 386 in St. Jude Medical, Cardiology Division, Inc.,

  et al. v. Volcano Corporations, 10-cv-00631-RGA-MPT (D. Del. Oct. 4, 2012).

         85.     Attached hereto as Exhibit 85 are excerpts from the deposition transcript of Dr.

  Stephen Wicker taken on May 28, 2020 in Sprint Communications Company L.P. v. Charter

  Communications, Inc., et al., 17-1734-RGA.

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         86.    Attached hereto as Exhibit 86 is an excerpt of U.S. Patent No. 4,733,665.

         87.    Attached hereto as Exhibit 87 is an excerpt of U.S. Patent No. 5,703,876.

         I declare under penalty of perjury that the foregoing is true and correct.



                                                _/s/ Kelly E. Farnan _______________
                                                Kelly E. Farnan (#4395)
  Dated: June 30, 2020




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 30, 2020, true and correct copies of the foregoing document

  were caused to be served on the following counsel of record as indicated:

           BY ELECTRONIC MAIL                      BY ELECTRONIC MAIL
           Stephen J. Kraftschik                   Robert H. Reckers
           Christina B. Vavala                     Michael W. Gray
           Polsinelli PC                           Shook, Hardy & Bacon LLP
           222 Delaware Avenue, Suite 1101         JPMorgan Chase Tower
           Wilmington, DE 19801                    600 Travis Street, Suite 3400
                                                   Houston, TX 77002
           BY ELECTRONIC MAIL
           B. Trent Webb
           Aaron E. Hankel
           Ryan J Schletzbaum
           Ryan D. Dykal
           Jordan T. Bergsten
           Lauren E. Douville
           Mark D. Schafer
           Samuel J. LaRoque
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                                                             /s/ Kelly E. Farnan
                                                             Kelly E. Farnan (#4395)
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          REDACTED IN ITS
             ENTIRETY
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS COMPANY L.P., )
  a Delaware Corporation                    )
                                            )
                       Plaintiff,           )
                                            )
               v.                           )                Case No. 11-cv-2686 JTM/KMH
                                            )
  TIME WARNER CABLE INC.,                   )
  TIME WARNER CABLE LLC,                    )
  TIME WARNER ENTERTAINMENT                 )
  COMPANY, L.P., TIME WARNER                )
  ENTERTAINMENT-ADVANCE/NEWHOUSE )                           JURY TRIAL DEMANDED
  PARTNERSHIP, TWC COMMUNICATIONS,          )
  LLC, TIME WARNER CABLE INFORMATION )
  SERVICES (KANSAS), LLC,                   )
                                            )
                       Defendants.          )
  __________________________________________)

                                          COMPLAINT

                Plaintiff Sprint Communications Company L.P. complains as follows against

  defendants Time Warner Cable Inc., Time Warner Cable LLC, Time Warner Entertainment

  Company,    L.P.,   Time    Warner    Entertainment-Advance/Newhouse       Partnership,   TWC

  Communications, LLC, and Time Warner Cable Information Services (Kansas), LLC.

                                            PARTIES

         1.     Plaintiff Sprint Communications Company L.P. (“Sprint”) is a Limited

  Partnership organized and existing under the laws of the State of Delaware, with its principal

  place of business at 6200 Sprint Parkway, Overland Park, Kansas 66251.

         2.     On information and belief, defendant Time Warner Cable Inc. (“Time Warner”) is

  a Corporation organized and existing under the laws of the State of Delaware, with its principal

  place of business at 600 Columbus Circle, New York, New York 10023.




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         3.     On information and belief, defendant Time Warner Cable LLC (“Time Warner”)

  is a Limited Liability Company organized and existing under the laws of the State of Delaware,

  with its principal place of business at 600 Columbus Circle, New York, New York 10023.

         4.     On information and belief, defendant Time Warner Entertainment Company, L.P.

  is a Limited Partnership registered to do business in the state of Kansas and organized and

  existing under the laws of the State of Delaware, with its principal place of business at 600

  Columbus Circle, New York, New York 10023 in care of Time Warner Cable Inc.

         5.     On    information    and   belief,   defendant   Time    Warner     Entertainment-

  Advance/Newhouse Partnership is a partnership registered to do business in the State of Kansas

  and organized under the laws of the State of New York with its principal place of business at 600

  Columbus Circle, New York, New York 10023 in care of Time Warner Cable Inc.

         6.     On information and belief, defendant TWC Communications, LLC is a Limited

  Liability Company registered to do business in the State of Kansas and organized and existing

  under the laws of the State of Delaware, with its principal place of business at 600 Columbus

  Circle, New York, New York 10023 in care of Time Warner Cable Inc.

         7.     On information and belief, defendant Time Warner Cable Information Services

  (Kansas), LLC is a Limited Liability Company registered to do business in the State of Kansas

  and organized and existing under the laws of the State of Delaware, with its principal place of

  business at 600 Columbus Circle, New York, New York 10023 in care of Time Warner Cable

  Inc.

         8.     On information and belief, Time Warner Cable Inc. is the direct or indirect parent

  of each of Time Warner Cable LLC, Time Warner Entertainment Company, L.P., Time Warner

  Entertainment-Advance/Newhouse Partnership, TWC Communications, LLC, and Time Warner




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  Cable Information Services (Kansas), LLC. Time Warner Cable Inc. owns and/or operates cable

  systems throughout the United States and in the State of Kansas through one or more of its

  subsidiaries, affiliates, partners, or other related parties, including but not limited to Time

  Warner Cable Inc., Time Warner Cable LLC, Time Warner Entertainment Company, L.P., Time

  Warner Entertainment-Advance/Newhouse Partnership, TWC Communications, LLC, and Time

  Warner Cable Information Services (Kansas), LLC.

         9.      On information and belief, defendants Time Warner Cable Inc., Time Warner

  Cable LLC, Time Warner Entertainment Company, L.P., Time Warner Entertainment-

  Advance/Newhouse Partnership, TWC Communications, LLC, and Time Warner Cable

  Information Services (Kansas), LLC (collectively, “Time Warner”), and/or one or more of their

  affiliates provide and/or participate in providing broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone.

                                            JURISDICTION

         10.     This is an action for patent infringement under the United States Patent Laws, 35

  U.S.C. § 271, et. seq. This Court has subject matter jurisdiction over this action under 28 U.S.C.

  §§ 1331 and 1338.

         11.     On information and belief, defendants Time Warner Cable Inc. and Time Warner

  Cable, LLC conduct business in this Judicial District and have committed acts of patent

  infringement in this Judicial District including, inter alia, importing, making, using, offering for

  sale, and/or selling infringing products and/or services in this Judicial District.

         12.     On information and belief, defendants Time Warner Entertainment Company,

  L.P., Time Warner Entertainment-Advance/Newhouse Partnership, TWC Communications,

  LLC, and Time Warner Cable Information Services (Kansas), LLC are registered to do business




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  in this Judicial District, conduct business in this Judicial District, and have committed acts of

  patent infringement in this Judicial District including, inter alia, importing, making, using,

  offering for sale, and/or selling infringing products and/or services in this Judicial District.

  Defendants Time Warner Cable Inc., Time Warner Cable LLC, Time Warner Entertainment

  Company,        L.P.,   Time   Warner   Entertainment-Advance/Newhouse        Partnership,   TWC

  Communications, LLC, and Time Warner Cable Information Services (Kansas), LLC are

  hereinafter referred to as “Time Warner,” collectively and separately.

                                               VENUE

            13.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b).

                                              JOINDER

            14.    Joinder of Defendants is proper under 35 U.S.C. § 299. The allegations of patent

  infringement contained herein arise out of the same series of transactions or occurrences relating

  to the making, using, offering for sale, and/or selling within the United States, and/or importing

  into the United States, of the same accused products/services, including Defendants’ Digital

  Home Phone.

            15.    Common questions of fact relating to Defendants’ infringement will arise in this

  action.

                                    FACTUAL BACKGROUND

                           Sprint’s Voice-over-Packet (“VoP”) Technology

            16.    In 1993, Sprint’s leading technology specialists and engineers were attempting to

  solve a very important problem affecting Sprint’s ability to expand its network to support its

  rapidly growing customer base. At that time, virtually all voice traffic was carried over the

  Public Switched Telephone Network (“PSTN”), which utilized highly complex, extremely




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  expensive switches and other well-established components to route this traffic. One solution to

  Sprint’s problem—a solution that Sprint had used in the past—was to simply purchase additional

  switches from the legacy manufacturers and install those in its network. Adding switches,

  however, was extremely expensive and time consuming because Sprint’s entire network of

  switches would have to be reprogrammed for each switch addition or upgrade. In addition, voice

  traffic on the PSTN was transported using inherently inefficient synchronous circuit-switching.

  A circuit was reserved for the entire length of a call on the PSTN, which wasted significant

  bandwidth during periods of time when no conversation was occurring. But legacy circuit-based

  systems had long been widely used to carry voice communications, and there were no viable

  alternatives in the marketplace available to Sprint or other carriers at the time.

         17.     One of Sprint’s talented technologists, Joe Christie, observed that data

  communications between computers were handled differently. Computers communicated with

  each other using “packets” of data.           Packet communications, unlike the synchronous

  communications of the PSTN, could occur “asynchronously” where the sending and receiving

  points could send and receive out of synch with each other. This created an opportunity to

  realize substantial efficiencies by transmitting voice data packets only when there is voice data to

  send and refraining from wasting valuable bandwidth during periods of silence. In addition,

  unlike the complex and expensive switches used in the PSTN, data packets could be routed using

  fairly inexpensive components that could be made available from a number of competing

  vendors. Unfortunately, the two systems were not compatible with each other. Interfacing a

  circuit-switched system with a packet-based system in a geographically expansive

  telecommunications environment was not a reality, at least not before Joe Christie.




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         18.    Joe Christie was an expert in two dissimilar technologies: packet-based networks

  and SS7 signaling (which was used by the PSTN to set up voice calls). Mr. Christie proposed a

  solution that would ultimately revolutionize the telecommunications industry. He devised a way

  to leverage the efficiencies of packet-based networks to make telephone calls to and from the

  PSTN. To do so, Mr. Christie invented a series of architectures, components, and processes that

  would allow the PSTN to “talk” to packet-based networks to set up and route telephone calls

  across these disparate networks in a seamless and transparent manner. These calls were highly

  efficient and substantially decreased the need for telephone companies to rely on expensive

  legacy PSTN equipment.

         19.    Mr. Christie’s Voice-over-Packet (“VoP”) technology reduced or eliminated the

  need of service providers to rely on conventional switches and switch-to-switch call processing.

  Instead, Mr. Christie conceived of centralizing network control by using a call processor to

  orchestrate calls over his new packet-based system. The call processor acted like the brains of

  the network, determining where a call needed to go and then enabling routing to its destination.

  This call processor extracted the intelligence of expensive and complicated legacy switches and

  placed this intelligence on functionally separate computer platforms. By extracting call control

  from the switch manufacturers, Mr. Christie allowed a host of competitors to provide processing

  equipment and to get into the business of telephony. This innovation would eventually increase

  competition, drive down the costs of telephony, and greatly improve efficiency.

         20.    When Mr. Christie presented his innovations to Sprint executives and Sprint

  technical management, they recognized the importance of his innovations.          Mr. Christie’s

  inventions had the potential to render obsolete major components within the PSTN and to break

  the grip that switch manufacturers held on carriers and service providers.        Mr. Christie’s




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  innovations could dramatically alter the way telephone calls were made and change the

  landscape of the relative strength and leverage of the players in the industry. They represented

  a sea change in telephony, and Mr. Christie’s         colleagues at Sprint, including upper-level

  executives, realized it. Sprint promptly assigned a patent agent to shadow Mr. Christie to learn

  as much as possible about the various aspects of his new systems and to seek patent protection.

  Sprint also assigned a team of some of Sprint’s most talented engineers to work with Mr.

  Christie and to help develop concepts into tangible platforms. Due to the highly sensitive nature

  of the project, the team was sequestered in a Kansas City facility and instructed to maintain the

  project in the strictest of confidence. Few people in Sprint knew of this project at the time.

          21.     Joe Christie died unexpectedly in his home in February of 1996. Mr. Christie did

  not live to see his innovations deployed into a commercial platform.            But Mr. Christie’s

  revolutionary inventions have an enduring legacy. Mr. Christie’s inventions and the related

  innovations made by people working with Mr. Christie have resulted in a VoP patent portfolio of

  over 120 issued United States Patents. Unfortunately, many companies in the industry, including

  Time Warner, have realized the great value in this technology and have misappropriated it

  without Sprint’s permission. It is because of this unauthorized use that Sprint has taken efforts to

  enforce this patent portfolio against others in the industry in the past and is now enforcing its

  patents in this case.

                            Sprint’s Enforcement Efforts and Licenses

          22.     In 2007, in the matter styled Sprint Communications Co. L.P. v. Vonage Holdings

  Corp. et al., Case No. 05-2433-JWL (D. Kan.), a Kansas jury found that Vonage Holdings Corp.

  and Vonage America, Inc. (“Vonage”) had infringed six patents contained in this portfolio,

  including patents that are at issue in this case, found that the six patents were valid, assessed a




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  five percent (5 %) reasonable royalty, and awarded Sprint $69.5 million in damages. Following

  the verdict, Vonage entered a settlement agreement with Sprint whereby Vonage paid Sprint $80

  million for a license to Sprint’s VoP portfolio. Previously, in that same matter, tglo.com, Inc.

  (formerly known as VoiceGlo Holdings, Inc) and Theglobe.com Inc. (“VoiceGlo”) had entered a

  settlement agreement in which VoiceGlo licensed Sprint’s VoP patents.

         23.    In 2008, Sprint again sued to enforce patents from its VOP portfolio in additional

  lawsuits against companies engaging in the unauthorized use of Sprint’s VoP technology: Sprint

  Communications Co. L.P. v. Paetec Holding Corp. et al., Case No. 08-cv-2044-JWL/GLR (D.

  Kan.), Sprint Communications Co. L.P. v. Broadvox Holdings, LLC et al., Case No. 08-cv-2045-

  JWL/DJW (D. Kan.); Sprint Communications Co. L.P. v. Big River Telephone Co., LLC, Case

  No. 08-cv-2046-JWL/DJW (D. Kan.), and Sprint Communications Co. L.P. v. Nuvox, Inc. et al.,

  Case No. 08-cv-2047-JWL/JPO (D. Kan.).           By late 2009, Sprint had entered settlement

  agreements resolving these lawsuits and, as a result, a number of additional companies licensed

  patents from Sprint’s VoP portfolio.

         24.    During this same time frame, Sprint continued to derive substantial revenues from

  providing numerous cable companies, including Time Warner Cable, with a network backbone

  to carry voice traffic to support those companies’ digital home telephone offerings, which use

  packet networks coupled with the PSTN.

                                         The Patents-In-Suit

         25.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,343,084 (“the ‘084 patent”) entitled “Broadband Telecommunications

  System,” which duly and legally issued in the name of Joseph Michael Christie on January 29,

  2002. A copy of the ‘084 patent is attached to the Complaint as Exhibit A.




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         26.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,633,561 (“the ‘3,561 patent”) entitled “Method, System and

  Apparatus for Telecommunications Control,” which duly and legally issued in the name of

  Joseph Michael Christie on October 14, 2003. A copy of the ‘3,561 patent is attached to the

  Complaint as Exhibit B.

         27.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,463,052 (“the ‘052 patent”) entitled “Method, System and Apparatus

  for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

  Christie on October 8, 2002.     A copy of the ‘052 patent is attached to the Complaint as

  Exhibit C.

         28.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,452,932 (“the ‘932 patent”) entitled “Method, System and Apparatus

  for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

  Christie on September 17, 2002. A copy of the ‘932 patent is attached to the Complaint as

  Exhibit D.

         29.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,473,429 (“the ‘429 patent”) entitled “Broadband Telecommunications

  System,” which duly and legally issued in the name of Joseph Michael Christie on October 29,

  2002. A copy of the ‘429 patent is attached to the Complaint as Exhibit E.

         30.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,298,064 (“the ‘064 patent”) entitled “Broadband Telecommunications

  System,” which duly and legally issued in the name of Joseph Michael Christie on October 2,

  2001. A copy of the ‘064 patent is attached to the Complaint as Exhibit F.




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         31.     Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,262,992 (“the ‘992 patent”) entitled “System and Method for

  Transporting a Call in a Telecommunication Network,” which duly and legally issued in the

  names of Tracy Lee Nelson, William Lyle Wiley, and Albert Daniel DuRee on July 17, 2001. A

  copy of the ‘992 patent is attached to the Complaint as Exhibit G.

         32.     Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,330,224 (“the ‘224 patent”) entitled “System and Method for

  Providing Enhanced Services for a Telecommunication Call,” which duly and legally issued in

  the names of Joseph Michael Christie, Joseph S. Christie, and Tracy Lee Nelson on December

  11, 2001. A copy of the ‘224 patent is attached to the Complaint as Exhibit H.

         33.     Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,563,918 (“the ‘918 patent”) entitled “Telecommunications System

  Architecture for Connecting a Call,” which duly and legally issued in the names of Tracy Lee

  Nelson, William Lyle Wiley, Royal Dean Howell, Michael Joseph Gardner, and Albert Daniel

  DuRee on May 13, 2003. A copy of the ‘918 patent is attached to the Complaint as Exhibit I.

         34.     Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,639,912 (“the ‘912 patent”) entitled “Number Portability in a

  Communications System,” which duly and legally issued in the names of Joseph Michael

  Christie, Joseph S. Christie, Jean M. Christie, Michael Joseph Gardner, Albert Daniel DuRee,

  William Lyle Wiley, and Tracy Lee Nelson on October 28, 2003. A copy of the ‘912 patent is

  attached to the Complaint as Exhibit J.

         35.     Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 6,697,340 (“the ‘340 patent”) entitled “System and Method for




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  Providing Enhanced Services for a Telecommunication Call,” which duly and legally issued in

  the names of Joseph Michael Christie, Joseph S. Christie, Jean M. Christie, and Tracy Lee

  Nelson on February 24, 2004. A copy of the ‘340 patent is attached to the Complaint as Exhibit

  K.

         36.    Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

  United States Patent No. 7,286,561 (“the ‘6,561 patent”) entitled “Method System and Apparatus

  for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

  Christie on October 23, 2007. A copy of the ‘6,561 patent is attached to the Complaint as

  Exhibit L.

         37.    The patents identified in paragraphs 25–36 and attached at Exhibits A–L are

  herein collectively referred to as “Sprint’s Patents.” Sprint’s Patents are a part of Sprint’s

  revolutionary VoP patent portfolio.

                                           Time Warner

         38.    Upon information and belief, Time Warner is the second largest cable operator in

  the United States, providing cable television, broadband Internet, and telephone service to both

  residential and commercial customers.

         39.    Upon information and belief, Time Warner has made, used, offered to sell, and/or

  sold, and continues to make, use, offer to sell, and/or sell broadband and/or packet-based

  telephony products and/or services, including Digital Home Phone, without Sprint’s permission.

         40.    Upon information and belief, within this Judicial District, Time Warner, without

  Sprint’s permission, has made, used, offered to sell, and/or sold, and continues to make, use,

  offer to sell, and/or sell broadband and/or packet-based telephony products and/or services,

  including Digital Home Phone, that infringe Sprint’s Patents.




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                              COUNT 1: PATENT INFRINGEMENT

                                   Infringement of the ‘084 Patent

         41.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–40 above.

         42.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘084 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘084 patent.

         43.     Upon information and belief, Time Warner’s infringement of the ‘084 patent will

  continue unless enjoined by this Court.

         44.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘084 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                              COUNT 2: PATENT INFRINGEMENT

                                  Infringement of the ‘3,561 Patent

         45.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–44 above.

         46.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘3,561 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘3,561 patent.




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         47.     Upon information and belief, Time Warner’s infringement of the ‘3,561 patent

  will continue unless enjoined by this Court.

         48.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘3,561 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in

  an amount not yet determined for which Sprint is entitled to relief.

                             COUNT 3: PATENT INFRINGEMENT

                                  Infringement of the ‘052 Patent

         49.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–48 above.

         50.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘052 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘052 patent.

         51.     Upon information and belief, Time Warner’s infringement of the ‘052 patent will

  continue unless enjoined by this Court.

         52.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘052 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 4: PATENT INFRINGEMENT

                                  Infringement of the ‘932 Patent

         53.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–52 above.




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         54.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘932 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘932 patent.

         55.     Upon information and belief, Time Warner’s infringement of the ‘932 patent will

  continue unless enjoined by this Court.

         56.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘932 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 5: PATENT INFRINGEMENT

                                  Infringement of the ‘429 Patent

         57.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–56 above.

         58.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘429 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘429 patent.

         59.     Upon information and belief, Time Warner’s infringement of the ‘429 patent will

  continue unless enjoined by this Court.

         60.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘429 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.




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                             COUNT 6: PATENT INFRINGEMENT

                                  Infringement of the ‘064 Patent

         61.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–60 above.

         62.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘064 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘064 patent.

         63.     Upon information and belief, Time Warner’s infringement of the ‘064 patent will

  continue unless enjoined by this Court.

         64.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘064 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 7: PATENT INFRINGEMENT

                                  Infringement of the ‘992 patent

         65.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–64 above.

         66.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘992 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘992 patent.

         67.     Upon information and belief, Time Warner’s infringement of the ‘992 patent will

  continue unless enjoined by this Court.




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         68.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘992 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 8: PATENT INFRINGEMENT

                                  Infringement of the ‘224 patent

         69.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–68 above.

         70.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘224 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘224 patent.

         71.     Upon information and belief, Time Warner’s infringement of the ‘992 patent will

  continue unless enjoined by this Court.

         72.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘224 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 9: PATENT INFRINGEMENT

                                  Infringement of the ‘918 patent

         73.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–72 above.

         74.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘918 patent by making, using, selling, offering for sale, contributing to




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  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘918 patent.

         75.     Upon information and belief, Time Warner’s infringement of the ‘918 patent will

  continue unless enjoined by this Court.

         76.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘918 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 10: PATENT INFRINGEMENT

                                  Infringement of the ‘912 patent

         77.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–76 above.

         78.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘912 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘912 patent.

         79.     Upon information and belief, Time Warner’s infringement of the ‘912 patent will

  continue unless enjoined by this Court.

         80.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘912 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.




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                             COUNT 11: PATENT INFRINGEMENT

                                   Infringement of the ‘340 patent

         81.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–80 above.

         82.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘340 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘340 patent.

         83.     Upon information and belief, Time Warner’s infringement of the ‘340 patent will

  continue unless enjoined by this Court.

         84.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘340 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in an

  amount not yet determined for which Sprint is entitled to relief.

                             COUNT 12: PATENT INFRINGEMENT

                                  Infringement of the ‘6,561 patent

         85.     Sprint realleges and incorporates by reference the allegations set forth in

  paragraphs 1–84 above.

         86.     Upon information and belief, Time Warner has been, and currently is, directly and

  indirectly infringing the ‘6,561 patent by making, using, selling, offering for sale, contributing to

  the use of by others, and/or inducing others to use broadband and/or packet-based telephony

  products and/or services, including Digital Home Phone, that infringe the ‘6,561 patent.

         87.     Upon information and belief, Time Warner’s infringement of the ‘6,561 patent

  will continue unless enjoined by this Court.




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         88.     As a direct and proximate consequence of Time Warner’s infringement of the

  ‘6,561 patent, Sprint has suffered and will continue to suffer irreparable injury and damages in

  an amount not yet determined for which Sprint is entitled to relief.

                                      PRAYER FOR RELIEF

                 Wherefore, Sprint requests entry of judgment in its favor and against Time

  Warner as follows:

         A.      Enter judgment that Time Warner has infringed Sprint’s Patents;

         B.      Enter judgment that Time Warner has induced infringement of Sprint’s Patents;

         C.      Enter judgment that Time Warner has contributed to infringement of Sprint’s

  Patents;

         D.      Enter a permanent injunction restraining and enjoining Time Warner, and their

  respective officers, agents, servants, employees, attorneys, and those persons in active concert or

  participation with Time Warner who receive actual notice of the order by personal service or

  otherwise, from any further sales or use of their infringing products and/or services and any other

  infringement of Sprint’s Patents, whether direct or indirect;

         E.      For damages to compensate Sprint for Time Warner’s infringement of Sprint’s

  Patents pursuant to 35 U.S.C. § 284;

         F.      For enhanced damages, pursuant to 35 U.S.C. § 284;

         G.      For an award of pre-judgment and post-judgment interest and costs to Sprint in

  accordance with 35 U.S.C. § 284;

         H.      For an award of Sprint’s reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;

  and




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         I.     For such other and further relief as the Court may deem just, proper, and equitable

  under the circumstances.

                                 DEMAND FOR JURY TRIAL

                Sprint respectfully demands a trial by jury on all claims and issues so triable.

                             DESIGNATION OF PLACE OF TRIAL

                Sprint hereby designates Kansas City, Kansas as place of trial pursuant to Local

  Rule 40.2.



  Dated: December 19, 2011                             Respectfully Submitted,

                                                       SHOOK, HARDY & BACON L.L.P.




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                                                       Communications Company L.P.




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                                       UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS COMPANY L.P.,

                                        Plaintiff,

  v.                                                        Case No. 11-2684-JWL

  COMCAST CABLE COMMUNICATIONS, LLC,
  et al.,

                                        Defendants.


                                              PRETRIAL ORDER

            A pretrial conference was conducted in this case on July 16, 2015 by U.S.

  Magistrate Judge James P. O’Hara. The plaintiff, Sprint Communications Company L.P.

  (“Sprint”), appeared through counsel, B. Trent Webb, Peter E. Strand, Robert H. Reckers,

  Ryan J. Schletzbaum, and Ryan D. Dykal.                  The defendants, Comcast Cable

  Communications, LLC, Comcast IP Phone, LLC, and Comcast Phone of Kansas, LLC

  (collectively, “Comcast”), appeared through counsel, Anthony I. Fenwick, Michael L.

  Brody, David J. Lisson, and Paul S. Penticuff.

            This pretrial order supersedes all pleadings and controls the subsequent course of

  this case. It will not be modified except by consent of the parties and the court’s

  approval, or by order of the court to prevent manifest injustice. Fed. R. Civ. P. 16(d) &

  (e); D. Kan. Rule 16.2(c).




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  1.        PRELIMINARY MATTERS.

                 a. Subject Matter Jurisdiction. Subject matter jurisdiction is invoked under

  28 U.S.C. §§ 1331 & 1338(a), and is not disputed.

                 b. Personal Jurisdiction. The court’s personal jurisdiction over the parties is

  not disputed.

                 c.   Venue. Venue is proper in this court pursuant to 28 U.S.C. §§ 1391(b), (c),

  & and 1400(b), and is not disputed.

                 d. Governing Law. Subject to the court’s determination of the law that

  applies to the case, the parties believe and agree that the parties’ claims and defenses are

  governed by federal law, including 35 U.S.C. § 1 et seq.

  2.        STIPULATIONS.

            a.        The following facts are stipulated:

                      (1)       Plaintiff Sprint Communications Company L.P. is a limited partnership

  organized and existing under the laws of the State of Delaware, with its principal place of

  business at 6200 Sprint Parkway, Overland Park, Kansas 66251.

                      (2)       Defendant Comcast Cable Communications, LLC is a limited

  liability company organized and existing under the laws of the State of Delaware, with its

  principal place of business at One Comcast Center, 1701 JFK Blvd., Philadelphia,

  Pennsylvania 19103-2838.

                      (3)       Defendant Comcast IP Phone, LLC is a limited liability company

  registered to do business in the State of Kansas and organized and existing under the laws



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  of the Commonwealth of Pennsylvania, with its principal place of business at One

  Comcast Center, 1701 JFK Blvd., Philadelphia, Pennsylvania 19103-2838.

                      (4)       Defendant Comcast Phone of Kansas, LLC is a limited liability

  company registered to do business in the State of Kansas and organized and existing

  under the laws of the State of Delaware, with its principal place of business at One

  Comcast Center, 1701 JFK Blvd., Philadelphia, Pennsylvania 19103-2838.

                      (5)       On January 29, 2002, United States Patent No. 6,343,084 (“the ‘084

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S. Patent

  and Trademark Office (“U.S.P.T.O.”) to Joseph Michael Christie (“Christie”).

                      (6)       The ‘084 Patent expired on May 5, 2014.

                      (7)       The ‘084 Patent issued from U.S. Application No. 09/439,033 (“the

  ‘033 Application”), filed on November 12, 1999. The ‘033 Application is a continuation

  of U.S. Application No. 08/525,897 (“the ‘897 Application”), filed on September 8,

  1995.

                      (8)       On October 14, 2003, United States Patent No. 6,633,561 (“the

  ‘3,561 Patent”) entitled “Method, System and Apparatus for Telecommunications

  Control” was issued by the U.S.P.T.O. to Christie.

                      (9)       The ‘3,561 Patent expired on May 5, 2014.

                      (10)      The ‘3,561 Patent issued from U.S. Application No. 10/002,850

  (“the ‘850 Application”), filed on November 14, 2001.                The ‘850 Application is a

  continuation of U.S. Application No. 09/082,040, which is a continuation of U.S.



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  Application No. 08/568,551, which is a continuation of the ‘605 Application, filed on

  May 5, 1994.

                      (11)      On October 8, 2002, United States Patent No. 6,463,052 (“the ‘052

  Patent”) entitled “Method, System and Apparatus for Telecommunications Control” was

  issued by the U.S.P.T.O. to Christie.

                      (12)      The ‘052 Patent expired on May 5, 2014.

                      (13)      The ‘052 Patent issued from U.S. Application No. 09/082,182 (“the

  ‘182 Application”), filed on May 20, 1998. The ‘182 Application is a continuation of

  U.S. Application No. 08/568,551, which is a continuation of the ‘605 Application, filed

  on May 5, 1994.

                      (14)      On September 17, 2002, United States Patent No. 6,452,932 (“the

  ‘932 Patent”) entitled “Method, System and Apparatus for Telecommunications Control”

  was issued by the U.S.P.T.O. to Christie.

                      (15)      The ‘932 Patent expired on May 5, 2014.

                      (16)      The ‘932 Patent issued from U.S. Application No. 09/499,874 (“the

  ‘874 Application”), filed on February 7, 2000. The ‘874 Application is a continuation of

  U.S. Application No. 09/081,891, which is a continuation of U.S. Application No.

  08/568,551, which is a continuation of the ‘605 Application, filed on May 5, 1994.

                      (17)      On October 29, 2002, United States Patent No. 6,473,429 (“the ‘429

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S.P.T.O.

  to Christie.

                      (18)      The ‘429 Patent expired on May 5, 2014.

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                      (19)      The ‘429 Patent issued from U.S. Application No. 09/353,401 (“the

  ‘401 Application”), filed on July 15, 1999. The ‘401 Application is a continuation of the

  ‘897 Application, filed on September 8, 1995.

                      (20)      On October 2, 2001, United States Patent No. 6,298,064 (“the ‘064

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S.P.T.O.

  to Christie.

                      (21)      The ‘064 Patent expired on May 5, 2014.

                      (22)      The ‘064 Patent issued from U.S. Application No. 09/504,408 (“the

  ‘408 Application”), filed on February 15, 2000. The ‘408 Application is a continuation

  of U.S. Application No. 09/353,401, which is a continuation of the ‘897 Application,

  filed on September 8, 1995.

                      (23)      On December 11, 2001, United States Patent No. 6,330,224 (“the

  ‘224 Patent”) entitled “System and Method for Providing Enhanced Services for a

  Telecommunication Call” was issued by the U.S.P.T.O. to Christie and Joseph S.

  Christie, Jean M. Christie, and Tracy Lee Nelson.

                      (24)      The ‘224 Patent expires on November 22, 2016.

                      (25)      The ‘224 Patent issued from U.S. Application No. 09/272,655 (“the

  ‘655 Application”), filed on March 18, 1999. The ‘655 Application is a continuation of

  U.S. Application No. 08/754,847, filed on November 22, 1996.

                      (26)      On May 13, 2003, United States Patent No. 6,563,918 (“the ‘918

  Patent”) entitled “Telecommunications System Architecture for Connecting a Call” was



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  issued by the U.S.P.T.O. to Tracy Lee Nelson, William Lyle Wiley, Royal Dean Howell,

  Michael Joseph Gardner, and Albert Daniel DuRee.

                      (27)      The ‘918 Patent expires on February 20, 2018.

                      (28)      The ‘918 Patent issued from U.S. Application No. 09/026,906, filed

  on February 20, 1998.

                      (29)      On February 24, 2004, United States Patent No. 6,697,340 (“the

  ‘340 Patent”) entitled “System and Method for Providing Enhanced Services for a

  Telecommunication Call” was issued by the U.S.P.T.O. to Christie and Joseph S.

  Christie, Jean M. Christie, and Tracy Lee Nelson.

                      (30)      The ‘340 Patent expires on November 22, 2016.

                      (31)      The ‘340 Patent issued from U.S. Application No. 10/336,999 (“the

  ‘999 Application”), filed on January 6, 2003. The ‘999 Application is a continuation of

  U.S. Application No. 09/272,932, which is a continuation of U.S. Application No.

  08/754,847, filed on November 22, 1996.

                      (32)      On October 23, 2007, United States Patent No. 7,286,561 (“the

  ‘6,561 Patent”) entitled “Method System and Apparatus for Telecommunications

  Control” was issued by the U.S.P.T.O. to Christie.

                      (33)      The ‘6,561 Patent expired on May 5, 2014.

                      (34)      The ‘6,561 Patent issued from U.S. Application No. 10/633,798

  (“the ‘798 Application”), filed on August 4, 2003.                  The ‘798 Application is a

  continuation of U.S. Application No. 09/082,040, which is a continuation of U.S.



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  Application No. 08/568,551, which is a continuation of the ‘605 Application, filed on

  May 5, 1994.

                      (35)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘084 Patent.

                      (36)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘3,561 Patent.

                      (37)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘052 Patent.

                      (38)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘932 Patent.

                      (39)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘429 Patent.

                      (40)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘064 Patent.

                      (41)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘224 Patent.

                      (42)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘918 Patent.

                      (43)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘340 Patent.

                      (44)      Sprint is the owner by assignment of all right, title, and interest to

  the ‘6,561 Patent.

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                      (45)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1, 4, and 7 of the ‘084 Patent.

                      (46)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1-3, 7, 15, 22-26, 29, 36, and 38 of the ‘3,561 Patent.

                      (47)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1-5, 8-9, and 11 of the ‘052 Patent.

                      (48)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1, 8, and 16 of the ‘932 Patent.

                      (49)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1-3 and 5-8 of the ‘429 Patent.

                      (50)      Sprint asserts and Comcast denies that Comcast has infringed claims

  1-3, 7, 9, and 26 of the ‘064 Patent.

                      (51)      Sprint asserts and Comcast denies that Comcast has infringed and is

  infringing claims 1-4, 7, 13-14, and 20-21 of the ‘224 Patent.

                      (52)      Sprint asserts and Comcast denies that Comcast has infringed and is

  infringing claims 11-12 of the ‘918 Patent.

                      (53)      Sprint asserts and Comcast denies that Comcast has infringed and is

  infringing claims 11-12, 17, and 20 of the ‘340 Patent.

                      (54)      Sprint asserts and Comcast denies that Comcast has infringed claims

  11-12, 14, and 18-20 of the ‘6,561 Patent.

                      (55)      In 2005, Sprint filed a lawsuit against Vonage Holding Corp. and

  Vonage America, Inc. (collectively “Vonage”) over patents including U.S. Patent

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  Numbers 6,633,561, 6,463,052, 6,452,932, 6,473,429, and 6,298,064 (which are also

  asserted in this case).

                      (56)      Comcast was aware of Sprint Communications Company L.P. v.

  Vonage Holdings Corp., et al., Case No. 05-cv-2433 (D. Kan.) (“the Vonage Litigation”)

  as early as October 5, 2005. As a result of media reports concerning the Vonage

  Litigation, Comcast became aware of U.S. Patent Nos. 6,633,561, 6,463,052, 6,452,932,

  6,473,429, and 6,298,064 on or around October 2005.

                      (57)      In 2008, Sprint filed the following lawsuits: Sprint Communications

  Co. L.P. v. Paetec Holding Corp. et al, Case No. 08-cv-2044-JWL/GLR (D. Kan.); Sprint

  Communications Co. L.P. v. Broadvox Holdings, LLC et al., Case No. 08-cv-2045-

  JWL/DJW (D. Kan.); Sprint Communications Co. L.P. v. Big River Telephone Co., LLC,

  Case No. 08-cv-2046-JWL/DJW (D. Kan.); and Sprint Communications Co. L.P. v.

  Nuvox, Inc. et al., Case No. 08-cv-2047-JWL/JPO (D. Kan.). In these lawsuits, Sprint

  asserted U.S. Patent Numbers 6,343,084, 6,298,064, 6,473,429, 6,463,052, 6,633,561,

  and 6,452,932 (which are also asserted in this case).

                      (58)      Comcast learned that Sprint filed patent infringement lawsuits

  against Paetec Holding Corporation, Broadvox Holdings, LLC, Big River Telephone Co.,

  LLC, and Nuvox, Inc. in the District of Kansas shortly after the lawsuits were filed on

  January 24, 2008. Through media coverage of these prior litigations, Comcast became

  aware of U.S. Patent No. 6,343,084 on or around January 2008.




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            b.        The parties have not yet stipulated to the admissibility of any exhibits for

  purposes of summary judgment or trial. However, they anticipate filing such stipulations

  after the court makes its summary judgment rulings.

            c.        Legible photocopies of exhibits may be used, offered, and received in lieu

  of originals, subject to all foundational requirements and other objections that might be

  made to the admissibility of originals, and subject to the right of the party against whom

  it is offered to inspect an original upon request reasonably in advance of any proposed

  use of the photocopy. Electronic versions of document exhibits in their native format,

  such as spreadsheets or presentations, may be offered and received in evidence in lieu of

  paper or PDF versions. Legible photocopies of United States patents and the content of

  U.S.P.T.O. file histories may be offered and received in evidence in lieu of certified

  copies thereof.

            d.        Each party may use a subset of an exhibit as a standalone exhibit, subject to

  evidentiary objections. Such subset exhibit shall be marked with the entire exhibit’s

  number followed by a letter, for example, PTX1-A.

            e.        The parties agree that documents created by a party or subpoenaed third

  party and thereafter produced by that party or subpoenaed third party during the

  discovery phase of this litigation are presumed prima facie genuine and authentic.

  3.        FACTUAL CONTENTIONS.

            a.        Contentions of Plaintiff.    Comcast has infringed one or more of the

  asserted claims of the Asserted Patents by making, using, selling, and/or offering for sale

  its Voice over Internet Protocol (“VoIP”) telephony products or services. The products

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  and services accused of infringing the Asserted Patents meet each limitation of one or

  more of the asserted claims of the Asserted Patents either literally or under the doctrine of

  equivalents, as those limitations have been construed by the court.

            The asserted claims of the Asserted Patents are presumed valid under 35 U.S.C. §

  282. That presumption can only be overcome if Comcast provides clear and convincing

  evidence of their invalidity. Each of the asserted claims of the Asserted Patents are

  presumed valid independently of the validity of the other claims under 35 U.S.C. § 282.

  There is no evidence that any single prior art reference discloses, expressly or inherently,

  each and every limitation of any of the asserted claims. The asserted claims, therefore,

  are not anticipated or invalid under 35 U.S.C. § 102. There is no evidence that the

  asserted claims are obvious in light of the prior art, under 35 U.S.C. § 103; nor is there

  any evidence that the prior art, alone or in combination, discloses each limitation of any

  of the asserted claims; or that there is any motivation or suggestion to combine elements

  of the prior art in the manner claimed. The asserted claims satisfy the requirements in 35

  U.S.C. § 112. As a result, Comcast cannot meet its burden to show the asserted claims in

  Sprint’s Asserted Patents are invalid.

            Comcast first offered for commercial sale the accused VoIP telephone service in

  March 2005. Since that time, Comcast has grown to one of the largest subscriber-based

  VoIP service providers in North America, with $3.7 billion in VoIP service revenues in

  2014 and approximately 11.2 million residential and business voice subscribers as of

  2014. Sprint is not seeking to recover all of Comcast’s revenue or profits generated by

  the accused service, but Sprint is entitled to an award of damages in the amount of not

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  less than a reasonable royalty based on Comcast’s infringement of the Asserted Patents,

  including prejudgment and post-judgment interest.

            Sprint also seeks an injunction preventing Comcast from continuing to make, sell,

  offer to sell, and/or use the infringing services. Plaintiff can meet its burden to prove (1)

  that it has suffered an irreparable injury; (2) that remedies available at law are inadequate

  to compensate for that injury; (3) that an injunction is warranted when balancing the

  hardships between plaintiff and Comcast; and (4) that the public interest would not be

  disserved by a permanent injunction.

            Comcast cannot meet its burden to prove laches.           First, Comcast cannot

  demonstrate any unreasonable or inexcusable delay because its first infringement of the

  Accused Patents came within six years of Sprint’s express notice of Comcast’s

  infringement and subsequent good-faith licensing negotiations. Second, Sprint lacked

  actual or constructive notice of Comcast’s infringement before 2008. Third, any delay in

  Sprint filing suit is justified based on Sprint’s bilateral, good-faith negotiations with

  Comcast in January 2010, that ultimately proved unsuccessful, and the existence of

  closely related patents and Sprint’s other enforcement actions during the period of alleged

  delay. Fourth, Comcast cannot show proof of material economic or evidentiary prejudice

  from any delay by Sprint to file suit. Fifth, Comcast cannot demonstrate that it would

  have done anything different had Sprint sued it within Comcast’s alleged six-year laches

  window.

            In addition, Comcast cannot meet its burden to prove equitable estoppel. First,

  Sprint did not mislead Comcast into believing it had the right to perform the services

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  protected by Sprint’s Asserted Patents. Second, Comcast cannot establish that it relied on

  any communications, conduct, or silence by Sprint to determine that it had the right to

  perform the services protected by Sprint’s Asserted Patents. Third, Comcast cannot

  prove material economic or evidentiary prejudice from any communications, conduct, or

  silence by Sprint relating to the Asserted Patents.

            Comcast cannot meet its burden to show it has an implied license to any of

  Sprint’s Asserted Patents. First, Sprint never granted Comcast a license to the Asserted

  Patents. Second, Sprint did not expressly or implicitly waive any right to enforce one or

  more of the Asserted Patents.

            Comcast cannot meet its burden to show that Sprint should be estopped from

  invoking the doctrine of equivalents based on representations made in prosecution history

  of any Asserted Patents. In particular, Sprint, while prosecuting the Asserted Patents,

  never relinquished its right to argue that the accused media gateways satisfy the

  “interworking unit” limitation of the Asserted Patents under the doctrine of equivalents.

            In addition, Comcast cannot meet its burden to show Sprint’s damages are limited

  by 35 U.S.C § 286. Because Sprint seeks damages for infringement beginning in 2006,

  damages are not barred by the six-year limitation prescribed in 35 U.S.C § 286.

            Comcast cannot meet its burden to show Sprint’s infringement claims are barred

  by the doctrines of waiver and acquiescence. Sprint did not engage in conduct that

  evidenced an intent, or otherwise induced a reasonable belief, that Sprint relinquished its

  rights to enforce the Asserted Patents against Comcast. Additionally, Sprint expressed no



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  intention to abandon its enforcement rights in the Asserted Patents and did not neglect its

  rights so as to imply an intention to abandon those rights.

            Finally, Comcast cannot demonstrate that Sprint is barred from asserting

  infringement of U.S. Patent Nos. 6,452,932; 6,463,052; 6,633,561; 7,286,561; 6,473,429;

  and 6,298,064 by the doctrine of collateral estoppel. Judge Robinson’s decision in the

  District of Delaware regarding indefiniteness is not final, and Sprint opposes Cox’s

  request to certify the decision as final under Rule 54(b). Judge Robinson may revisit her

  decision regarding claim construction at any time prior to final judgment. Additionally,

  Judge Robinson’s decision regarding definiteness does not dispose of all issues within a

  claim, including equitable defenses asserted by Cox, and therefore the order is not final

  for purposes of Fed. R. Civ. 54(b). Furthermore, the parties in the District of Kansas

  have already litigated the indefiniteness question and Judge Lungstrum found the

  “processing system” claims were not invalid as indefinite on October 9, 2014 (D.I. 435 at

  6-13), rejecting the very arguments underlying Comcast’s new collateral estoppel theory.

            b.        Contentions of Defendants. As outlined in greater detail in Comcast’s

  interrogatory responses, prior to 2004, Sprint knew that Comcast was testing VoIP

  technology and conducting VoIP trials. In 2003, Sprint decided to pursue a strategy of

  partnering with the cable companies, including Comcast, to support their anticipated

  introduction of VoIP telephony services. Sprint encouraged Comcast’s VoIP plans,

  vigorously pursued a role as a vendor and partner to Comcast in relation to Comcast’s

  VoIP services through participation in Request for Information (“RFI”) and Request for

  Proposal (“RFP”) processes in 2003-2004, assisted with a Comcast market trial of VoIP

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  service in 2004, and assisted Comcast in commercially deploying a VoIP service

  nationwide. Prior to the March 2005 commercial launch of Comcast’s VoIP service,

  Sprint possessed detailed information regarding the “PacketCable” VoIP architecture

  specifications previously released publicly by the “CableLabs” consortium of cable

  companies (including Comcast) and possessed detailed knowledge of Comcast’s VoIP

  service as it had been trialed and was to be launched commercially. In July 2005, Sprint

  publicly announced its support of Comcast’s earlier nationwide commercial launch of

  VoIP.

            After investigating Vonage in 2003-2005, Sprint filed the Vonage Litigation in

  October 2005, asserting five of the patents asserted in this case. In 2008, following the

  Vonage Litigation, Sprint filed lawsuits asserting six of the patents asserted in this case

  against Paetec Holding Corp. Despite years of ongoing broad and active commercial

  engagement with Comcast, Sprint did not raise its patents with Comcast prior to 2010.

  Sprint ultimately initiated this lawsuit and those against other large cable companies—

  Time Warner Cable, Cox, and Cable One—in December 2011, shortly after Sprint lost

  out to Verizon on deals to purchase spectrum from Comcast, Time Warner Cable, Bright

  House Networks, and Cox. Sprint now asserts 61 claims across ten Asserted Patents

  against Comcast’s VoIP telephony services and seeks over $1 billion in damages.

            Sprint’s claims are barred entirely by the doctrine of equitable estoppel. Comcast

  reasonably inferred from Sprint’s misleading conduct, including its silence during the

  RFI and RFP processes and for years thereafter, that Sprint did not intend to enforce

  patent rights against Comcast in connection with Comcast’s provision of VoIP services.

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  Comcast reasonably relied on Sprint’s misleading conduct, including its silence. And

  Comcast has been and will be materially prejudiced due to its reasonable reliance if

  Sprint’s infringement claims are allowed to go forward.

            Sprint is barred by the doctrine of laches from obtaining any damages for alleged

  infringement prior to December 19, 2011, when Sprint filed this lawsuit.              Sprint

  unreasonably and inexcusably delayed in bringing suit against Comcast after it knew or

  reasonably should have known of Comcast’s alleged infringement. Comcast has suffered

  economic and evidentiary prejudice attributable to Sprint’s delay in filing suit.         In

  addition, laches should be presumed because Sprint delayed filing suit for more than six

  years after it knew or reasonably should have known of Comcast’s alleged infringement.

  Sprint cannot demonstrate that its delay in filing suit is justified based on negotiations

  between Sprint and Comcast beginning in February 2010, including because (1) Sprint

  did not pursue any such negotiations and was again silent regarding its patents from

  March 2010 to August 2011, (2) Sprint is precluded by agreement from making any such

  use in litigation of such negotiations. Further, Sprint cannot justify its delay based on its

  other enforcement actions because Sprint never notified Comcast of its intent to sue

  following the completion of those actions despite the significant interactions between the

  parties.

            Sprint’s infringement claims are entirely barred by the doctrines of waiver and

  acquiescence. Sprint had an existing right to sue for Comcast’s alleged infringement, it

  had actual or constructive knowledge of Comcast’s alleged infringement, and voluntarily

  or intentionally relinquished its known right to enforce the Asserted Patents against

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  Comcast. Sprint engaged in unequivocal and decisive conduct evidencing an intent to

  relinquish its known right to enforce the Asserted Patents against Comcast and Sprint’s

  conduct was so inconsistent with an intent to enforce its right as to induce a reasonable

  belief that Sprint relinquished it. Moreover, Sprint knew or should have known it had a

  right to enforce the Asserted Patents against Comcast’s alleged infringement, but

  neglected to enforce that right against Comcast for such a time as would imply an

  intention by Sprint to waive or abandon its right, and Comcast inferred that Sprint had

  abandoned its right to enforce the Asserted Patents against Comcast.

            Each of Sprint’s asserted patent claims is invalid, either as anticipated under 35

  U.S.C. §§ 102(a), (b), (e), and/or (g), or as obvious under 35 U.S.C. § 103 in view of the

  prior art identified in Comcast’s Invalidity Contentions as well as the prior art opined

  upon in the expert reports of Dr. Henry Houh and Mr. Scott Bradner (collectively, “the

  prior art”). Comcast has asserted numerous prior art references which invalidate all of

  the asserted claims alone or in combination.

            Sprint’s infringement claims are entirely barred by implied license.       Sprint

  engaged in conduct and communications from which Comcast could properly infer that

  Sprint consented to Comcast’s use of Sprint patents in connection with Comcast’s

  provision of VoIP services.

            In addition, each of Sprint’s asserted patent claims are invalid due to failure to

  meet the requirements of 35 U.S.C. § 112 as expressed in Defendants’ Invalidity

  Contentions and the expert report of Dr. Paul Min. Specifically, the disclosures of the

  Sprint patents are explicit that the inventions in the possession of the claimed inventors

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  were limited to telecommunications methods and systems that implemented centralized

  call control and/or that used the ATM protocol, and to the extent that those claims

  encompass methods or systems that do not use centralized call control utilizing a CCP or

  a CCM as disclosed in the patents, and/or the ATM protocol, including

  telecommunications methods and systems implemented on IP telecommunications

  networks, they are unsupported by the specifications of Sprint’s asserted patents.

            Sprint is barred from asserting infringement of U.S. Patent Nos. 6,452,932;

  6,463,052; 6,633,561; 7,286,561; 6,473,429; and 6,298,064 by the doctrine of collateral

  estoppel. On May 15, 2015, Judge Robinson of the District of Delaware entered summary

  judgment that the common claim limitation “processing system” in those patents is

  indefinite.1 The issue has been finally adjudicated on the merits by Judge Robinson and

  Sprint had a full and fair opportunity to litigate the issue.

            Comcast has not infringed and does not infringe, literally or under the doctrine of

  equivalents, any valid and enforceable claim of the Asserted Patents.

            Sprint is not entitled to the reasonable royalty damages that it seeks. In addition to

  the fact that the asserted claims of the Asserted Patents are invalid and not infringed, and

  the fact that the relief sought by Sprint is barred in whole or in part by the doctrines of

  laches, estoppel, waiver, acquiescence, implied license, and collateral estoppel, the

  amount of damages Sprint seeks does not reflect a reasonable royalty for the use made of




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                D.I. 231, D. Del. Case No. 12-cv-487-SLR (May 15, 2015).
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  the invention. Sprint cannot meet its burden to prove the amount of damages that it

  seeks. In addition, Sprint is not entitled to prejudgment interest.

            Sprint cannot meet its burden to be awarded an injunction. First, seven of the ten

  Asserted Patents have expired. Second, Sprint waited over seven years after Comcast

  began market trials of its accused VoIP services with Sprint’s knowledge and

  participation before filing this lawsuit. Third, Sprint cannot prove any irreparable injury

  or that remedies available at law are inadequate to compensate for that injury. Fourth, a

  balance of hardships weighs against an injunction. Fifth, the public interest would be

  disserved by an injunction.

  4.        LEGAL CLAIMS AND DEFENSES.

            a.        Legal Claims of Plaintiff. Sprint asserts that it is entitled to recover upon

  the following theories:

                      (1)       Comcast has infringed one or more of the asserted claims (Nos. 1-3,

  7, 9, and 26) of the ‘064 Patent either literally or under the doctrine of equivalents, by

  making, selling, or offering to sale, and/or using certain VoIP telephony systems (Count 6

  of Sprint’s Amended Complaint, D.I. 034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (2)       Comcast has infringed one or more of the asserted claims (Nos. 1, 4,

  and 7) of the ‘084 Patent either literally or under the doctrine of equivalents, by making,

  selling, or offering to sale, and/or using certain VoIP telephony systems (Count 1 of

  Sprint’s Amended Complaint, D.I. 034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (3)       Comcast has infringed one or more of the asserted claims (Nos. 1-3

  and 5-8) of the ‘429 Patent either literally or under the doctrine of equivalents, by

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  making, selling, or offering to sale, and/or using certain VoIP telephony systems (Count 5

  of Sprint’s Amended Complaint, D.I. 034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (4)       Comcast has infringed one or more of the asserted claims (Nos. 1-4,

  7, 13-14, and 20-21) of the ‘224 Patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sale, and/or using certain VoIP telephony

  systems (Count 8 of Sprint’s Amended Complaint, D.I. 034). See, e.g., 35 U.S.C. §§ 271,

  281.

                      (5)       Comcast has infringed one or more of the asserted claims (Nos. 11-

  12) of the ‘918 Patent either literally or under the doctrine of equivalents, by making,

  selling, or offering to sale, and/or using certain VoIP telephony systems (Count 9 of

  Sprint’s Amended Complaint, D.I. 034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (6)       Comcast has literally infringed one or more of the asserted claims

  (Nos. 1, 8, and 16) of the ‘932 Patent by making, selling, or offering to sale, and/or using

  certain VoIP telephony systems (Count 3 of Sprint’s Amended Complaint, D.I. 034).

  See, e.g., 35 U.S.C. §§ 271, 281.

                      (7)       Comcast has literally infringed one or more of the asserted claims

  (Nos. 1-5, 8-9, and 11) of the ‘052 Patent by making, selling, or offering to sale, and/or

  using certain VoIP telephony systems (Count 3 of Sprint’s Amended Complaint, D.I.

  034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (8)       Comcast has literally infringed one or more of the asserted claims

  (Nos. 1-3, 7, 15, 22-26, 29, 36, and 38) of the ‘3,561 Patent by making, selling, or



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  offering to sale, and/or using certain VoIP telephony systems (Count 2 of Sprint’s

  Amended Complaint, D.I. 034).. See, e.g., 35 U.S.C. §§ 271, 281.

                      (9)       Comcast has literally infringed one or more of the asserted claims

  (Nos. 11-12, 14, and 18-20) of the ‘6,561 Patent by making, selling, or offering to sale,

  and/or using certain VoIP telephony systems (Count 12 of Sprint’s Amended Complaint,

  D.I. 034). See, e.g., 35 U.S.C. §§ 271, 281.

                      (10)      Comcast has literally infringed one or more of the asserted claims

  (Nos. 11-12, 17, and 20) of the ‘340 Patent by making, selling, or offering to sale, and/or

  using certain VoIP telephony systems (Count 11 of Sprint’s Amended Complaint, D.I.

  034).. See, e.g., 35 U.S.C. §§ 271, 281.

                      (11)      The asserted claims of each of the ten above-referenced patents are

  presumed valid and enforceable, and there exists no clear and convincing evidence that

  could overcome that presumption. Under 35 U.S.C. § 284, Sprint is entitled to an award

  of damages adequate to compensate for Comcast’s infringement of the ten above-

  referenced patents. These damages must be in an amount no less than a reasonable

  royalty. See 35 U.S.C. § 284.

                      (12)      Sprint is entitled to award of prejudgment and post-judgment

  interest, and costs in accordance with 35 U.S.C. § 284.

                      (13)      The asserted claims in Sprint’s Asserted Patents are definite and the

  Federal Circuit’s en banc opinion in Williamson v. Citrix Online, No. 2013-1130 (Fed.

  Cir. June 16, 2015) does not alter Judge Lungstrum’s prior order declining to apply 35

  U.S.C. § 112(f) to any of the claims or terms at issue. (D.I. 435 at 7-8).

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            b.        Defenses of Defendants. Comcast asserts the following defenses:

                      (1)       The asserted claims of the Asserted Patents are invalid under 35

  U.S.C. § 112 (Second Defense of Comcast’s Answer to Sprint’s Amended Complaint).

                      (2)       The asserted claims of the Asserted Patents are invalid under 35

  U.S.C. § 102 (Second Defense of Comcast’s Answer to Sprint’s Amended Complaint).

                      (3)       The asserted claims of the Asserted Patents are invalid under 35

  U.S.C. § 103 (Second Defense of Comcast’s Answer to Sprint’s Amended Complaint).

                      (4)       Sprint is unable to prove that Comcast has infringed or does infringe,

  literally or under the doctrine of equivalents, any asserted claim of the Asserted Patents

  (First and Fourth Defenses of Comcast’s Answer to Sprint’s Amended Complaint).

                      (5)       Sprint is barred from any relief or recovery for the period prior to

  filing suit by the doctrine of laches (Fifth Defense of Comcast’s Answer to Sprint’s

  Amended Complaint).

                      (6)       Sprint is barred from any relief or recovery because of the doctrine

  of equitable estoppel (Fifth Defense of Comcast’s Answer to Sprint’s Amended

  Complaint).

                      (7)       Sprint is barred from any relief or recovery because of the doctrines

  of waiver and acquiescence (Fifth Defense of Comcast’s Answer to Sprint’s Amended

  Complaint).

                      (8)       Sprint is barred from any relief or recovery because of the doctrine

  of implied license (Sixth Defense of Comcast’s Answer to Sprint’s Amended Complaint).



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                      (9)       Sprint is barred from any relief or recovery for the period prior to

  December 19, 2005 by 35 U.S.C. § 286 (Eighth Defense of Comcast’s Answer to Sprint’s

  Amended Complaint).

                      (10)      Sprint is barred from any relief or recovery for infringement of the

  ‘932, ‘3,561, ‘052, ‘6,561, ‘429, and ‘064 Patents by the doctrine of collateral estoppel.

                      (11)      Regardless of the preclusive effect of the Delaware invalidity

  decision, in light of the Federal Circuit’s en banc opinion in Williamson v. Citrix Online,

  No. 2013-1130 (Fed. Cir. June 16, 2015), the claims containing the limitations addressed

  by the parties in D.I. 317, 340, and 360 are indefinite and therefore invalid as a matter of

  law.

  5.        DAMAGES AND NON-MONETARY RELIEF REQUESTED.

            a.        Plaintiff’s Damages. Sprint contends that Comcast began infringing the

  Asserted Patents in March 2005.                As a result of Comcast’s past and continuing

  infringement of the Asserted Patents, Sprint is entitled to damages in an amount not less

  than a reasonable royalty for infringements beginning six years prior to the filing of this

  lawsuit on December 19, 2011. See 35 U.S.C. §§ 284, 286. Sprint’s expert reports, dated

  April 3, 2015, set forth that Comcast had generated approximately $29.1 billion of

  incremental revenue and $20.0 billion of incremental profits from its VoIP telephony

  service. Sprint’s experts concluded that Sprint is entitled to damages in the form of a

  reasonable royalty of at least $1.50 per subscriber per month for a license to the Asserted

  Patents through May 5, 2014. Sprint’s experts further conclude that Sprint is entitled to

  damages from Comcast in the form of an on-going reasonable royalty of $0.13 per

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  subscriber per month through the remainder of the damages period. The reasonable

  royalty damages to Sprint as a result of Comcast’s infringement of the Asserted Patents

  through December 31, 2014 are $1.048 billion. Prior to the trial in this matter, and

  pursuant to the Federal Rules, Sprint will supplement these numbers.

            Alternatively, in the event the court determines the appropriate damages start date

  is December 19, 2011, Sprint’s experts have concluded that reasonable royalty damages

  to Sprint as a result of Comcast’s alleged infringement of the Asserted Patents through

  December 31, 2014 are $441.1 million.

            Sprint further seeks its costs, prejudgment interest, and post-judgment interest on

  all damages.

            b.        Defendants’ Damages. None claimed.

            Comcast contends that Sprint is not entitled to any damages because the asserted

  claims of the Asserted Patents are invalid and not infringed, and because the relief sought

  by Sprint is barred in whole or in part by the doctrines of laches, equitable estoppel,

  waiver, acquiescence, implied license, and collateral estoppel.

            If Sprint is entitled to damages, then Sprint is entitled to no more than a reasonable

  royalty for the use made of the invention and that Sprint cannot meet its burden to prove

  the amount of damages that it seeks.

            Sprint is not entitled to costs or to prejudgment interest on any damages. Comcast

  contends that Comcast is entitled to Comcast’s costs and attorney’s fees.




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  6.        AMENDMENTS TO PLEADINGS.

            The court has granted Comcast’s motion for leave to amend its answer to assert

  the defense of collateral estoppel, in light of Judge Robinson’s May 15, 2015 summary

  judgment ruling in the District of Delaware that six of the Asserted Patents are indefinite

  (see ECF doc. 852).

  7.        DISCOVERY.

            Under the scheduling order and any amendments, all discovery was to have been

  completed by June 30, 2015.

            Discovery is complete, except as specifically noted below.

            Sprint reported at the pretrial conference that non-party Cisco produced a privilege

  log in response to Sprint’s document subpoena on June 30, 2015. Sprint believes it is

  entitled to (and that Cisco has promised) a Rule 30(b)(6) deposition of Cisco pursuant to

  Sprint’s deposition subpoena. Comcast disagrees.

            As a result of the court’s order (ECF doc. 834), Comcast recently produced certain

  documents previously withheld as privileged, and Sprint has requested to depose David

  Marcus as the author or recipient of these documents. The parties are continuing to

  confer regarding this issue.

            If any further discovery-related motions are filed (the timeliness of which is not

  decided today), the parties’ principal briefs must be limited to 5 double-spaced pages,

  with any replies limited to 2 pages. Responsive briefs must be filed within 2 business

  days after the motion is filed; 1 business day is allowed for any replies.



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            Unopposed discovery may continue after the deadline for completion of discovery

  so long as it does not delay the briefing of or ruling on dispositive motions or other

  pretrial preparations. Although discovery may be conducted beyond the deadline for

  completion of discovery if all parties are in agreement to do so, under these

  circumstances the court will not be available to resolve any disputes that arise during the

  course of such extended discovery. But if discovery disputes arise from the discovery

  ordered in ECF doc. 834, such disputes are still subject to the court’s resolution.

  8.        MOTIONS.

            a.        Pending Motions. On July 10, 2015, Comcast and the defendants in Case

  Nos. 11-2685 and 11-2686 filed a consolidated motion to stay all three cases until the

  Federal Circuit affirms or reverses the finding of invalidity of certain patents-in-suit in

  Cox Communications, Inc. v. Sprint Communications L.P., Case No. 12-cv-00487-SLR in

  the District of Delaware (ECF doc. 846 in Case No. 11-2684).

            b.        Additional Pretrial Motions.    Sprint anticipates filing a motion to

  bifurcate trial of Comcast’s equitable defenses, which are questions of law, from trial of

  the liability issues of infringement, validity, and damages. According to Sprint, issues of

  infringement, validity, and damages should be tried by jury, and if the jury finds Comcast

  infringed one or more claims of a valid patent, then a separate bench trial before Judge

  Lungstrum should be held on Comcast’s equitable defenses, including laches, equitable

  estoppel, waiver, and acquiescence.         According to Comcast, issues of infringement,

  validity, damages, laches, equitable estoppel, waiver, and acquiescence all should be tried

  together because of the substantial overlap of the evidence, as the parties’ extensive

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  relationship is relevant to both damages and Comcast’s defenses. Moreover, were the

  court to sever the trial of equitable issues, Comcast believes it would make little sense to

  try those issues after the trial of validity, infringement, and damages issues, given the

  potentially unnecessary inconvenience to a jury and the fact that a ruling with respect to

  equitable issues could determine the relevant period for which a jury would need to

  determine damages.                   As discussed during the pretrial conference, Sprint’s anticipated

  motion for bifurcation, and likewise Comcast’s anticipated motion for an advisory jury

  on equitable defenses, must be filed within 5 business days of the date on which Judge

  Lungstrum files his summary judgment rulings in this case, or by November 23, 2015,

  whichever date is earlier. Responsive briefs with regard to these motions are due 5

  business days after the motions are filed. Due to the related and overlapping nature of

  these motions, as discussed during the pretrial conference, no reply briefs shall be

  allowed.

            Both Sprint and Comcast anticipate filing motions for summary judgment motions

  and motions in limine.

            The dispositive-motion deadline, as established in the scheduling order and any

  amendments, is July 31, 2015. As provided by the court’s original scheduling order

  (ECF doc. 69), 30 days shall be allowed for briefs in opposition to such motions, and 21

  days for reply briefs, if any.

            The parties should follow the summary-judgment guidelines available on the

  court’s website:

                                         http://www.ksd.uscourts.gov/summary-judgment/

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            The arguments and authorities section of briefs or memoranda must not exceed 30

  pages, absent an order of the court. As discussed during the pretrial conference, Sprint

  and Comcast each shall file no more than a single motion for summary judgment that

  asserts all their respective arguments. The supporting briefs shall contain no more than

  30 pages of argument. In addition, though, all of the defendants in Case Nos. 11-2684,

  11-2685, and 11-2686 are granted leave to file a joint motion for summary judgment,

  focused entirely on their invalidity and collateral estoppel defenses, with a supporting

  brief containing no more than 20 pages of argument; Sprint’s responsive brief shall be

  limited to 20 pages of argument.

            c.        Motions Regarding Expert Testimony. All motions to exclude testimony

  of expert witnesses pursuant to Fed. R. Evid. 702-705, Daubert v. Merrell Dow

  Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S.

  137 (1999), or similar case law, must be filed in accordance with the dispositive-motion

  deadline stated above.

  9.        TRIAL.

            The trial docket setting for the first of the three consolidated cases, as established

  in the scheduling order and any amendments, is January 19, 2016, at 9:30 a.m., in

  Kansas City, Kansas. Currently, this case is set to be tried with a jury.

            The court will attempt to decide any timely filed dispositive motions

  approximately 60 days before trial. If no dispositive motions are timely filed, or if the

  case remains at issue after timely dispositive motions have been decided, then the trial

  judge will convene another pretrial conference to discuss, among other things, the setting

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  of deadlines for filing final witness and exhibit disclosures, exchanging and marking trial

  exhibits, designating deposition testimony for presentation at trial, motions in limine,

  proposed instructions in jury trials, and, if necessary, proposed findings of fact and

  conclusions of law in bench trials.

            As provided by the court’s third amended scheduling order (ECF doc. 525), a

  limine conference will be held on January 8, 2016, at 10:00 a.m.

            IT IS SO ORDERED.

            Dated July 24, 2015, at Kansas City, Kansas.



                                              s/ James P. O’Hara
                                             James P. O’Hara
                                             U.S. Magistrate Judge




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                                          CERTIFICATE OF SERVICE

            Counsel are hereby notified that, unless the undersigned Magistrate Judge receives

  objections, corrections, or revisions to the foregoing proposed pretrial order by July 23,

  2015, it will be signed and filed. If revisions are requested, counsel shall state in writing

  on a separate document in letter form the requested revision, identifying the paragraph

  number and the reason for such revision, and serve on opposing counsel and to the

  Magistrate Judge. Counsel shall confer about all such revisions before communicating

  them to the Magistrate Judge. Counsel are encouraged (but not required) to submit

  jointly any requests for revisions. At a minimum, written requests for revisions shall

  state whether opposing counsel consents or objects, and summarize the bases of all

  objections. All such requests for revisions shall be submitted via e-mail to:

                                       ksd_ohara_chambers@ksd.uscourts.gov

            This proposed pretrial order was served on July 16, 2015, on the following:

                      B. Trent Webb                  bwebb@shb.com

                      Peter E. Strand                pstrand@shb.com

                      Robert H. Reckers              rreckers@shb.com

                      Ryan J. Schletzbaum            rschletzbaum@shb.com

                      Ryan D. Dykal                  rdykal@shb.com

                      Anthony I. Fenwick             anthony.fenwick@davispolk.com

                      Michael L. Brody               mbrody@winston.com

                      David J. Lisson                david.lisson@davispolk.com



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                      Paul S. Penticuff   penticuff@bscr-law.com



                                           s/ James P. O’Hara
                                          James P. O'Hara
                                          U.S. Magistrate Judge
  ġ




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       Case 2:11-cv-02684-JWL-JPO Document 525 Filed 12/15/14 Page 1 of 3
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )       CONSOLIDATED CASES
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2684-JWL
                                         )
  COMCAST CABLE COMMUNICATIONS, )
  LLC, et al.,                           )
                                         )
                        Defendants.      )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2685-JWL
                                         )
  CABLE ONE, INC.,                       )
                                         )
                        Defendant.       )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2686-JWL
                                         )
  TIME WARNER CABLE, INC., et al.,       )
                                         )
                        Defendants.      )
  ______________________________________ )


                        THIRD AMENDED SCHEDULING ORDER


  11-2684-JWL-523.wpd
       Case 2:11-cv-02684-JWL-JPO Document 525 Filed 12/15/14 Page 2 of 3
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           The parties have filed a joint motion to amend the consolidated scheduling order,

  seeking to extend all remaining deadlines but to keep the January 19, 2016 trial date intact

  (ECF doc. 523). After consultation with the presiding U.S. District Judge, John W.

  Lungstrum, the motion is granted and the scheduling order is amended as follows:



                            SUMMARY OF DEADLINES AND SETTINGS
                               Event                                   Deadline/Setting


        Fact discovery completed                                    March 13, 2015

        Expert discovery completed                                  May 22, 2015
        Experts disclosed by party with initial burden of proof     March 27, 2015
        Rebuttal experts disclosed                                  May 1, 2015
        Supplementation of disclosures                               40 days before the deadline
                                                                     for completion of fact
                                                                    discovery
        All potentially dispositive motions (e.g., summary judgment) July 31, 2015
        Motions challenging admissibility of expert testimony       July 31, 2015
        Final pretrial conference                                    July 16, 2015, at 10:00
                                                                    a.m.
        Proposed pretrial order due                                 July 6, 2015
        Limine Conference in Courtroom 440                          January 8, 2016, at 10:00
                                                                    a.m.
        Trials                                                      January 19, 2016, at 9:30
                                                                    a.m.

           The parties should note that a limine conference had not previously been scheduled

  and is new in this amended scheduling order. All other provisions of the prior scheduling




  11-2684-JWL-523.wpd                              2
       Case 2:11-cv-02684-JWL-JPO Document 525 Filed 12/15/14 Page 3 of 3
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  orders1 shall remain in effect. The schedule adopted in this third amended scheduling order

  shall not be modified except by leave of court upon a showing of good cause.

           IT IS SO ORDERED.

           Dated December 15, 2014, at Kansas City, Kansas.

                                             s/ James P. O’Hara
                                            James P. O’Hara
                                            U.S. Magistrate Judge




           1
            See ECF docs. 69, 116, 168 and 348.



  11-2684-JWL-523.wpd                         3
Case 1:17-cv-01734-RGA Document 519 Filed 07/10/20 Page 75 of 338 PageID #: 23819




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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 1 of 6
Case 1:17-cv-01734-RGA Document 519 Filed 07/10/20 Page 76 of 338 PageID #: 23820




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )       CONSOLIDATED CASES
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2684-JWL
                                         )
  COMCAST CABLE COMMUNICATIONS, )
  LLC, et al.,                           )
                                         )
                        Defendants.      )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2685-JWL
                                         )
  CABLE ONE, INC.,                       )
                                         )
                        Defendant.       )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2686-JWL
                                         )
  TIME WARNER CABLE, INC., et al.,       )
                                         )
                        Defendants.      )
  ______________________________________ )


                        SECOND AMENDED SCHEDULING ORDER


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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 2 of 6
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          These consolidated cases involve claims by Sprint Communications Company, L.P.

  that defendants are infringing twelve patents related to broadband and packet-based

  telephony products. Defendants have filed a motion to amend the scheduling order, seeking

  a six-to-eight-month extension of all remaining deadlines and the continuance of the trial

  (ECF doc. 288). Defendants assert that the amendment is necessitated by Sprint’s delay in

  producing documents during the discovery period, and by the sheer number of depositions

  noticed in this case that are yet to be taken. Sprint concedes some delay in its production of

  documents and recognizes that many depositions are yet to be scheduled, but argues that a

  three-month extension of deadlines is sufficient for the parties to take focused, necessary

  discovery. After reviewing the briefs and the record, the court finds good cause for

  defendants’ requested extension.

          Motions to modify a scheduling order are governed by Fed. R. Civ. P. 16(b)(4), which

  provides that “[a] schedule may be modified only for good cause and with the judge’s

  consent.” The party seeking to extend a scheduling-order deadline must establish good cause

  by proving that despite due diligence it cannot meet the deadline.1 This normally requires

  the moving party to show good faith on its part and some reasonable basis for not meeting

  the deadline.2 Whether to modify the scheduling order lies within the court’s sound

          1
        Manuel v. Wichita Hotel Partners, LLC, No. 09-1244-WEB-KGG, 2010 WL
  3861278, at *1–2 (D. Kan. Sept. 20, 2010) (quoting Grieg v. Botros, No. 08-1181-EFM,
  2010 WL 3270102, at *3 (D. Kan. Aug. 12, 2010)).
          2
         Womble v. Salt Lake City Corp., 84 F. App’x 18, 20 (10th Cir. 2003) (citing Putnam
  v. Morris, 833 F.2d 903, 905 (10th Cir.1987)).

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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 3 of 6
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  discretion.3

          Sprint’s delays in producing documents in these consolidated cases have been well

  documented in orders by the undersigned U.S. Magistrate Judge, James P. O’Hara. For

  example, in an order dated December 19, 2013—nearly eight months ago—the undersigned

  found that “the delay in Sprint’s document production makes it difficult for defendants to

  meet [scheduling order] deadlines” and begin fact depositions.4 As a result, the undersigned

  was compelled to enter an amended scheduling order extending all deadlines by three

  months.5 Despite the court’s admonition, Sprint’s discovery delays continued.

          In an order dated May 6, 2014, the undersigned recognized that “not much ha[d]

  happened in the way of Sprint’s document production since the issuance of the amended

  scheduling order.”6         The undersigned expressed the court’s disapproval of “Sprint’s

  continued failure to work with defendants to reach a reasonable solution for the completion

  of document production in these consolidated actions.”7 The undersigned then set a May 20,

  2014 deadline for the parties to confer and develop “a solid plan” for Sprint to complete its



          3
           Paris v. Sw. Bell Tel. Co., 94 F. App’x 810, 816 (10th Cir. 2004).
          4
           ECF doc. 168 at 4–5.
          5
           Id. at 5.
          6
          ECF doc. 246 at 3 (citing a representation in defendant’s motion to compel that was
  not disputed by Sprint).
          7
        Id. at 11; see also id. at 11 n.24 (“Sprint seems to be developing a practice of sluggish
  document production in this action.”).

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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 4 of 6
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  production of documents.8

          The parties represent that they then reached a plan for the completion of discovery.

  Sprint agreed to produce documents from certain custodians. However, Sprint has yet to

  produce documents from five of those custodians, and has not committed to a date by which

  to complete its production from all custodians. The parties have noticed over one-hundred

  fact depositions, eighty-one of which remain to be completed, and fifty-eight of which

  remain to be scheduled. Defendants assert that under the current deadlines, they will be

  denied an opportunity to review at least a majority of Sprint’s documents prior to taking

  depositions in advance of expert discovery. In addition, given the sheer number of fact

  depositions noticed, the depositions would have to be double or triple scheduled to be

  completed on time. Defendants should not be forced to prepare for these depositions on an

  expedited basis solely as a result of Sprint’s delay in producing relevant documents. Finally,

  Sprint acknowledges that it is still working to identify designees for Rule 30(b)(6) deposition

  notices served by defendants.

          Under these circumstances, the undersigned finds that defendants have established

  good cause for the extension of deadlines set in the scheduling order. Given Sprint’s

  continued delay in document production, defendants have a reasonable basis for their

  inability to meet current discovery deadlines. The undersigned also finds good cause to enter



          8
         Id. at 15; see also id. at 19 (“Quite frankly, Sprint should have done this long ago in
  response to defendants’ requests and pending discovery deadlines.”).

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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 5 of 6
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  a separate deadline for fact discovery which proceeds the deadline for expert discovery.

  Defendants have demonstrated that fact discovery will serve as a predicate for expert

  reports—a proposition that Sprint does not contest. Finally, the undersigned will grant

  Sprint’s request—which defendants do not oppose—to set a simultaneous expert-report

  deadline for the party that bears the initial burden of proof on a subject matter and a

  simultaneous rebuttal expert-report deadline on issues for which the opposing party bears the

  burden of proof.

          Therefore, defendants’ motion is granted and the scheduling order is amended as

  follows:



                                  SUMMARY OF DEADLINES AND SETTINGS
                                   Event                               Deadline/Setting


        Fact discovery completed                                   January 16, 2015

        Expert discovery completed                                 April 24, 2015
        Experts disclosed by party with initial burden of proof    January 30, 2015
        Rebuttal experts disclosed                                 March 6, 2015
        Supplementation of disclosures                             40 days before the deadline
                                                                    for completion of fact
                                                                   discovery
        All potentially dispositive motions (e.g., summary judgment) June 19, 2015
        Motions challenging admissibility of expert testimony      June 19, 2015
        Final pretrial conference                                   May 27, 2015, at 10:00
                                                                   a.m.
        Proposed pretrial order due                                May 13, 2015




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       Case 2:11-cv-02684-JWL-JPO Document 348 Filed 08/12/14 Page 6 of 6
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                                  SUMMARY OF DEADLINES AND SETTINGS
        Trials                                                    January 19, 2016, at 9:30
                                                                  a.m.

          All other provisions of the prior scheduling orders9 shall remain in effect. The

  schedule adopted in this second amended scheduling order shall not be modified except by

  leave of court upon a showing of good cause.

          IT IS SO ORDERED.

          Dated August 12, 2014, at Kansas City, Kansas.

                                                s/ James P. O’Hara
                                               James P. O’Hara
                                               U.S. Magistrate Judge




          9
           See ECF docs. 69 and 168.



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       Case 2:11-cv-02684-JWL-JPO Document 168 Filed 12/19/13 Page 1 of 6
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )       CONSOLIDATED CASES
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2684-JWL
                                         )
  COMCAST CABLE COMMUNICATIONS, )
  LLC, et al.,                           )
                                         )
                        Defendants.      )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2685-JWL
                                         )
  CABLE ONE, INC.,                       )
                                         )
                        Defendant.       )
  ______________________________________ )

  SPRINT COMMUNICATIONS CO., L.P.,       )
                                         )
                        Plaintiff,       )
                                         )
  v.                                     )       Case No. 11-2686-JWL
                                         )
  TIME WARNER CABLE, INC., et al.,       )
                                         )
                        Defendants.      )
  ______________________________________ )


                           AMENDED SCHEDULING ORDER


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          These consolidated cases involve claims by Sprint Communications Company, L.P.

  that defendants are infringing twelve patents related to broadband and packet-based

  telephony products. Defendants have filed a motion to amend the scheduling order (ECF

  doc. 69), seeking a six-month extension of all remaining deadlines and a continuance of the

  trial (ECF doc. 137). Defendants assert that the amendment is necessitated by Sprint’s delay

  in producing documents during the discovery period. Although Sprint concedes some delay

  in its production of documents, it contends that the scheduling-order deadlines may

  nonetheless be met if the parties exercise diligence. After reviewing the briefs and the

  record, the court finds good cause for a modest extension of the deadlines, but not the lengthy

  six-month extension requested by defendants. Thus, the motion to amend the scheduling

  order is granted, but the relief extended is limited.

          Motions to modify a scheduling order are governed by Fed. R. Civ. P. 16(b)(4), which

  provides that “[a] schedule may be modified only for good cause and with the judge’s

  consent.” The party seeking to extend a scheduling-order deadline must establish good cause

  by proving that despite due diligence it cannot meet the deadline.1 This normally requires

  the moving party to show good faith on its part and some reasonable basis for not meeting

  the deadline.2 Whether to modify the scheduling order lies within the court’s sound

          1
        Manuel v. Wichita Hotel Partners, LLC, No. 09-1244-WEB-KGG, 2010 WL
  3861278, at *1–2 (D. Kan. Sept. 20, 2010) (quoting Grieg v. Botros, No. 08-1181-EFM,
  2010 WL 3270102, at *3 (D. Kan. Aug. 12, 2010)).
          2
         Womble v. Salt Lake City Corp., 84 F. App’x 18, 20 (10th Cir. 2003) (citing Putnam
  v. Morris, 833 F.2d 903, 905 (10th Cir.1987)).

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       Case 2:11-cv-02684-JWL-JPO Document 168 Filed 12/19/13 Page 3 of 6
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  discretion.3

          Defendants assert that they have diligently sought document production from Sprint,

  but that Sprint has delayed in producing documents and/or produced documents with

  defective metadata and custodial information. According to defendants, they “no longer have

  sufficient time in the existing schedule to review all of these documents prior to engaging in

  the claim construction proceedings,” nor “time to prepare for taking and defending a large

  number of depositions on complex factual and technical issues prior to beginning expert

  discovery and the completion of all discovery.”4 Sprint concedes that there have been some

  problems with its production, but nothing out of the ordinary for complex cases involving the

  production of millions of pages of documents.

           Relevant documents in this action essentially fall into two categories: (1) documents

  produced by Sprint in prior litigation involving six of the patents-in-suit and (2) documents

  related to the six newly asserted patents-in-suit, particularly documents related to technology

  and affirmative defenses unique to these cases. During the scheduling conference held on

  April 11, 2013, Sprint stated that it was prepared to quickly produce documents from its prior

  litigation. With respect to documents unique to these cases, defendants served common

  requests for production of documents on May 10, 2013, and individual defendants served

  document requests in April, May, and June 2013.


          3
           Paris v. Southwestern Bell Tel. Co., 94 F. App’x 810, 816 (10th Cir. 2004).
          4
           ECF doc. 138 at 4.

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       Case 2:11-cv-02684-JWL-JPO Document 168 Filed 12/19/13 Page 4 of 6
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          The parties agree that on July 24, 2013, Sprint made a substantial production of its

  documents produced in prior litigation,5 but that metadata problems existed in the electronic

  documents produced. The metadata problems were resolved in waves by subsequent data

  production, up to and including a production on November 26, 2013. The parties also agree

  that Sprint has not yet produced documents specific to the six newly asserted patents-in-suit.

  They continue to meet and confer regarding a process to facilitate the completion of this

  discovery.

          The scheduling order set a deadline of November 18, 2013, for the parties to exchange

  proposed claim constructions pursuant to Markman v. Westview Instruments, Inc., 517 U.S.

  370 (1996), and set subsequent Markman deadlines tied to that exchange. It set an April 25,

  2014 date for the beginning of expert discovery, and a July 25, 2014 date for the close of all

  discovery. The court agrees with defendants that the delay in Sprint’s document production

  makes it difficult for defendants to meet these deadlines. Although, as Sprint notes, the

  claims-construction process relies primarily on intrinsic and publicly available evidence,

  extrinsic evidence is not completely irrelevant and the scheduling order clearly contemplated

  that a good chunk of fact discovery would be completed prior to the deadline for defendants’

  claim-construction contentions. Defendants should not be penalized in their ability to assert



          5
          Sprint explains that this production was later than it had anticipated at the scheduling
  conference because, rather than simply re-producing documents as they had been produced
  in previous cases, defendants requested that Sprint produce them in a specific electronic
  format. ECF doc. 152 at 8.

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       Case 2:11-cv-02684-JWL-JPO Document 168 Filed 12/19/13 Page 5 of 6
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  their claim constructions because of problems—however benign—with Sprint’s document

  production. Likewise, defendants should have an opportunity to review at least the majority

  of documents produced by Sprint prior to taking fact depositions in advance of the start of

  expert discovery.

          Defendants have not explained, however, why they believe that a six-month extension

  is needed or justified. Under defendants’ proposal, the discovery period would extend

  significantly, from sixteen to twenty-four months. Defendants have provided no information

  of how long it will take them, working with diligence, to process and review Sprint’s

  documents. Nor have defendants addressed why they have not filed a motion to compel with

  respect to the requested documents related to the six newly asserted patents-in-suit if

  discovery into those patents is not proceeding as quickly as defendants believe necessary.

  The court sees no reason why defendants could not satisfy scheduling order deadlines if they

  were extended by three-months. Therefore, the scheduling order is amended as follows:



                                  SUMMARY OF DEADLINES AND SETTINGS
                                   Event                              Deadline/Setting

        All discovery completed (including experts’ depositions)   October 24, 2014
        Experts disclosed by plaintiff                             July 25, 2014
        Experts disclosed by defendants                            August 22, 2014
        Rebuttal experts disclosed                                 September 24, 2014
        Supplementation of disclosures                              40 days before the deadline
                                                                    for completion of all
                                                                   discovery




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       Case 2:11-cv-02684-JWL-JPO Document 168 Filed 12/19/13 Page 6 of 6
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                                  SUMMARY OF DEADLINES AND SETTINGS
        All potentially dispositive motions (e.g., summary judgment) December 12, 2014
        Motions challenging admissibility of expert testimony     December 12, 2014
        Exchange terms/phrases for construction under Markman     February 18, 2014
        Meet and confer to narrow terms phrases to be construed   March 3, 2014
       under Markman
        Joint claim construction chart under Markman              March 7, 2014
        Opening Markman briefs                                    March 21, 2014
        Rebuttal Markman briefs                                   April 17, 2014
        Markman hearing                                            (only if the court deems
                                                                  necessary)
        Final pretrial conference                                  November 19, 2014, at
                                                                  10:00 a.m.
        Proposed pretrial order due                               November 7, 2014
        Trials                                                    May 12, 2015, at 9:30 a.m.



          All other provisions of the original scheduling order shall remain in effect. The

  schedule adopted in this amended scheduling order shall not be modified except by leave of

  court upon a showing of good cause.

          IT IS SO ORDERED.

          Dated December 19, 2013, at Kansas City, Kansas.

                                                s/ James P. O’Hara
                                               James P. O’Hara
                                               U.S. Magistrate Judge




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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS CO., L.P.,      )
                                        )          CONSOLIDATED CASES
                        Plaintiff,      )
  v.                                    )           Case No. 11-2684-JWL
                                        )
  COMCAST CABLE COMMUNICATIONS, )
  LLC, et al.,                          )
                                        )
                        Defendants.     )
  ____________________________________ )
                                        )
  SPRINT COMMUNICATIONS CO., L.P.,      )
                                        )
                        Plaintiff,      )
  v.                                    )           Case No. 11-2685-JWL
                                        )
  CABLE ONE, INC.,                      )
                                        )
                        Defendant.      )
  _____________________________________ )
                                        )
  SPRINT COMMUNICATIONS CO., L.P.,      )
                                        )
                        Plaintiff,      )
  v.                                    )           Case No. 11-2686-JWL
                                        )
  TIME WARNER CABLE, INC., et al.,      )
                                        )
                        Defendants.     )

                                      SCHEDULING ORDER




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         On April 11, 2013, pursuant to Fed. R. Civ. P. 16(b), the undersigned U.S.

  Magistrate Judge, James P. O=Hara, conducted a scheduling conference with regard to

  these three consolidated patent infringement cases. Sprint Communications Co., L.P.,

  which is the plaintiff in all three cases, appeared through counsel, Robert H. Reckers, Bart

  A. Starr, and Ryan D. Dykal. In Case No. 11-2684, the defendants, Comcast Cable

  Communications, LLC, Comcast IP Phone, LLC, and Comcast Phone of Kansas, LLC,

  appeared through counsel, Anthony I. Penwick, David J. Lisson, and John A. Watt. In

  Case No. 11-2685, the defendant, Cable One, Inc., appeared through counsel, Mitchell D.

  Lukin and Jay F. Fowler. And in Case No. 11-2686, the defendants, Time Warner Cable

  Inc., Time Warner Cable LLC, Time Warner Entertainment Company, L.P., Time Warner

  Entertainment-Advance/Newhouse Partnership, TWC Communications, LLC, and Time

  Warner Cable Information Services (Kansas), LLC appeared through counsel, David S.

  Benyacar, Lawrence J. Gotts, and Terrence J. Campbell.

         After consultation with the parties, the court enters this scheduling order,

  summarized in the table that follows:

                            SUMMARY OF DEADLINES AND SETTINGS

                                 Event                                Deadline/Setting
        Plaintiff’s settlement proposal                            July 12, 2013

        Defendants’ settlement counter-proposals                   July 26, 2013

        Confidential settlement reports to magistrate judge        August 9, 2013

        Mediation completed                                        August 30, 2013

        Initial disclosures exchanged                              April 25, 2013
        All discovery completed (including experts’ depositions)   July 25, 2014




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        ESI protocol                                                May 3, 2013

        Sprint’s identification of accused products                 May 3, 2013

        Defendants’ invalidity contentions                          July 5, 2013

        Experts disclosed by plaintiff                              April 25, 2014

        Experts disclosed by defendants                             May 23, 2014

        Rebuttal experts disclosed                                  June 24, 2014

        Supplementation of disclosures                              40 days before the
                                                                    deadline for completion of
                                                                    all discovery

        Jointly proposed protective order submitted to court        May 3, 2013

        Motion and brief in support of proposed protective order    May 3, 2013
        (only if parties disagree about need for and/or scope of
        order)

        Motions to join additional parties or otherwise amend the   May 17, 2013
        pleadings

        All other potentially dispositive motions (e.g., summary    October 1, 2014
        judgment)

        Motions challenging admissibility of expert testimony       October 1, 2014

        Exchange of disputed claim terms under Markman              October 18, 2013

        Exchange terms/phrases for construction under Markman       November 18, 2013

        Meet and confer to narrow terms phrases to be construed     December 2, 2013
        under Markman

        Joint claim construction chart under Markman                December 6, 2013

        Opening Markman briefs                                      December 20, 2013

        Rebuttal Markman briefs                                     January 17, 2014

        Markman hearing                                             (only if the court deems
                                                                    necessary)

        Final pretrial conference                                   August 19, 2014, at 10:00
                                                                    a.m.

        Proposed pretrial order due                                 August 8, 2014

        Trials                                                      April 7, 2015, at 9:30 a.m.




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  1.     Alternative Dispute Resolution (ADR).

         a.      By July 12, 2013, plaintiff shall submit to each defendant group a good

  faith proposal to settle the case. By July 26, 2013, each defendant group shall make a

  good faith response to plaintiff=s proposal, either accepting the proposal or submitting that

  group’s own good faith proposal to settle the case. By August 9, 2013, plaintiff and

  each group of defendants shall submit independently, by way of e-mail or letter

  (preferably the former), a confidential settlement report addressed to Judge O’Hara (but

  not the presiding U.S. District Judge, John W. Lungstrum). These reports shall briefly

  set forth the parties’ settlement efforts to date, current evaluations of the case, views con-

  cerning future settlement negotiations and the overall prospects for settlement, and a

  specific recommendation regarding mediation, together with an indication concerning

  who has been selected by the parties (preferably jointly) to serve as a mediator. These

  reports need not be served upon opposing parties and shall not be filed with the Clerk=s

  Office.

         b.      Settlement may be enhanced by use of mediation. Counsel shall provide

  the name of an agreed-upon mediator to the court, and the scheduled date of the

  mediation, as part of the above-described confidential settlement reports. If the parties

  cannot agree on a mediator and any party wishes the court to consider a particular

  mediator or other ADR neutral, then up to three nominations may be provided in the

  confidential settlement reports; such nominations must include a statement of the

  nominee’s qualifications and billing rates, and confirmation that the nominee already has

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  pre-cleared all ethical and scheduling conflicts. Absent further order of the court, the

  mediation shall be held no later than August 30, 2013, before the mediator chosen by the

  parties or selected by the court. An ADR report, on the form located on the court’s

  Internet website, must be filed by defense counsel within 5 days of the scheduled

  mediation: (http://www.ksd.uscourts.gov/adr-report/).

  2.     Discovery.

         a.      By April 25, 2013, the parties shall exchange the information required by

  Fed. R. Civ. P. 26(a)(1). The parties are reminded that, although Rule 26(a)(1) is keyed

  to disclosure of information that the disclosing party Amay use to support its claims or

  defenses, unless solely for impeachment,@ the advisory committee notes to the 2000

  amendments to that rule make it clear that this also requires a party to disclose

  information it may use to support its denial or rebuttal of the allegations, claim, or defense

  of another party. In addition to other sanctions that may be applicable, a party who

  without substantial justification fails to disclose information required by Fed. R. Civ. P.

  26(a) or Fed. R. Civ. P. 26(e)(1) is not, unless such failure is harmless, permitted to use as

  evidence at trial, at a hearing, or on a motion any witness or information not so disclosed.

   See Fed. R. Civ. P. 37(c)(1).

         b.      All discovery, including but not limited to experts’ depositions, shall be

  commenced or served in time to be completed by July 25, 2014.

         c.      The parties intend to serve disclosures and discovery electronically, as

  permitted by D. Kan. Rules 5.4.2 and 26.3.

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         d.      Consistent with the parties’ agreements as set forth in the planning

  conference report submitted pursuant to Fed. R. Civ. P. 26(f), electronically stored

  information (ESI) will be handled as follows: the parties will further meet-and-confer,

  finalize, and then file an agreement as to the scope and manner of production of ESI by

  May 3, 2013.

         e.      Consistent with the parties’ agreements as set forth in their Rule 26(f)

  report, they have agreed to an order regarding claims of privilege or of protection.

  Trial-preparation material asserted after production will be handled with a provision in a

  proposed protective order which, as stated in paragraph 2(l) below, the parties will submit

  to the court by May 3, 2013.

         f.      With the understanding that there is a continuing duty to supplement as this

  litigation proceeds, the following initial patent disclosures shall be made by the parties:

                 (1)     By May 3, 2013, plaintiff shall serve a detailed disclosure of its

         asserted claims and infringement contentions, sworn to by an authorized corporate

         representative and certified by counsel of record. For each asserted claim, this

         shall include disclosure of each accused apparatus, product, device, process,

         method, act, or other instrumentality of which plaintiff is aware. This shall also

         include a claim chart identifying specifically where each limitation of each

         asserted claim is found within each accused apparatus, product, device, process,

         method, act, or other instrumentality. Plaintiff also shall identify whether each

         limitation of each asserted claim is alleged to be literally present or present under

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         the doctrine of equivalents.          In each instance where equivalence is asserted,

         plaintiff shall provide the factual and legal basis for such assertion of equivalence.

         For each patent that claims priority to an earlier application, plaintiff shall identify

         the priority date to which each asserted claim allegedly is entitled. With its

         infringement contentions, plaintiff shall produce to defendants: (a) documents

         sufficient to evidence each discussion with, disclosure to, or other manner of

         providing to a third party, or sale of or offer to sell, or any public use of, the

         claimed invention prior to the date of the application for the patent in suit; (b) the

         principal documents evidencing the conception, reduction to practice, design, and

         development of each claimed invention, which were created on or before the date

         of application for the patent in suit or the priority date identified in claiming

         priority to an earlier application; (c) a copy of the file history of each patent in suit;

         and (d) the principal documents evidencing ownership of the patent rights by the

         party asserting patent infringement. In producing these documents, plaintiff shall

         separately identify by production number which documents correspond to each

         category.

                 (2)     By July 5, 2013, defendants shall serve a detailed disclosure of their

         invalidity contentions, sworn to by an authorized corporate representative and

         certified by counsel of record. This disclosure shall include the identity of each

         item of prior art that allegedly anticipates each asserted claim or renders it obvious,

         whether each item of prior art anticipates each asserted claim or renders it obvious,

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         and identification of any combinations of prior art showing obviousness. This

         shall also include a claim chart identifying where specifically in each alleged item

         of prior art each alleged asserted claim is found, including for each element that

         such party contends is governed by 35 U.S.C. ' 112(2), the identity of the

         structure(s), act(s), or materials(s) in each item of prior art that performs the

         claimed function. This disclosure shall also include any grounds of invalidity

         based on 35 U.S.C. ' 101, indefiniteness under 35 U.S.C. ' 112(2) or enablement

         or written description under 35 U.S.C. ' 112(1) of any of the asserted claims.

         With their invalidity contentions, defendants shall produce to plaintiff: (a)

         documentation sufficient to show the operation of any aspects or elements of an

         accused instrumentality specifically and expressly identified by plaintiff in its

         infringement contentions (i.e., the core technical documents related to the accused

         products, including but not limited to operations manuals, product literature,

         schematics, specifications, source code, and flow charts); and (b) a copy or sample

         of the prior art identified in defendants’ invalidity contentions. Defendants shall

         separately identify by production number which documents correspond to each

         category.

                 (3)     To the extent any contention interrogatories cover the same ground

         covered by the disclosures described in the two preceding subparagraphs, those

         interrogatories need not be answered.



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         g.      As agreed by the parties, the limitations on interrogatories generally

  provided by Fed. R. Civ. P. 33(a)(1) are modified as follows: plaintiff may serve up to

  10 common interrogatories, which each defendant group shall answer individually.

  Plaintiff may serve an additional 15 individual interrogatories on each defendant group.

  Defendants, jointly, may serve up to 15 common interrogatories on plaintiff, and each

  defendant group may also serve up to 10 individual interrogatories on plaintiff. It is not

  anticipated that any interrogatories will be served on any defendant by another defendant.

         h.      Subject to further order of the court, given the complexity of this case, the

  court lifts the default restrictions imposed by Fed. R. Civ. P. 30 on the number and length

  of depositions. However, all depositions shall be governed by the written guidelines that

  are available on the court’s Internet website:

                      (http://www.ksd.uscourts.gov/deposition-guidelines/).

         i.      Disclosures required by Fed. R. Civ. P. 26(a)(2), including reports from

  retained experts, shall be served by plaintiff by April 25, 2014, and by defendants by

  May 23, 2014. Disclosures and reports by any rebuttal experts shall be served by June

  24, 2014.      The parties shall serve any objections to such disclosures (other than

  objections pursuant to Fed. R. Evid. 702-705, Daubert v. Merrell Dow Pharmaceuticals,

  Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or

  similar case law), within 14 days after service of the disclosures upon them. These

  objections should be confined to technical objections related to the sufficiency of the

  written expert disclosures (e.g., whether all of the information required by Rule

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  26(a)(2)(B) has been provided, such as lists of prior testimony and publications). These

  objections need not extend to the admissibility of the expert’s proposed testimony. If

  such technical objections are served, counsel shall confer or make a reasonable effort to

  confer consistent with requirements of D. Kan. Rule 37.2 before filing any motion based

  on those objections. As noted below, any motion to compel discovery in compliance

  with D. Kan. Rules 7.1 and 37.2 must be filed and served within 30 days of the default or

  service of the response, answer, or objection which is the subject of the motion, unless the

  time for filing such a motion is extended for good cause shown; otherwise, the objection

  to the default, response, answer, or objection shall be deemed waived. See D. Kan. Rule

  37.1(b).

         j.      Supplementations of disclosures under Fed. R. Civ. P. 26(e) shall be served

   at such times and under such circumstances as required by that rule. In addition, such

  supplemental disclosures shall be served in any event 40 days before the deadline for

  completion of all discovery. The supplemental disclosures served 40 days before the

  deadline for completion of all discovery must identify the universe of all witnesses and

  exhibits that probably or even might be used at trial. The rationale for the mandatory

  supplemental disclosures 40 days before the discovery cutoff is to put opposing counsel

  in a realistic position to make strategic, tactical, and economic judgments about whether

  to take a particular deposition (or pursue follow-up Awritten@ discovery) concerning a

  witness or exhibit disclosed by another party before the time allowed for discovery

  expires. Counsel should bear in mind that seldom should anything be included in the

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  final Rule 26(a)(3) disclosures, which as explained below usually are filed 21 days before

  trial, that has not previously appeared in the initial Rule 26(a)(1) disclosures or a timely

  Rule 26(e) supplement thereto; otherwise, the witness or exhibit probably will be

  excluded at trial. See Fed. R. Civ. P. 37(c)(1).

         k.      At the final pretrial conference after the close of discovery, the court will

  set a deadline, usually 21 days prior to the trial date, for the parties to file their final

  disclosures pursuant to Fed. R. Civ. P. 26(a)(3)(A)(i), (ii) & (iii). As indicated above, if

  a witness or exhibit appears on a final Rule 26(a)(3) disclosure that has not previously

  been included in a Rule 26(a)(1) disclosure (or a timely supplement thereto), that witness

  or exhibit probably will be excluded at trial. See Fed. R. Civ. P. 37(c)(1).

         l.      Discovery in this case may be governed by a protective order. If the

  parties agree concerning the need for and scope and form of such a protective order, their

  counsel shall confer and then submit a jointly proposed protective order by May 3, 2013.

  Such jointly proposed protective orders should be drafted in compliance with the written

  guidelines that are available on the court’s Internet website:

   (http://www.ksd.uscourts.gov/guidelines-for-agreed-protective-orders-district-of-kansas/)

  At a minimum, such proposed orders shall include, in the first paragraph, a concise but

  sufficiently specific recitation of the particular facts in this case that would provide the

  court with an adequate basis upon which to make the required finding of good cause

  pursuant to Fed. R. Civ. P. 26(c). If the parties disagree concerning the need for, and/or



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  the scope or form of a protective order, the party or parties seeking such an order shall file

  an appropriate motion and supporting memorandum by May 3, 2013.

         m.      To avoid the filing of unnecessary motions, the court encourages the parties

  to utilize stipulations regarding discovery procedures. However, this does not apply to

  extensions of time that interfere with the deadlines to complete all discovery, for the

  briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29; D. Kan. Rule 6.1(a).

  Nor does this apply to modifying the requirements of Fed. R. Civ. P. 26(a)(2) concerning

  experts’ reports. See D. Kan. Rule 26.4(b).

         n.      Civil litigation unfortunately often involves improper discovery requests

  and objections. To ensure discovery in this case is conducted in the Ajust, speedy, and

  inexpensive@ manner mandated by Fed. R. Civ. P. 1, the parties are respectfully reminded

  that this court plans to strictly enforce the certification requirements of Fed. R. Civ. P.

  26(g). Among other things, Rule 26(g)(1) provides that, by signing a discovery request,

  response, or objection, it is certified as: (i) consistent with the applicable rules and

  warranted by existing law or by a nonfrivolous argument for extending, modifying, or

  reversing existing law, or for establishing new law; (ii) not interposed for any improper

  purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of

  litigation; and (iii) neither unreasonable nor unduly burdensome or expensive,

  considering the needs of the case, prior discovery in the case, the amount in controversy,

  and the importance of the issues at stake in the action. If a certification violates these

  without substantial justification, Rule 26(g)(3) requires the court to impose attorneys’ fees

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  as a sanction on the responsible attorney or party, or both. Therefore, before the parties

  and counsel serve any discovery requests, responses, or objections in this case, lest they

  incur sanctions later, the court strongly suggests that they carefully review the excellent

  discussion of Rule 26(g) found in Mancia v. Mayflower Textile Servs. Co., 253 F.R.D.

  354 (D. Md. 2008).

  3.     Motions.

         a.      Any motion for leave to join additional parties or to otherwise amend the

  pleadings shall be filed by May 17, 2013.

         b.      All other potentially dispositive motions (e.g., motions for summary

  judgment) shall be filed by October 1, 2014. Thirty days shall be allowed for briefs in

  opposition to such motions, and 21 days shall be allowed for reply briefs, if any.

         c.      All motions to exclude testimony of expert witnesses pursuant to Fed. R.

  Evid. 702-705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993),

  Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case law, shall be filed no

  later than October 1, 2014. Thirty days shall be allowed for briefs in opposition to such

  motions, and 21 days shall be allowed for reply briefs, if any.

         d.      Any motion to compel discovery in compliance with D. Kan. Rules 7.1 and

  37.2 shall be filed and served within 30 days of the default or service of the response,

  answer, or objection which is the subject of the motion, unless the time for filing such a

  motion is extended for good cause shown. Otherwise, the objection to the default,

  response, answer, or objection shall be waived. See D. Kan. Rule 37.1(b).

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  4.     Other Matters.

         a.      On February 20, 2013, the court consolidated these cases for pretrial

  purposes.     All future pleadings, motions, and other papers, except for those related to

  dispositive motions, shall bear the consolidated caption on this order and shall only be

  filed in the case with the lowest assigned number (i.e., No. 11-2684). Any dispositive

  motions and other filings related to same shall be filed in the specific case without a

  consolidated caption.

         b.      With regard to the construction of claims pursuant to Markman v. Westview

  Instruments, Inc., 517 U.S. 370 (1996), Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir.

  2005), or similar case law, the following shall apply:

                 (1)     Exchange of disputed claim terms by October 18, 2013;

                 (2)     Exchange terms/phrases for construction, proposed constructions,

         and intrinsic support by November 18, 2013;

                 (3)     Meet-and-confer to narrow claim terms/phrases to be construed by

         the court by December 2, 2013;

                 (4)     Jointly file a Joint Claim Construction Chart with the court,

         identifying each construction and disputed constructions, as well as any supporting

         evidence, by December 6, 2013;

                 (5)     Contemporaneous opening Markman briefs filed by each side on

         December 20, 2013;



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                  (6)    Contemporaneous rebuttal Markman briefs filed by each side on

         January 17, 2014; and

                  (7)    A Markman hearing will be scheduled if deemed necessary by the

         court.

         c.       Pursuant to Fed. R. Civ. P. 16(e), a final pretrial conference is scheduled for

  August 19, 2014, at 10:00 a.m., in the U.S. Courthouse, Room 236, Kansas City,

  Kansas, or by telephone if the judge determines the proposed pretrial order is in the

  appropriate format and there are no other problems requiring counsel to appear in person.

   Unless otherwise notified, the undersigned magistrate judge will conduct the conference.

   No later than August 8, 2014, the parties shall submit a proposed pretrial order

  (formatted in Word or WordPerfect) as an attachment to an Internet e-mail sent to

  ksd_ohara_chambers@ksd.uscourts.gov. The proposed pretrial order shall not be filed

  with the Clerk’s Office. It shall be in the form available on the court’s Internet website

  (www.ksd.uscourts.gov), and the parties shall affix their signatures according to the

  procedures governing multiple signatures set forth in paragraphs II(C) of the

  Administrative Procedures for Filing, Signing, and Verifying Pleadings and Papers by

  Electronic Means in Civil Cases.

         d.       The parties expect the trial of each of these three cases, if not consolidated,

  to take approximately 15 days. The cases are set for trial on the court’s docket beginning

  on April 7, 2015, at 9:30 a.m. Unless otherwise ordered, this is not a Aspecial@ or ANo.

  1@ trial setting. Therefore, during the month preceding the trial docket setting, counsel

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  should stay in contact with the trial judge’s courtroom deputy to determine the day of the

  docket on which trial of the case will actually begin. The trial setting may be changed

  only by order of the judge presiding over the trial.

         e.      The parties are not prepared to consent to trial by a U.S. Magistrate Judge at

  this time.

         f.      The arguments and authorities section of briefs or memoranda submitted

  shall not exceed 30 pages, absent an order of the court.

         This scheduling order shall not be modified except by leave of court upon a

  showing of good cause.

         IT IS SO ORDERED.

         Dated April 15, 2013, at Kansas City, Kansas.


                                                 s/ James P. O’Hara
                                               James P. O=Hara
                                               U.S. Magistrate Judge




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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )       CONSOLIDATED CASES
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2684-JWL
                                             )
      COMCAST CABLE COMMUNICATIONS           )
      LLC, et al.,                           )
                                             )
                            Defendants.      )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2685-JWL
                                             )
      CABLE ONE, INC.,                       )
                                             )
                            Defendant.       )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2686-JWL
                                             )
      TIME WARNER CABLE, INC., et al.,       )
                                             )
                            Defendants.      )
      _______________________________________)


                           MEMORANDUM AND ORDER
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             This matter comes before the Court in these consolidated cases on defendants’

      motion to stay the cases pending the outcome of the appeal by plaintiff Sprint

      Communications Company L.P. (“Sprint”) from orders issued by another court (Doc. #

      846, filed in Case No. 11-2684). Case No. 11-2684 has already been stayed.1 In Case

      Nos. 11-2685 and 11-2686, for the reasons set forth below, the Court grants the motion,

      the trial settings and all deadlines are vacated in those two cases, and those cases are

      hereby stayed until further order of the Court.

             By Memorandum and Order of October 9, 2014, by which the Court resolved the

      parties’ claim construction disputes, the Court rejected defendants’ argument that the

      term “processing system” found in various patents at issue here was impermissibly

      indefinite. On May 15, 2015, in Cox Communications Inc. v. Sprint Communications

      Company L.P., No. 12-487-SLR (D. Del.), the district court in Delaware ruled that the

      term “processing system” in six of the same patents was indefinite, and it therefore

      granted summary judgment in favor of Cox on Cox’s claims seeking a declaration of

      those patents’ invalidity. On August 27, 2015, the court in Cox granted Cox’s request

      for entry of final judgment on those claims pursuant to Fed. R. Civ. P. 54(b), and that

      judgment was entered by order of September 3, 2015. On October 1, 2015, Sprint filed

      a notice of appeal to the Court of Appeals for the Federal Circuit from those orders by



             1
              If the stay previously ordered in Case No. 11-2684 is lifted, that case shall be
      stayed, upon request, pending outcome of the appeal from the Delaware court for the
      reasons set forth in this order.

                                                 2
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      the district court in Cox.

               Defendants in these cases seek a stay pending the resolution on appeal in Cox of

      the issue of the validity of six of the ten patents at issue here. The Court agrees that a

      stay is appropriate in this case for prudential reasons. Specifically, in the Cox appeal,

      the Federal Circuit will resolve the issue of the validity of six patents at issue in this case,

      and that ruling will be binding on this Court. Thus, the appeal will determine the proper

      scope of this litigation, and awaiting that outcome will avoid the possibility of multiple

      trials on related patents that (as agreed by the parties) would involve substantially the

      same defenses, evidence, and witnesses. Thus, a stay promotes interests of judicial

      economy and potentially saves the parties the costs and burdens of multiple trials as

      well.2

               The Court does not believe that the requested stay would unduly prejudice Sprint.

      Sprint points to the delay in awaiting the outcome of the appeal, but as defendants note,

      Sprint delayed for several years in filing these suits, which have then been litigated over

      a number of years. Moreover, Sprint’s prior consent to an ongoing stay in one of these


               2
              Defendants argue that if the cases were not stayed, trials would proceed in this
      Court only on four patents because the other six patents should be deemed invalid on the
      basis of collateral estoppel (in light of the Cox judgment on those patents). Sprint
      disputes that collateral estoppel would apply here. The Court need not and does not
      decide that issue at this time, as either outcome presents a risk of multiple trials—if
      claims on only four patents were tried, a later trial could be required on the other six
      patents if the Federal Circuit deemed them valid; if claims on all ten patents were tried
      now, retrial might be required for claims on four patents if the Federal Circuit affirmed
      in Cox, in light of the fact that, as Sprint seemingly concedes, Sprint has not segregated
      its damage theories by patent.

                                                     3
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      three related cases in this Court contradicts any suggestion of urgency by Sprint. Sprint

      argues that a delay will allow defendants to continue their allegedly infringing activity,

      but as defendants note, additional infringement may be redressed by additional damages

      if appropriate, and Sprint has not sought a preliminary injunction to halt such activity.

      Sprint also argues that a delay will allow additional time for the litigation of “retaliation”

      suits such as those brought by Cox and Comcast. Sprint has not explained how the

      litigation of those suits harm the litigation of the present suits on their merits, however,

      and the parties seeking the stay at this time (the Time Warner and Cable One defendants)

      have not filed any such suits. The Court thus concludes that any potential prejudice to

      Sprint from a stay is outweighed by the potential benefits, including judicial economy

      and avoiding the unnecessary costs and burdens of multiple trials on the same or similar

      issues involving the same witnesses and evidence.

             Sprint argues that other factors weigh against a stay, including the fact that

      defendants have not demonstrated a likelihood of success in the appeal. The cases cited

      by Sprint for a consideration of the likelihood of success, however, are inapposite, as

      they involved a request for a stay pending an appeal in the same case. In this case, the

      parties seeking the stay (defendants here) are not the parties taking the appeal, nor are

      they even involved in the other litigation. Moreover, in this case, there are inconsistent

      rulings from two different courts, which means that there is at least a split of authority

      that will be resolved by the appellate court ruling. Finally, this Court cannot necessarily

      rely on its own prior reasoning to decide whether the Federal Circuit will likely reverse

                                                    4
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      in Cox, as defendants presently rely on Federal Circuit opinions issued after this Court’s

      ruling on the issue of indefiniteness, which this Court therefore could not have

      considered. The fact that the Federal Circuit’s ruling will determine whether Sprint may

      pursue its claims on six patents—which claims are not easily segregated from its claims

      on the other patents—weighs strongly in favor of a stay. Accordingly, the Court in its

      discretion grants defendants’ motion and orders a stay in these cases pending the

      outcome of that appeal. Once the appeal is resolved, the parties should so notify the

      Court.3



             IT IS THEREFORE ORDERED BY THE COURT THAT defendants’ motion

      to stay (Doc. # 846, filed in Case No. 11-2684) is hereby granted, and Case Nos. 11-

      2685 and 11-2686 are hereby stayed, with the trial settings and all deadlines vacated,

      until further order of the Court.


             IT IS SO ORDERED.


             Dated this 8th day of October, 2015, in Kansas City, Kansas.

                                                          s/ John W. Lungstrum
                                                          John W. Lungstrum
                                                          United States District Judge



             3
               Sprint argues that the Federal Circuit could refuse to accept jurisdiction to decide
      the invalidity issue at this time. In that event, however, Sprint would be free to seek
      relief from the stay.

                                                   5
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                                       UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  SPRINT COMMUNICATIONS COMPANY L.P.,

                                        Plaintiff,

  v.                                                                 Case No. 11-2686-JWL

  TIME WARNER CABLE, INC., et al.,

                                        Defendants.

                                              PRETRIAL ORDER

            Pursuant to Fed. R. Civ. P. 16, a pretrial conference was conducted in this case on

  July 16, 2015 by U.S. Magistrate Judge James P. O’Hara.                       The plaintiff, Sprint

  Communications Company L.P. (“Sprint”), appeared through counsel, B. Trent Webb,

  Peter E. Strand, Robert H. Reckers, Ryan J. Schletzbaum, and Ryan D. Dykal. The

  defendants, Time Warner Cable Inc., Time Warner Cable LLC, Time Warner

  Entertainment           Company,        L.P.,      Time   Warner   Entertainment-Advance/Newhouse

  Partnership, TWC Communications, LLC, Time Warner Cable Information Services

  (Kansas), LLC (collectively, “Time Warner Cable”), appeared through counsel,

  Lawrence J. Gotts, John T. Ryan, Stephanie N. Grace, and Terrence J. Campbell.

            This pretrial order supersedes all pleadings and controls the subsequent course of

  this case. It will not be modified except by consent of the parties and the court’s

  approval, or by order of the court to prevent manifest injustice. Fed. R. Civ. P. 16(d) &

  (e); D. Kan. Rule 16.2(c).




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  1.        PRELIMINARY MATTERS.

            a.        Subject Matter Jurisdiction. Subject matter jurisdiction is invoked under

  28 U.S.C. §§ 1331 & 1338(a), and is not disputed.

            b.        Personal Jurisdiction. The court’s personal jurisdiction over the parties is

  not disputed.

            c.        Venue. Venue in this case was previously disputed, but the court found

  that venue properly rests with this forum. See D.I. 39.

            d.        Governing Law. Subject to the court’s determination of the law that

  applies to the case, the parties believe and agree that the parties’ claims and defenses are

  governed by federal law, including 35 U.S.C. § 1 et seq.

  2.        STIPULATIONS.

            a.        The following facts are stipulated:

                      (1)       Plaintiff Sprint Communications Company L.P. (“Sprint”) is a

  limited partnership organized and existing under the laws of the State of Delaware, with

  its principal place of business at 6500 Sprint Parkway, Overland Park, Kansas 66251.

                      (2)       Defendant Time Warner Cable Inc. is a corporation organized and

  existing under the laws of the State of Delaware, with its principal place of business at 60

  Columbus Circle, New York, New York 10023.

                      (3)       Defendant Time Warner Cable LLC was a limited liability company

  organized and existing under the laws of the State of Delaware, with its principal place of

  business at 60 Columbus Circle, New York, New York 10023.


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                      (4)       Defendant Time Warner Entertainment Company, L.P. was a limited

  partnership registered to do business in the state of Kansas and organized and existing

  under the laws of the State of Delaware, with its principal place of business at 60

  Columbus Circle, New York, New York 10023.

                      (5)       Defendant    Time     Warner    Entertainment-Advance/Newhouse

  Partnership is a partnership registered to do business in the State of Kansas and organized

  under the laws of the State of New York with its principal place of business at 60

  Columbus Circle, New York, New York 10023.

                      (6)       Defendant TWC Communications, LLC is a limited liability

  company registered to do business in the State of Kansas and organized and existing

  under the laws of the State of Delaware, with its principal place of business at 60

  Columbus Circle, New York, New York 10023.

                      (7)       Defendant Time Warner Cable Information Services (Kansas), LLC

  is a limited liability company registered to do business in the State of Kansas and

  organized and existing under the laws of the State of Delaware, with its principal place of

  business at 60 Columbus Circle, New York, New York 10023.

                      (8)       Time Warner Cable Inc. is the direct or indirect parent of each of

  Time Warner Entertainment-Advance/Newhouse Partnership, TWC Communications,

  LLC and Time Warner Cable Information Services (Kansas), LLC (as earlier indicated,

  collectively, “Time Warner Cable”).               Time Warner Cable owns and operates cable

  systems throughout the United States and in the State of Kansas through one or more of

  its subsidiaries, affiliates, partners, or other related parties, including but not limited to

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  Time Warner Cable Inc., Time Warner Entertainment-Advance/Newhouse Partnership,

  TWC Communications, LLC, and Time Warner Cable Information Services (Kansas),

  LLC.

                      (9)       On January 29, 2002, United States Patent No. 6,343,084 (“the ‘084

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S. Patent

  and Trademark Office (“U.S.P.T.O.”) to Sprint with Joseph Michael Christie (“Christie”)

  listed as inventor.

                      (10)      The ‘084 Patent expired on May 5, 2014.

                      (11)      The ‘084 Patent issued from U.S. Application No. 09/439,033 (“the

  ‘033 Application”), filed on November 12, 1999. The ‘033 Application is a continuation

  of U.S. Application No. 08/525,897 (“the ‘897 Application”), filed on September 8,

  1995.

                      (12)      On October 14, 2003, United States Patent No. 6,633,561 (“the

  ‘3‘561 Patent”) entitled “Method, System and Apparatus for Telecommunications

  Control” was issued by the U.S.P.T.O. to Sprint with Christie listed as inventor.

                      (13)      The ‘3,561 Patent expired on May 5, 2014.

                      (14)      The ‘3,561 Patent issued from U.S. Application No. 10/002,850

  (“the ‘850 Application”), filed on November 14, 2001. The ‘850 Application is a

  continuation of U.S. Application No. 09/082,040, which is a continuation of U.S.

  Application No. 08/568,551, which is a continuation of the ‘605 Application, filed on

  May 5, 1994.


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                      (15)      On October 8, 2002, United States Patent No. 6,463,052 (“the ‘052

  Patent”) entitled “Method, System and Apparatus for Telecommunications Control” was

  issued by the U.S.P.T.O. to Sprint with Christie listed as inventor.

                      (16)      The ‘052 Patent expired on May 5, 2014.

                      (17)      The ‘052 Patent issued from U.S. Application No. 09/082,182 (“the

  ‘182 Application”), filed on May 20, 1998. The ‘182 Application is a continuation of

  U.S. Application No. 08/568,551, which is a continuation of the ‘605 Application, filed

  on May 5, 1994.On September 17, 2002, United States Patent No. 6,452,932 (“the ‘932

  Patent”) entitled “Method, System and Apparatus for Telecommunications Control” was

  issued by the U.S.P.T.O. to Sprint with Christie listed as inventor.

                      (18)      The ‘932 Patent expired on May 5, 2014.

                      (19)      The ‘932 Patent issued from U.S. Application No. 09/499,874 (“the

  ‘874 Application”), filed on February 7, 2000. The ‘874 Application is a continuation of

  U.S. Application No. 09/081,891, which is a continuation of U.S. Application No.

  08/568,551, which is a continuation of the ‘605 Application, filed on May 5, 1994.

                      (20)      On October 29, 2002, United States Patent No. 6,473,429 (“the ‘429

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S.P.T.O.

  to Sprint with Christie listed as inventor.

                      (21)      The ‘429 Patent expired on May 5, 2014.

                      (22)      The ‘429 Patent issued from U.S. Application No. 09/353,401 (“the

  ‘401 Application”), filed on July 15, 1999. The ‘401 Application is a continuation of the

  ‘897 Application, filed on September 8, 1995.

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                      (23)      On October 2, 2001, United States Patent No. 6,298,064 (“the ‘064

  Patent”) entitled “Broadband Telecommunications System” was issued by the U.S.P.T.O.

  to Sprint with Christie listed as inventor.

                      (24)      The ‘064 Patent expired on May 5, 2014.

                      (25)      The ‘064 Patent issued from U.S. Application No. 09/504,408 (“the

  ‘408 Application”), filed on February 15, 2000. The ‘408 Application is a continuation

  of U.S. Application No. 09/353,401, which is a continuation of the ‘897 Application,

  filed on September 8, 1995.

                      (26)      On December 11, 2001, United States Patent No. 6,330,224 (“the

  ‘224 Patent”) entitled “System and Method for Providing Enhanced Services for a

  Telecommunication Call” was issued by the U.S.P.T.O. to Sprint with Christie and

  Joseph S. Christie (legal representative), Jean M. Christie (legal representative), and

  Tracy Lee Nelson listed as inventors.

                      (27)      The ‘224 Patent expires on November 22, 2016.

                      (28)      The ‘224 Patent issued from U.S. Application No. 09/272,655 (“the

  ‘655 Application”), filed on March 18, 1999. The ‘655 Application is a continuation of

  U.S. Application No. 08/754,847, filed on November 22, 1996.

                      (29)      On May 13, 2003, United States Patent No. 6,563,918 (“the ‘918

  Patent”) entitled “Telecommunications System Architecture for Connecting a Call” was

  issued by the U.S.P.T.O. to Sprint with Tracy Lee Nelson, William Lyle Wiley, Royal

  Dean Howell, Michael Joseph Gardner, and Albert Daniel DuRee listed as inventors.

                      (30)      The ‘918 Patent expires on February 20, 2018.
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                      (31)      The ‘918 Patent issued from U.S. Application No. 09/026,906, filed

  on February 20, 1998.

                      (32)      On February 24, 2004, United States Patent No. 6,697,340 (“the

  ‘340 Patent”) entitled “System and Method for Providing Enhanced Services for a

  Telecommunication Call” was issued by the U.S.P.T.O. to Sprint with Christie and

  Joseph S. Christie (legal representative), Jean M. Christie (legal representative), and

  Tracy Lee Nelson listed as inventors.

                      (33)      The ‘340 Patent expires on November 22, 2016.

                      (34)      The ‘340 Patent issued from U.S. Application No. 10/336,999 (“the

  ‘999 Application”), filed on January 6, 2003. The ‘999 Application is a continuation of

  U.S. Application No. 09/272,932, which is a continuation of U.S. Application No.

  08/754,847, filed on November 22, 1996.

                      (35)      On October 23, 2007, United States Patent No. 7,286,561 (“the

  ‘6,561 Patent”) entitled “Method System and Apparatus for Telecommunications

  Control” was issued by the U.S.P.T.O. to Sprint with Christie listed as inventor.

                      (36)      The ‘6,561 Patent expired on May 5, 2014.

                      (37)      The ‘6,561 Patent issued from U.S. Application No. 10/633,798

  (“the ‘798 Application”), filed on August 4, 2003. The ‘798 Application is a

  continuation of U.S. Application No. 09/082,040, which is a continuation of U.S.

  Application No. 08/568,551, which is a continuation of the ‘605 Application, filed on

  May 5, 1994.



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                      (38)      Collectively, the 3’561, ‘052, ‘932, ‘429, ‘064, ‘224, ‘918, ‘340,

  6’561, and ‘084 patents are the “Asserted Patents.”

                      (39)      Sprint is the owner by assignment of all right, title, and interest to

  the Asserted Patents.

                      (40)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1, 4, and 7 of the ‘084 Patent.

                      (41)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1-3, 7, 15, 22-26, 29, 36, and 38 of the 3’561 Patent.

                      (42)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1-5, 8-9, and 11 of the ‘052 Patent.

                      (43)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1, 8, and 16 of the ‘932 Patent.

                      (44)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1-3 and 5-8 of the ‘429 Patent.

                      (45)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1-3, 7, 9, and 26 of the ‘064 Patent.

                      (46)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 1-4, 7, 13-14, and 20-21 of the ‘224 Patent.

                      (47)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 11-12 and 19 of the ‘918 Patent.

                      (48)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 11-12, 17, and 20 of the ‘340 Patent.
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                      (49)      Sprint asserts that Time Warner Cable has infringed and is infringing

  claims 11-12, 14, and 18-20 of the 6’561 Patent.

                      (50)      On August 13, 2003, Sprint and Time Warner Cable entered into the

  “Wholesale Voice Services Technical Trial Agreement,” wherein Time Warner Cable

  partnered with Sprint to provide voice services in the Kansas City test market.

                      (51)      On December 5, 2003, Sprint and Time Warner Cable entered into

  and executed the “Wholesale Voice Services Agreement,” wherein Time Warner Cable

  partnered with Sprint to provide voice services in various markets.

                      (52)      On October 4, 2005, Sprint filed suit in the matter styled Sprint

  Communications Co. L.P. v. Vonage Holdings Corp. et al., Case No. 05-2433-JWL (D.

  Kan.) (“Vonage Case”).

                      (53)      On July 27, 2006, Sprint and Time Warner Cable entered into and

  executed the “Amended and Restated Wholesale Voice Services Agreement.”

                      (54)      In 2008, Sprint filed the following lawsuits: Sprint Communications

  Co. L.P. v. Paetec Holding Corp. et al, Case No. 08-cv-2044-JWL/GLR (D. Kan.); Sprint

  Communications Co. L.P. v. Broadvox Holdings, LLC et al., Case No. 08-cv-2045-

  JWL/DJW (D. Kan.); Sprint Communications Co. L.P. v. Big River Telephone Co., LLC,

  Case No. 08-cv-2046-JWL/DJW (D. Kan.); and Sprint Communications Co. L.P. v.

  Nuvox, Inc. et al., Case No. 08-cv-2047-JWL/JPO (D. Kan.).

                      (55)      On July 30, 2010, Sprint and Time Warner Cable entered into and

  executed the “Transition Assistance Agreement.”



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                      (56)      On December 1, 2011, Time Warner Cable announced an agreement

  with Verizon Wireless that allowed Time Warner Cable to sell Verizon Wireless products

  and services.

                      (57)      On December 19, 2011 Sprint filed the present lawsuit.

            b.        The parties have not yet stipulated to the admissibility of any exhibits for

  purposes of summary judgment or trial. However, they anticipate filing such stipulations

  after the court makes its summary judgment rulings.

            c.        Legible photocopies of exhibits may be used, offered, and received in lieu

  of originals, subject to all foundational requirements and other objections that might be

  made to the admissibility of originals, and subject to the right of the party against whom

  it is offered to inspect an original upon request reasonably in advance of any proposed

  use of the photocopy. Electronic versions of document exhibits in their native format,

  such as spreadsheets or presentations, may be offered and received in evidence in lieu of

  paper or PDF versions. Legible photocopies of United States patents and the content of

  U.S.P.T.O. file histories may be offered and received in evidence in lieu of certified

  copies thereof.

            d.        Each party may use a subset of an exhibit as a standalone exhibit, subject to

  evidentiary objections. Such subset exhibit shall be marked with the entire exhibit’s

  number followed by a letter, for example, PTX1-A.

            e.        The parties agree that documents created by a party or subpoenaed third

  party and thereafter produced by that party or subpoenaed third party during the

  discovery phase of this litigation are presumed prima facie genuine and authentic.
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  3.        FACTUAL CONTENTIONS.

            a.        Contentions of Plaintiff. Time Warner Cable has infringed one or more of

  the asserted claims of the Asserted Patents by making, selling, offering to sell, and/or

  using its Voice over Internet Protocol (“VoIP”) telephony products and services. The

  products and services accused of infringing the Asserted Patents meet each limitation of

  one or more of the asserted claims of the Asserted Patents either literally or under the

  doctrine of equivalents, as those limitations are construed by the court.

            The asserted claims of the Asserted Patents are presumed valid under 35 U.S.C. §

  282. That presumption can only be overcome if Time Warner Cable provides clear and

  convincing evidence of their invalidity. Each of the asserted claims of the Asserted

  Patents is presumed valid independently of the validity of the other claims under 35

  U.S.C. § 282. There is no evidence that any single prior art reference discloses, expressly

  or inherently, each and every limitation of any of the asserted claims, and that the

  asserted claims therefore are not anticipated or invalid under 35 U.S.C. § 102. There is

  no evidence that the asserted claims are obvious, in light of the prior art, under 35 U.S.C.

  § 103; there is no evidence that the prior art, alone or in combination, discloses each

  limitation of any of the asserted claims; and there are no other rationales to support a

  conclusion of obviousness. See KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398 (2007). The

  asserted claims satisfy the requirements in 35 U.S.C. § 112. As a result, Time Warner



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  Cable cannot meet its burden to show the asserted claims in Sprint’s Asserted Patents are

  invalid.

            Sprint is entitled to an award of damages in the amount of not less than a

  reasonable royalty based on Time Warner Cable’s infringement of the Asserted Patents,

  including prejudgment and post-judgment interest.

            Time Warner Cable’s infringement has been and continues to be willful. This is

  an “exceptional case” under 35 U.S.C. § 285. The court should treble any damage award

  and award Sprint its reasonable attorney fees as a result of Time Warner Cable’s willful

  infringement.

            Sprint also seeks an injunction preventing Time Warner Cable from continuing to

  make, sell, offer to sell, and/or use the infringing services. Plaintiff can meet its burden

  to prove (1) that it has suffered an irreparable injury; (2) that remedies available at law

  are inadequate to compensate for that injury; (3) that an injunction is warranted when

  balancing the hardships between plaintiff and Time Warner Cable; and (4) that the public

  interest would not be disserved by a permanent injunction.

            Time Warner Cable cannot meet its burden to prove laches. First, Time Warner

  Cable cannot prove that Sprint was on notice that Time Warner Cable infringed Sprint’s

  Asserted Patents prior to Time Warner Cable announcing its intention to discontinue

  using Sprint as a VoIP partner and that it would “Go It Alone.” Second, Time Warner

  Cable cannot claim that Sprint was somehow on earlier constructive notice, prior to Time

  Warner Cable’s announcement, of any practice of Sprint’s patented methods that were

  not part of a managed VoIP solution performed by Sprint using Sprint architecture for
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  Time Warner Cable. Third, any delay in Sprint filing suit is justified based on the

  parties’ non-disclosure agreements, the limits placed on the use of any confidential

  information under the various agreements between the parties and the difficulty and

  expense of discovering infringement, the existence of closely related patents and Sprint’s

  other enforcement actions during the period of alleged delay, and attempts at resolving

  potential patent infringement issues between the parties. Fourth, Time Warner Cable

  cannot show proof of economic or evidentiary prejudice from any delay by Sprint to file

  suit. Fifth, Time Warner Cable cannot demonstrate that it would have done anything

  different had Sprint sued it before its announcement of its decision to “Go It Alone.”

            In addition, Time Warner Cable cannot meet its burden to prove equitable

  estoppel. First, Sprint did not mislead Time Warner Cable into believing it had the right

  to perform the services protected by Sprint’s Asserted Patents. Second, Time Warner

  Cable cannot establish that it relied on any communications, conduct, or silence by Sprint

  to determine that it had the right to perform the services protected by Sprint’s Asserted

  Patents. Third, Time Warner Cable cannot prove economic or evidentiary prejudice from

  any communications, conduct, or silence by Sprint relating to the Asserted Patents.

            Time Warner Cable cannot meet its burden to show it has an express or implied

  license to any of Sprint’s Asserted Patents. First, Sprint never granted Time Warner

  Cable a license to the Asserted Patents. Second, express provisions within various

  agreements between Sprint and Time Warner Cable state that Time Warner Cable has no

  implied license to Sprint’s Asserted Patents. Third, Sprint did not expressly or implicitly

  waive any right to enforce one or more of the Asserted Patents.

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            Time Warner Cable cannot meet its burden to show patent exhaustion. Sprint has

  never authorized the sale to Time Warner Cable of an article that substantially embodies

  any Asserted Patent. See Quanta Computer, Inc. v. LG Electronics, Inc., 553 U.S. 617,

  638 (2008).

            Time Warner Cable cannot meet its burden to show that Sprint should be estopped

  from invoking the doctrine of equivalents based on representations made in prosecution

  history of any Asserted Patents. In particular, Sprint, while prosecuting the Asserted

  Patents, never relinquished its right to argue that the accused media gateways satisfy the

  “interworking unit” limitation of the Asserted Patents under the doctrine of equivalents.

            Time Warner Cable cannot meet its burden to prove this lawsuit is barred by

  waiver. Sprint’s conduct never induced a reasonable belief that it relinquished its rights to

  enforce the Asserted Patents against Time Warner Cable.

            Time Warner Cable has not met its burden to prove this lawsuit is barred by

  acquiescence. Sprint filed this lawsuit in a reasonable time after the expiration of its voice

  services contract with Time Warner Cable and Time Warner Cable informing Sprint that

  it would “Go-it-Alone.” Sprint expressed no intention to abandon its enforcement rights

  in the Asserted Patents and did not neglect its rights for such time as implies an intention

  to abandon them.

            Time Warner Cable cannot meet its burden to prove that Sprint’s claims are barred

  by the doctrines of in pari delicto or unclean hands. Time Warner Cable has not asserted

  in pari delicto and unclean hands as defenses in its Answer to Sprint’s Amended

  Complaint, nor has Time Warner Cable moved for leave to amend to assert these
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  defenses. Furthermore, Sprint has not committed any wrongdoing that would relieve

  Time Warner Cable of its liability for patent infringement. To the extent Time Warner

  Cable contends that Time Warner Cable is at fault for some or all of the alleged

  infringement, Sprint agrees. As a result, Time Warner Cable should be held strictly liable

  for all claims for patent infringement identified above.

            Finally, Warner Cable cannot demonstrate that Sprint is barred from asserting

  infringement of U.S. Patent Nos. 6,452,932; 6,463,052; 6,633,561; 7,286,561; 6,473,429;

  and 6,298,064 by the doctrine of collateral estoppel. Judge Robinson’s decision in the

  District of Delaware regarding indefiniteness is not final, and Sprint opposes Cox’s

  request to certify the decision as final under Fed. R. Civ. P. 54(b). Judge Robinson may

  revisit her decision regarding claim construction at any time prior to final judgment.

  Additionally, Judge Robinson’s decision regarding definiteness does not dispose of all

  issues within a claim, including equitable defenses asserted by Cox, and therefore, the

  order is not final for purposes of Rule 54(b). Furthermore, the parties in the District of

  Kansas have already litigated the indefiniteness question and Judge Lungstrum found the

  “processing system” claims were not invalid as indefinite on October 9, 2014 (D.I. 435 at

  6-13), rejecting the very arguments underlying Time Warner Cable’s new collateral

  estoppel theory.

            b.        Contentions of Defendant. As outlined in greater detail in Time Warner

  Cable’s interrogatory responses, Sprint knew as of 2003 that, beginning in 2003 and

  continuing through the date this lawsuit was filed in December 2011, Time Warner Cable

  purchased VoIP services from several different companies in order to offer phone service

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  to its customers.              Over time, these companies included Sprint, MCI, Pine Tree

  Communications, and others. Sprint was further aware that Time Warner Cable began

  providing its own VoIP services (i.e., services not purchased from a third party) to

  customers in certain markets beginning in 2005 and that it began its nationwide rollout of

  its own go-it-alone VoIP services late 2010. Before filing suit, Sprint never told TWC

  that any of the VoIP service that TWC offered to its customers—whether or not

  purchased from a third party—infringes any Sprint patent.

            Sprint is barred by the doctrine of laches from obtaining any damages for alleged

  infringement prior to December 19, 2011, when Sprint filed this lawsuit. Sprint had

  actual or constructive notice of Time Warner Cable’s infringement of Sprint’s Asserted

  Patents since at least 2003, when Time Warner Cable began providing VoIP-based voice

  services with Pine Tree and MCI. Sprint cannot meet its burden to prove that the delay in

  Sprint filing suit is justified. Time Warner Cable further contends that Time Warner

  Cable has suffered both evidentiary and economic prejudice as a result of Sprint’s delay

  in filing suit. In addition, laches should be presumed because Sprint delayed filing suit

  for more than six years after it knew or reasonably should have known of Time Warner

  Cable’s alleged infringement.

            In addition, Sprint’s lawsuit is barred by equitable estoppel. Time Warner Cable

  reasonably inferred from Sprint’s misleading conduct that it had the right to perform the

  services accused of infringing Sprint’s Asserted Patents. Time Warner Cable relied on

  Sprint’s misleading conduct, including its silence. And Time Warner Cable has suffered


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  both economic and evidentiary prejudice if Sprint’s infringement claims are allowed to

  proceed.

            Sprint’s lawsuit is barred by waiver because Sprint’s conduct was so inconsistent

  with an intent to enforce the Asserted Patents as to induce a reasonable belief that such

  right has been relinquished.

            Sprint’s lawsuit is barred by acquiescence as Sprint knew or ought to have known

  of an entitlement to enforce the Asserted Patents but neglected to do so for such a time as

  implies an intention to waive or abandon that right.

            Sprint’s claims are barred by the doctrine of in pari delicto because Sprint’s

  recovery should be barred by its own wrongful conduct. Sprint’s claims are barred by the

  doctrine of unclean hands as Sprint has acted inequitably, unfairly and deceitfully toward

  Time Warner Cable in a way that is immediately and necessarily related to the relief

  Sprint seeks. Time Warner Cable’s defenses of in pari delicto and unclean hands are

  adequately pled as part of its Fifth Affirmative Defense in its Answer to Sprint’s Second

  Amended Complaint (See D.I. #85).

            Time Warner Cable is expressly and impliedly licensed to practice the Asserted

  Patents. First, Sprint granted Time Warner Cable a license to the Asserted Patents

  through the parties’ agreements. Second, Sprint impliedly granted Time Warner cable a

  license to the Asserted Patents through its actions and inactions throughout the parties’

  relationship.

            Sprint’s lawsuit is barred by patent exhaustion because Sprint has authorized the

  sale to Time Warner Cable of an article that substantially embodies the Asserted Patents.

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            Each of Sprint’s asserted patent claims is invalid, either as anticipated under 35

  U.S.C. §§ 102(a), (b), (e), and/or (g), or is obvious under 35 U.S.C. § 103 in view of the

  prior art identified in defendants’ Invalidity Contentions as well as the prior art opined

  upon in the expert reports of Dr. Henry Houh and Mr. Scott Bradner (collectively, “the

  prior art”).        Time Warner Cable has asserted numerous prior art references which

  invalidate all of the asserted claims alone or in combination.

            In addition, each of Sprint’s asserted patent claims is invalid due to failure to meet

  the requirements of 35 U.S.C. § 112 as expressed in defendants’ Invalidity Contentions,

  the expert report of Dr. Paul Min, and the claim construction declarations of Dr. Leonard

  Forys. Specifically, the disclosures of the Sprint patents are explicit that the inventions in

  the possession of the claimed inventors were limited to telecommunications methods and

  systems that implemented centralized call control and/or that used the ATM protocol, and

  to the extent that those claims encompasses methods or systems that do not use

  centralized call control and/or the ATM protocol, including telecommunications methods

  and systems implemented on IP telecommunications networks, they are unsupported by

  the specifications of Sprint’s asserted patents.

            Time Warner Cable has not infringed and does not infringe, literally or under the

  doctrine of equivalents, any valid and enforceable claim of the Asserted Patents.

            Sprint should be estopped from invoking the doctrine of equivalents based on

  representations made in prosecution history of any Asserted Patents.

            Sprint is barred from asserting infringement of U.S. Patent Nos. 6,452,932;

  6,463,052; 6,633,561; 7,286,561; 6,473,429; and 6,298,064 by the doctrine of collateral
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  estoppel.        On May 15, 2015, Judge Robinson of the District of Delaware entered

  summary judgment that the common claim limitation “processing system” in those

  patents is indefinite. The issue has been finally adjudicated on the merits by Judge

  Robinson, and Sprint had a full and fair opportunity to litigate the issue.

            Sprint cannot establish that any alleged infringement by Time Warner Cable has

  been willful. There is no factual basis upon which Sprint can meet the heavy evidentiary

  burden of proof to establish willful infringement, or the additional burden of establishing

  this case was “extraordinary” so as to warrant enhanced damages or other relief for

  willful infringement.

            Sprint has not met its burden to prove that it is entitled to an award of damages,

  nor that it has met its burden to prove what the amount of a reasonable royalty based on

  Time Warner Cable’s alleged infringement of the Asserted Patents would be. In addition,

  Sprint is not entitled to prejudgment interest.

            Sprint has not met its burden to seek an injunction. First, seven of the ten Asserted

  Patents have expired. Second, Sprint waited over eight years after Time Warner Cable

  began offering the accused VoIP services with Sprint’s knowledge and participation

  before filing this lawsuit. Third, Sprint cannot prove any irreparable injury or that

  remedies available at law are inadequate to compensate for that injury. Fourth, a balance

  of hardships weighs against an injunction. Fifth, the public interest would be disserved

  by an injunction.

  4.        LEGAL CLAIMS AND DEFENSES.



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            a.        Legal Claims of Plaintiff. Plaintiff asserts that it is entitled to recover

  upon the following theories:

                      (1)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1, 4, and 7) of the ‘084 patent either literally or under the doctrine of equivalents,

  by making, selling, or offering to sell, and/or using certain VoIP telephony systems

  (Count 1 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271, 281.

                      (2)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1-3, 7, 15, 22-26, 29, 36, and 38) of the ‘3,561 patent either literally or under the

  doctrine of equivalents, by making, selling, or offering to sell, and/or using certain VoIP

  telephony systems (Count 2 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C

  §§ 271, 281.

                      (3)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1-5, 8-9, and 11) of the ‘052 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 3 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

                      (4)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1, 8, and 16) of the ‘932 patent either literally or under the doctrine of equivalents,

  by making, selling, or offering to sell, and/or using certain VoIP telephony systems

  (Count 4 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271, 281.

                      (5)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1-3 and 5-8) of the ‘429 patent either literally or under the doctrine of equivalents,
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  by making, selling, or offering to sell, and/or using certain VoIP telephony systems

  (Count 5 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271, 281.

                      (6)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1-3, 7, 9, and 26) of the ‘064 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 6 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

                      (7)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 1-4, 7, 13-14, and 20-21) of the ‘224 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 8 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

                      (8)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 11-12 and 19) of the ‘918 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 9 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

                      (9)       Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 11-12, 17, and 20) of the ‘340 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 11 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

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                      (10)      Time Warner Cable has infringed one or more of the asserted claims

  (Nos. 11-12, 14, and 18-20) of the ‘6,561 patent either literally or under the doctrine of

  equivalents, by making, selling, or offering to sell, and/or using certain VoIP telephony

  systems (Count 12 of Second Amended Complaint, D.I. 82). See, e.g., 35 U.S.C §§ 271,

  281.

                      (11)      The asserted claims of Asserted Patents are presumed valid and

  enforceable, and there exists no clear and convincing evidence that could overcome that

  presumption.           Under 35 U.S.C § 284, plaintiff is entitled to an award of damages

  adequate to compensate for Time Warner Cable’s infringement. These damages must be

  in an amount no less than a reasonable royalty. See 35 U.S.C § 284.

                      (12)      As relates to Sprint’s claims under all of the Asserted Patents, this is

  an exceptional case under 35 U.S.C § 285, and accordingly Sprint should be awarded its

  reasonable attorney fees.

                      (13)      An injuction should be entered to prevent Time Warner Cable from

  continuing to infringe the ‘224, ‘918, and ‘340 patents, pursuant to 35 U.S.C. § 283.

                      (14)      Under 35 U.S.C. § 284, because of Time Warner Cable’s willful

  infringement of the ‘3,561, ‘052, ‘932, ‘429, and ‘064 patents, the court should treble the

  amount of damages awarded to Sprint.

                      (15)      Sprint is entitled to award of prejudgment and post-judgment interest

  and costs in accordance with 35 U.S.C. § 284.

                      (16)      Sprint’s Asserted Patents are definite and the Federal Circuit’s en

  banc opinion in Williamson v. Citrix Online, No. 2013-1130 (Fed. Cir. June 16, 2015)
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  does not alter Judge Lungstrum’s prior order declining to apply 35 U.S.C. § 112(f) to any

  of the claims or terms at issue. (D.I. 435 at 7-8).

            b.        Defenses of Defendant. Time Warner Cable asserts the following defenses

  and affirmative defenses:

                      (1)       Time Warner Cable does not infringe any asserted claim of the

  Asserted Patents. (D.I. #85, First and Second Affirmative Defenses at ¶¶ 108, 109.)

                      (2)       Time Warner Cable’s VoIP network does not meet every limitation

  of any claim of any of the Asserted Patents, either literally or under the doctrine of

  equivalents. (D.I. #85, First and Second Affirmative Defenses at ¶¶ 108, 109.)

                      (3)       Time Warner Cable has not willfully infringed any Asserted Patent.

  (D.I. #85, at ¶ 41.)

                      (4)       The Asserted Patents are invalid pursuant to 35 U.S.C. § 102 for

  anticipation. (D.I. #85, Third Affirmative Defense at ¶ 110.)

                      (5)       The Asserted Patents are invalid pursuant to 35 U.S.C. § 103 for

  obviousness. (D.I. #85, Third Affirmative Defense at ¶ 110.)

                      (6)       The Asserted Patents are invalid for failure to meet the requirements

  of 35 U.S.C. § 112. (D.I. #85, Third Affirmative Defense at ¶ 110.)

                      (7)       The relief sought is barred by waiver and acquiescence. (D.I. #85,

  Fifth Affirmative Defense at ¶¶ 112–113.)




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                      (8)       The relief sought is barred by the doctrines of in pari delicto and

  unclean hands. (D.I. #85, Fifth Affirmative Defense at ¶¶ 112–113.)1

                      (9)       The relief sought is barred by laches and equitable estoppel. (D.I.

  #85, Fifth Affirmative Defense at ¶¶ 112–113.)

                      (10)      The relief sought is barred because Sprint granted Time Warner

  Cable an express and implied license. (D.I. #85, Sixth Affirmative Defense at ¶ 114.)

                      (11)      The relief sought is barred by the doctrine of patent exhaustion.

  (D.I. #85, Sixth Affirmative Defense at ¶ 114.)

                      (12)      Sprint is barred from any relief or recovery for infringement of the

  ‘932, ‘3,561, ‘052, ‘6,561, ‘429 and ‘064 Patents by the doctrine of collateral estoppel.

                      (13)      Regardless of the preclusive effect of the Delaware invalidity

  decision, in light of the Federal Circuit’s en banc opinion in Williamson v. Citrix Online,

  No. 2013-1130 (Fed. Cir. June 16, 2015), the claims containing the limitations addressed

  by the parties in D.I. 317, 340 and 360 are indefinite and therefore invalid as a matter of

  law.

  5.        DAMAGES AND NON-MONETARY RELIEF REQUESTED.

            a.        Plaintiff’s Damages.       Sprint contends that Time Warner Cable began

  infringing the Asserted Patents at least as early as September 2010. As a result of Time

  Warner Cable’s past and continuing infringement of the Asserted Patents, Sprint is


            1
          According to Time Warner Cable, its defenses of in pari delicto and unclean hands are
  adequately pled as part of its fifth affirmative defense in its answer to Sprint’s second amended
  complaint. (See D.I. #85). Sprint disagrees.

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  entitled to damages in an amount not less than a reasonable royalty. See 35 U.S.C §§

  284, 286. Sprint’s expert report, dated April 3, 2015, set forth that at the time of the

  hypothetical negotiation, Sprint and Time Warner would have agreed on a royalty of at

  least $1.50 per subscriber per month for use of the patents-in-suit through the expiration

  of the Asserted Patents on May 5, 2014, after which the royalty would be at least $0.13

  per subscriber per month through the remainder of the damages period. Thus, reasonable

  royalty damages to Sprint as a result of Time Warner Cable’s infringement of the

  Asserted Patents through December 31, 2014 are $155.3 million. Prior to the trial in this

  matter, and pursuant to the Federal Rules, plaintiff will supplement these numbers.

            Alternatively, in the event the court determines that the appropriate damages start

  date is December 19, 2011, Sprint’s experts have concluded that reasonable royalty

  damages to Sprint as a result of Time Warner Cable’s alleged infringement of the

  Asserted Patents through December 31, 2014 are $131.7 million. Because Time Warner

  Cable continues to sell its infringing services, this damage amount is increasing and will

  continue to increase through trial and until an injunction is entered.

            Sprint also seeks its costs, prejudgment, and post-judgment interest on all

  damages.

            In addition, and because of Time Warner Cable’s willful infringement of the

  asserted patents, the court should treble the amount of damages awarded by the jury

  under 35 U.S.C § 284. Finally, Time Warner Cable’s willful infringement renders this an

  exceptional case under 35 U.S.C § 285, and accordingly plaintiff should be awarded its

  reasonable attorney fees in an amount to be determined after trial.

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            b.        Defendant’s Damages. None claimed.

            Time Warner Cable contends that Sprint is not entitled to any damages because

  the asserted claims of the Asserted Patents are invalid and not infringed, and because the

  relief sought by Sprint is barred in whole or in part by the doctrines of laches, equitable

  estoppel, waiver, acquiescence, in pari delicto, unclean hands, implied license, express

  license, patent exhaustion, and collateral estoppel.

            If Sprint is entitled to damages, then Sprint is entitled to no more than a lump sum

  royalty at or near $0.00.

            Sprint is not entitled to costs or to prejudgment interest on any damages. Should

  Time Warner Cable prevail on its defenses, and the court finds this is an exceptional case

  under 35 U.S.C. § 285, Time Warner Cable should be awarded its costs and reasonable

  attorney fees in an amount to be determined after trial.

  6.        AMENDMENTS TO PLEADINGS.

            The court has granted Time Warner Cable’s motion leave to amend its answer to

  assert the defense of collateral estoppel in light of Judge Robinson’s May 15, 2015

  summary judgment ruling in the District of Delaware that six of the Asserted Patents are

  indefinite (see ECF doc. 852 in Case No. 11-2684).

            As indicated in the footnote to paragraph 4(b)(8) above, there’s a disagreement

  between Time Warner Cable and Sprint about whether certain defenses have been

  adequately pled. Time Warner Cable intends to file a motion for leave to clarify and/or

  amend the fifth affirmative defense in its answer which currently alleges that “the relief

  sought by Sprint is barred in whole or in part by equitable doctrines, including waiver,
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  acquiescence, laches, and/or estoppel.” As part of this motion, Time Warner Cable will

  seek leave of the court to identify the equitable doctrines of unclean hands and in pari

  delicto in its fifth affirmative defense.

  7.        DISCOVERY.

            Under the scheduling order and any amendments, all discovery was to have been

  completed by June 30, 2015.

            Discovery is complete, except as specifically noted below. There is one expert

  deposition outstanding, which the parties have agreed to complete by August 31, 2015.

  In addition, on July 22, 2015, Time Warner Cable will produce one additional 30(b)(6)

  witness, Andy Block, on thirty-five 30(b)(6) topics, as well as in his personal capacity.

            Sprint reported at the pretrial conference that non-party Cisco produced a privilege

  log in response to Sprint’s document subpoena on June 30, 2015. Sprint believes it is

  entitled to (and that Cisco has promised) a Rule 30(b)(6) deposition of Cisco pursuant to

  Sprint’s deposition subpoena. Time Warner Cable disagrees.

            The parties anticipated that Sprint would submit a supplemental expert report

  regarding the court-ordered deposition concerning the ‘918 patent resulting from the

  recent motion practice (see ECF doc. 752 in Case No. 11-2684), and anticipate that Time

  Warner Cable will provide a responsive expert report, and that both sides will seek to

  depose the other side’s expert on the opinions contained in those reports. Sprint recently

  provided a supplemental report, which Time Warner Cable is evaluating.

            Additional unopposed discovery may continue after the deadline for completion of

  discovery so long as it does not delay the briefing of or ruling on dispositive motions or

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  other pretrial preparations.         Although this additional unopposed discovery may be

  conducted beyond the deadline for completion of discovery if all parties are in agreement

  to do so, under these circumstances the court will not be available to resolve any disputes

  that arise during the course of such extended discovery. Nothing in this paragraph shall

  limit the ability of the parties to seek resolution from the court of any disputes arising

  from discovery that is pursuant to rulings that necessitated discovery after the deadline.

  8.        MOTIONS.

            a.        Pending Motions.     On July 10, 2015, Time Warner Cable and the

  defendants in Case Nos. 11-2684 and 11-2685 filed a consolidated motion to stay all

  three cases until the Federal Circuit affirms or reverses the finding of invalidity of certain

  patents-in-suit in Cox Communications, Inc. v. Sprint Communications L.P., Case No. 12-

  cv-00487-SLR in the District of Delaware (ECF doc. 846 in Case No. 11-2684).

            b.        Additional Pretrial Motions.    Sprint anticipates filing a motion to

  bifurcate trial of Time Warner Cable’s equitable defenses, which are questions of law,

  from trial of the liability issues of infringement, validity, and damages. According to

  Sprint, issues of infringement, validity, and damages should be tried by jury, and if the

  jury finds Time Warner Cable infringed one or more claims of a valid patent, then a

  separate bench trial before Judge Lungstrum should be held on Time Warner Cable’s

  equitable defenses, including laches, equitable estoppel, waiver, and acquiescence.

  According to Time Warner Cable, issues of infringement, validity, damages, laches,

  equitable estoppel, waiver, and acquiescence all should be tried together because of the

  substantial overlap of the evidence, as the parties’ extensive relationship is relevant to
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  both damages and Time Warner Cable’s defenses. Moreover, were the court to sever the

  trial of equitable issues, Time Warner Cable believes it would make little sense to try

  those issues after the trial of validity, infringement, and damages issues, given the

  potentially unnecessary inconvenience to a jury and the fact that a ruling with respect to

  equitable issues could determine the relevant period for which a jury would need to

  determine damages.                   As discussed during the pretrial conference, Sprint’s anticipated

  motion for bifurcation, and likewise Time Warner Cable’s anticipated motion for an

  advisory jury on equitable defenses, must be filed within 5 business days of the date on

  which Judge Lungstrum files his summary judgment rulings in this case, or by

  November 23, 2015, whichever date is earlier. Responsive briefs with regard to these

  motions are due 5 business days after the motions are filed. Due to the related and

  overlapping nature of these motions, as discussed during the pretrial conference, no reply

  briefs shall be allowed.

            Both Sprint and Time Warner Cable anticipate filing motions for summary

  judgment motions and motions in limine.

            The dispositive-motion deadline, as established in the scheduling order and any

  amendments, is July 31, 2015. As provided by the court’s original scheduling order

  (ECF doc. 69), 30 days shall be allowed for briefs in opposition to such motions, and 21

  days for reply briefs, if any.

            The parties should follow the summary-judgment guidelines available on the

  court’s website:


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                                       http://www.ksd.uscourts.gov/summary-judgment/

            The arguments and authorities section of briefs or memoranda must not exceed 30

  pages, absent an order of the court. As discussed during the pretrial conference, Sprint

  and Time Warner Cable each shall file no more than a single motion for summary

  judgment that asserts all their respective arguments. The supporting briefs shall contain

  no more than 30 pages of argument. In addition, though, all of the defendants in Case

  Nos. 11-2684, 11-2685, and 11-2686 are granted leave to file a joint motion for summary

  judgment, focused entirely on their invalidity and collateral estoppel defenses, with a

  supporting brief containing no more than 20 pages of argument; Sprint’s responsive brief

  shall be limited to 20 pages of argument.

            c.        Motions Regarding Expert Testimony. All motions to exclude testimony

  of expert witnesses pursuant to Fed. R. Evid. 702-705, Daubert v. Merrell Dow

  Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S.

  137 (1999), or similar case law, must be filed in accordance with the dispositive-motion

  deadline stated above.

  9.        TRIAL.

            The trial docket setting for the first of the three consolidated cases, as established

  in the scheduling order and any amendments, is January 19, 2016, at 9:30 a.m., in

  Kansas City, Kansas. Currently, this case is set to be tried with a jury.

            The court will attempt to decide any timely filed dispositive motions

  approximately 60 days before trial. If no dispositive motions are timely filed, or if the


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  case remains at issue after timely dispositive motions have been decided, then the trial

  judge will convene another pretrial conference to discuss, among other things, the setting

  of deadlines for filing final witness and exhibit disclosures, exchanging and marking trial

  exhibits, designating deposition testimony for presentation at trial, motions in limine,

  proposed instructions in jury trials, and proposed findings of fact and conclusions of law

  in bench trials, if necessary.

            As provided by the court’s third amended scheduling order (ECF doc. 525 in Case

  No. 11-2684), a limine conference will be held on January 8, 2016, at 10:00 a.m.

            IT IS SO ORDERED.

            Dated July 24, 2015, at Kansas City, Kansas.



                                               s/ James P. O’Hara
                                             James P. O’Hara
                                             U. S. Magistrate Judge




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                                          CERTIFICATE OF SERVICE

            Counsel are hereby notified that, unless the undersigned Magistrate Judge receives

  objections, corrections, or revisions to the foregoing proposed pretrial order by July 23,

  2015, it will be signed and filed. If revisions are requested, counsel shall state in writing

  on a separate document in letter form the requested revision, identifying the paragraph

  number and the reason for such revision, and serve on opposing counsel and to the

  Magistrate Judge. Counsel shall confer about all such revisions before communicating

  them to the Magistrate Judge. Counsel are encouraged (but not required) to submit

  jointly any requests for revisions. At a minimum, written requests for revisions shall

  state whether opposing counsel consents or objects, and summarize the bases of all

  objections. All such requests for revisions shall be submitted via e-mail to:

                                       ksd_ohara_chambers@ksd.uscourts.gov

            This proposed pretrial order was served on July 16, 2015, on the following:

                      B. Trent Webb                  bwebb@shb.com

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                                              s/ James P. O’Hara
                                             James P. O'Hara
                                             U.S. Magistrate Judge




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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )       CONSOLIDATED CASES
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2684-JWL
                                             )
      COMCAST CABLE COMMUNICATIONS           )
      LLC, et al.,                           )
                                             )
                            Defendants.      )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2685-JWL
                                             )
      CABLE ONE, INC.,                       )
                                             )
                            Defendant.       )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2686-JWL
                                             )
      TIME WARNER CABLE, INC., et al.,       )
                                             )
                            Defendants.      )
      _______________________________________)


                                      ORDER
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             The Court conducted a telephone conference on this date in these consolidated

      cases. Based on the arguments made at the conference and in the parties’ recent

      submissions, the Court rules as follows:

             1.     All stays entered in these cases are hereby lifted.

             2.     Case No. 11-2685 (Cable One) is hereby set for trial beginning on

      January 30, 2017.

             3.     Case No. 11-2686 (Time Warner) is hereby set for trial to begin no earlier

      than February 13, 2017.

             4.     Case No. 11-2684 (Comcast) is hereby set for trial to begin no earlier than

      March 6, 2017.

             5.     On or before October 12, 2016, the Time Warner defendants shall file any

      necessary motion relating to changes in their names or ownership. The motion shall so

      indicate if it is unopposed.

             6.     Plaintiff’s response to the Time Warner defendants’ pending motion for

      a protective order (Doc. # 239) shall be due by October 12, 2016, with any reply brief

      due by October 19, 2016.

             7.     On or before October 14, 2016, plaintiff and the defendant groups

      (including in Comcast) may each file a single supplemental brief in support of their

      already-filed briefs relating to all of the presently-pending summary judgment motions

      and Daubert motions. Each brief shall address only new caselaw issued since the time

      the particular cases were stayed (August 6, 2015, for Case No. 11-2684; October 8,

                                                 2
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      2015, for Case Nos. 11-2685 and 11-2686). Each brief (only one for plaintiff and one

      for each defendant group) will be limited to ten double-spaced pages (exclusive of case

      caption, signature page, and certificate of service). With respect to such briefs, no

      introduction is needed, the parties shall not reargue material covered in their previous

      briefs, and no new arguments are permitted unless they arise from new caselaw (and

      could not reasonably have been raised previously). In Case No. 11-2684 (Comcast), the

      parties’ responses to the pending summary judgment and Daubert motions as

      supplemented are due on October 28, 2016, and reply briefs are due on November 14,

      2016. In Case Nos. 11-2685 (Cable One) and 11-2686 (Time Warner), responses to the

      supplemental briefs, also limited to ten pages, are due on October 21, 2016, with no

      reply briefs permitted.

             8.     Plaintiff shall file any motion for bifurcation and defendants shall file any

      motions for advisory juries by December 12, 2016. Response briefs are due on

      December 19, 2016, and no reply briefs will be permitted.

             9.     The parties shall meet and confer regarding any additional discovery or

      expert deadlines, and shall report to the Court and file any necessary motion by October

      14, 2016.

             10.    The limine conference and any additional pretrial deadlines shall be set by

      future order in each case.




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            IT IS SO ORDERED.


            Dated this 5th day of October, 2016, in Kansas City, Kansas.

                                                    s/ John W. Lungstrum
                                                    John W. Lungstrum
                                                    United States District Judge




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                         Exhibits 11-15

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                ENTIRETY
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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )       CONSOLIDATED CASES
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2684-JWL
                                             )
      COMCAST CABLE COMMUNICATIONS           )
      LLC, et al.,                           )
                                             )
                            Defendants.      )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2685-JWL
                                             )
      CABLE ONE, INC.,                       )
                                             )
                            Defendant.       )
      _______________________________________)
                                             )
      SPRINT COMMUNICATIONS                  )
      COMPANY L.P.,                          )
                                             )
                            Plaintiff,       )
                                             )
            v.                               )       Case No. 11-2686-JWL
                                             )
      TIME WARNER CABLE, INC., et al.,       )
                                             )
                            Defendants.      )
      _______________________________________)
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                               MEMORANDUM AND ORDER

             In these consolidated cases, plaintiff Sprint Communications Company, L.P.

      (“Sprint”) has brought patent infringement claims against various defendants. The

      parties have submitted their written arguments concerning the construction of various

      terms found in the relevant patents’ claims, and the Court construes those terms as set

      forth herein.1



             I.        Background

             Sprint, a telecommunications company, holds various patents relating to

      technology employing packet networks to carry telephone calls that initiate or terminate

      on the Public Switched Telephone Network (PSTN). Defendants provide Voice over

      Internet Protocol (VoIP) services to local cable companies.         Sprint alleges that

      defendants’ VoIP technology infringes 12 of its patents, which the parties have

      addressed as divided into four groups. Group 1 includes United States Patent Nos.

      6,452,932 (“the ’932 Patent”), 6,463,052 (“the ’052 Patent”), 6,633,561 (“the ’3,561

      Patent”), and 7,286,561 (“the ’6,561 Patent”). Group 2 includes United States Patent

      Nos. 6,473,429 (“the ’429 Patent”), 6,343,084 (“the ’084 Patent”), and 6,298,064 (“the

      ’064 Patent”). Group 3 includes United States Patent Nos. 6,330,224 (“the ’224 Patent”)


             1
             Because the Court has determined that the issues may be resolved on the basis
      of the parties’ written submissions, the Court denies defendants’ request for oral
      argument.

                                                 1
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      and 6,697,340 (“the ’340 Patent”). Group 4 includes United States Patent Nos.

      6,262,992 (“the ’992 Patent”), 6,563,918 (“the ’918 Patent”), and 6,639,912 (“the ’912

      Patent”).

             Many of these same patents were at issue in previous cases brought in this Court

      by Sprint against Vonage Holdings Corporation and Vonage America, Inc. (collectively

      “Vonage”) and against Big River Telephone Company (“Big River”). The Court

      construed various terms from the claims of the patents at issue in those cases (hereafter

      referred to as the Vonage case and the Big River case) in three written opinions. See

      Sprint Comm. Co. L.P. v. Vonage Holdings Corp., 500 F. Supp. 2d 1290 (D. Kan. 2007);

      Sprint Comm. Co. L.P. v. Vonage Holdings Corp., 518 F. Supp. 2d 1306 (D. Kan. 2007);

      Sprint Comm. Co. L.P. v. Big River Tel. Co., LLC, 2009 WL 1992537 (D. Kan. July 8,

      2009). Those opinions contain additional information concerning the patents and

      technology at issue and their history. Moreover, in the Vonage and Big River opinions,

      the Court construed many patent terms that are also in dispute in the present case.



             II.    Claim Construction Standards

             Claim construction is governed by the methodology set forth by the Federal

      Circuit Court of Appeals in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) (en

      banc). It is a bedrock principle of patent law that the claims of the patent define the

      patentee’s invention. Id. at 1312. Thus, claim construction begins with the words of the

      claim itself. Id. The words of a claim should be given their ordinary and customary

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      meaning as understood by a person of ordinary skill in the art in question at the time of

      the invention. Id. at 1312-13. “[T]he claims themselves provide substantial guidance

      as to the meaning of particular claim terms.” Id. at 1314. Both “the context in which a

      term is used in the asserted claim” and the “[o]ther claims of the patent in question” are

      useful for understanding the ordinary meaning. Id.

             The claims do not stand alone, but are part of “a fully integrated written

      instrument.” Id. at 1315. Therefore, they “must be read in view of the specification, of

      which they are a part.” Id. (quotation omitted). In fact, the specification is “the single

      best guide to the meaning of a disputed term” and is often dispositive. Id. The

      specification may reveal a special definition given to a claim term by the patentee that

      differs from the meaning it would otherwise possess, in which case the inventor’s

      lexicography governs. Id. at 1316. In other cases, it may reveal an intentional

      disclaimer, or disavowal, of claim scope by the inventor; in that case, “the inventor has

      dictated the correct claim scope, and the inventor’s invention, as expressed in the

      specification, is regarded as dispositive.” Id. The fact that the specification includes

      limited and specific embodiments is insufficient to define a term implicitly, and it is

      improper to confine the scope of the claims to the embodiments of the specification. Id.

      at 1323. “The construction that stays true to the claim language and most naturally

      aligns with the patent’s description of the invention will be, in the end, the correct

      construction.” Id. at 1316 (quotation omitted).

             Moreover, the court must be careful not to import limitations from the

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      specification into the claim. Id. at 1323. In walking the “fine line” between using the

      specification to interpret the meaning of a claim and importing limitations from the

      specification into the claim, the court must “focus . . . on understanding how a person of

      ordinary skill in the art would understand the claim terms.” Id. The purposes of the

      specification are to teach and enable those of skill in the art to make and use the

      invention and to provide a best mode for doing so. Id. Reading the specification in

      context should reveal whether the patentee is setting out specific examples of the

      invention to accomplish those goals, or whether the patentee instead intends for the

      claims and the embodiments in the specification to be strictly coextensive. Id. Thus, the

      court’s task is to determine “whether a person of skill in the art would understand the

      embodiments to define the outer limits of the claim term or merely to be exemplary in

      nature.” Id.

             The court should also consult the patent’s prosecution history, if in evidence. Id.

      at 1317. Like the specification, the prosecution history “provides evidence of how the

      PTO [Patent and Trademark Office] and the inventor understood the patent.” Id. “Yet

      because the prosecution represents an ongoing negotiation between the PTO and the

      applicant, rather than the final product of that negotiation, it often lacks the clarity of the

      specification and thus is less useful for claim construction purposes.” Id.

             Finally, the court may consult extrinsic evidence such as expert and inventor

      testimony, dictionaries, and learned treatises. Id. These have all been recognized as

      tools that can assist the court in determining the meaning of particular terminology. Id.

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      at 1318. Extrinsic evidence may be helpful to the court in understanding the technology

      or educating itself about the invention. Id. In particular, because technical dictionaries

      collect accepted meanings for terms in various scientific and technical fields, they can

      be useful in claim construction by providing the court with a better understanding of the

      underlying technology and the way in which one skilled in the art might use the claim

      terms. Id. at 1318. “However, conclusory, unsupported assertions by experts as to the

      definition of a claim term are not useful to a court.” Id. Extrinsic evidence is less

      reliable than intrinsic evidence in determining the construction of claim terms, and

      therefore the court should discount any expert evidence that is at odds with the intrinsic

      evidence. Id.

             With respect to a number of patent terms at issue here, defendants do not rely on

      any particular language from the patent claims to support their construction, but instead

      argue that the relevant specification “repeatedly and consistently” describes (and limits)

      the claimed invention in a particular way consistent with their urged construction.

      Defendants rely specifically on the Federal Circuit’s opinion in Microsoft Corp. v. Multi-

      Tech Sys., Inc., 357 F.3d 1340 (Fed. Cir. 2004), in which the court relied for its

      construction on the fact that the specification “repeatedly and consistently” described the

      overall invention—and not merely a preferred embodiment—in a particular way. See

      id. at 1347-48; see also Netcraft Corp. v. eBay, Inc., 549 F.3d 1394, 1398 (Fed. Cir.

      2008) (“repeated” use of the phrase “the present invention” described the invention as

      a whole; specification “consistently” described the invention in a particular way);

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      Praxair, Inc. v. ATMI, Inc., 543 F.3d 1306, 1324 (Fed. Cir. 2008) (reading claim in light

      of specification’s consistent emphasis on a fundamental feature of the invention);

      Honeywell Int’l v. ITT Indus., 452 F.3d 1312, 1318 (Fed. Cir. 2006) (description did not

      refer merely to a preferred embodiment, but shows that the scope of the relevant claim

      is limited); C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 864 (Fed. Cir. 2004)

      (“Statements that describe the invention as a whole, rather than statements that describe

      only preferred embodiments, are more likely to support a limiting definition of a claim

      term.”).



             III.   Construction of Disputed Terms

                    A.     “Processing System”

             The parties dispute the construction of the term “processing system,” which may

      be found in claims 1 and 24 of the ’3,561 Patent, claim 1 of the ’052 Patent, claim 1 of

      the ’932 Patent, and claim 11 of the ’6,561 Patent (Group 1); claim 1 of the ’429 Patent

      and claim 1 of the ’064 Patent (Group 2); and claim 1 of the ’224 Patent (Group 3).

      Sprint contends that this term does not require further construction. Defendants contend

      that this term as used in the Group 1 patents is impermissibly indefinite. In the

      alternative, defendants propose a construction that would limit the claimed “processing

      system” to the communication control processor (“CCP”) disclosed in the patents’

      specification. With respect to the Group 2 and Group 3 patents, defendants propose

      constructions that would limit the claimed “processing system” to the call connection

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      manager (“CCM”) disclosed in those patents’ specifications. In the Vonage and Big

      River cases, the Court rejected the defendants’ proposed limitations and declined to

      construe the term as used in the Group 1 and Group 2 patents at issue in those cases. See

      Vonage, 518 F. Supp. 2d at 1315-17; Big River, 2009 WL 1992537, at *16-17.

                           1.     APPLICATION OF SECTION 112(f)

             With respect to this term and a number of other disputed terms, defendants argue

      that the relevant patent claims should be construed to include “means-plus-function”

      limitations in accordance with 35 U.S.C. § 112(f). Section 112(f) provides as follows:

             An element in a claim for a combination may be expressed as a means or
             step for performing a specified function without the recital of structure,
             material, or acts in support thereof, and such claim shall be construed to
             cover the corresponding structure, material, or acts described in the
             specification and equivalents thereof.

      Id. Defendants concede that there is a presumption against applying Section 112(f) in

      this case because the claims do not use the phrase “means for,” but they argue that the

      presumption should be overcome here because the claims speak only in terms of function

      and do not include a definite structure. See Mas-Hamilton Group v. LaGard, Inc., 156

      F.3d 1206, 1213-14 (Fed. Cir. 1998). Defendants further argue that the corresponding

      structures from the patent specifications are the CCP and the CCM, and that those

      structures are impermissibly indefinite because they are described only as the equivalent

      of general purpose computers without disclosure of the necessary programming or

      algorithms. See Aristocrat Tech. Australia Pty Ltd. v. International Game Tech., 521

      F.3d 1328, 1337-38 (Fed. Cir. 2008). In the alternative, if the CCP and the CCM are

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      deemed to be sufficiently definite structures, defendants argue that “processing system”

      should be defined as the disclosed CCP or CCM pursuant to Section 112(f).

             The Court rejects defendants’ arguments based on Section 112(f). Sprint notes,

      and defendants do not dispute, that the relevant patent claims at issue here are method

      claims, not apparatus claims. The Federal Circuit has made clear that Section 112(f)

      may also apply to method claims; but the court has distinguished the provision’s

      application to apparatus claims (“means” without recital of “structure” or “material”)

      from its application to method claims (“step[s]” without recital of “acts”). See O.I. Corp.

      v. Tekmar Co., Inc., 115 F.3d 1576, 1582-83 (Fed. Cir. 1997) (citing 35 U.S.C. § 112,

      ¶ 6, which was later renamed as Section 112(f)). Thus, in the case of a method claim,

      Section 112(f) “is implicated only when steps plus function without acts are present.”

      See id. at 1583 (emphasis in original). Defendants have not offered any analysis under

      that standard or otherwise shown how the method claims here fail to recite any acts in

      support of the claimed steps.2 Accordingly, defendants have not shown that the

      presumption against the application of Section 112(f) in this case should be deemed

      overcome, and the Court declines to apply that provision here with respect to any of the

      claims or terms at issue.



             2
             Sprint raised this distinction is its rebuttal brief in response to the arguments
      based on Section 112(f) in defendants’ initial claim construction brief. In their
      subsequent supplemental briefs, however, defendants continued to make arguments
      under Section 112(f) without addressing this distinction between method claims and
      apparatus claims.

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                            2.     INDEFINITENESS

             Pursuant to 35 U.S.C. § 112(b), patent claims must “distinctly” claim the subject

      matter of the invention. See id. Defendants argue that the term “processing system” and

      other disputed terms are impermissibly indefinite in violation of Section 112(b). Patents

      are “presumed valid,” and “[t]he burden of establishing invalidity of a patent or any

      claim thereof shall rest on the party asserting such invalidity.” 35 U.S.C. § 282. An

      invalidity defense must be proved by clear and convincing evidence. See Mircosoft

      Corp. v. i4i Ltd. Partnership, 131 S. Ct. 2238 (2011); see also Nautilus, Inc. v. Biosig

      Instruments, Inc., 134 S. Ct. 2120, 2130 n.10 (2014) (noting presumption of validity and

      citing the Court’s clear-and-convincing standard from Microsoft in the context of

      indefiniteness). Indefiniteness is to be evaluated from the perspective of one skilled in

      the relevant art at the time the patent was filed, and claims are to be read in light of the

      patent’s specification and prosecution history. See Nautilus, 134 S. Ct. at 2128.

             In Nautilus, the Supreme Court recently rejected the Federal Circuit’s “insolubly

      ambiguous” standard for indefiniteness under Section 112(b). The Court discussed the

      competing concerns in setting the proper standard as follows:

                     Section 112, we have said, entails a delicate balance. On the one
             hand, the definiteness requirement must take into account the inherent
             limitations of language. Some modicum of uncertainty, the Court has
             recognized, is the price of ensuring the appropriate incentives for
             innovation. One must bear in mind, moreover, that patents are not
             addressed to lawyers, or even to the public generally, but rather to those
             skilled in the relevant art.

                    At the same time, a patent must be precise enough to afford clear

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             notice of what is claimed, thereby apprising the public of what is still open
             to them. Otherwise there would be a zone of uncertainty which enterprise
             and experimentation may enter only at the risk of infringement claims.
             And absent a meaningful definiteness check, we are told, patent applicants
             face powerful incentives to inject ambiguity into their claims. Eliminating
             that temptation is in order, and the patent drafter is in the best position to
             resolve the ambiguity in patent claims.

      See id. at 2128-29 (footnotes and internal citations and quotations omitted). The Court

      announced the following standard to reconcile those concerns:

             Cognizant of the competing concerns, we read [Section 112(b)] to require
             that a patent’s claims, viewed in light of the specification and prosecution
             history, inform those skilled in the art about the scope of the invention
             with reasonable certainty. The definiteness requirement, so understood,
             mandates clarity, while recognizing that absolute precision is unattainable.

      See id. at 2129.

             Defendants argue that the term “processing system” is indefinite under the

      Nautilus standard of reasonable certainty. The parties agree that claim 1 from the ’3,561

      Patent is representative of the use of this term in the patents; that claim reads as follows:

                  1. A method of operating a processing system to control a packet
             communication system for a user communication, the method comprising:
                  receiving a signaling message for the user communication from a
                         narrowband communication system into the processing
                         system;
                  processing the signaling message to select a network code that
                         identifies a network element to provide egress from the
                         packet communication system for the user communication;
                  generating a control message indicating the network code;
                  transferring the control message from the processing system to the
                         packet communication system;
                  receiving the user communication in the packet communication
                         system and using the network code to route the user
                         communication through the packet communication system
                         to the network element; and

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                     transferring the user communication from the network element to
                            provide egress from the packet communication system.

      Essentially, defendants argue that “processing system” is indefinite because it merely

      defines that structure by reference to its functions—that is, by reference to what it does

      and not to what it is. Defendants note that the patent does not disclose the programming

      or algorithm for the processing system. Defendants have not cited to any authority (other

      than cases involving Section 112(f), which does not apply here), however, that would

      support the argument that such definition by functional limitation renders a claim

      indefinite.3

             Defendants have also failed to show that any particular patent claim (as opposed

      to a term) is invalid as indefinite. In construing this same term in Big River, this Court

      concluded that “the context of the claims makes clear the different features and functions

      of the processing system that are actually claimed in the patents.” See Big River, 2009

      WL 1992537, at *17. Similarly here, the claim is limited by the functions that must be

      performed by the processing system, and, again, defendants have not cited any authority

      to suggest that such a claim is inherently indefinite. Indeed, method claims are clearly

      permissible.


             3
             Defendants cite the case of Microprocessor Enhancement Corp. v. Texas
      Instruments Inc., 520 F.3d 1367 (Fed. Cir. 2008), but that case does not support
      defendants’ argument. In Microprocessor, the court distinguished a case involving an
      ambiguity about whether an apparatus or a method was claimed in the patent, and it
      found that a claim that was clearly a method claim was not indefinite. See id. at 1374-
      75. Similarly, in the present case defendants do not dispute that the claims at issue are
      method claims.

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             Nor have defendants shown that the term “processing system” would not have

      been understood by one skilled in the relevant art. Sprint’s expert has opined that the

      term would have been understood in the telecommunications context to mean a system

      that processes signaling to assist in call control, and he has cited various other patents

      that have used the term in this field. Defendants’ expert complains that he has not been

      told how to program the processing system, but he concedes that the phrase must refer

      to some kind of computer to perform the tasks described in the patent. He also notes that

      the system in the patents cited by Sprint’s expert had different limitations, but those

      differences do not undermine the basic idea that the term “processing system,” by itself,

      would refer to a system of processing signals in specified ways. Moreover, defendants’

      expert has not explained how the particular patent claims containing this term are

      indefinite such that the scope of the claim could not be reasonably determined.

             Finally, defendants also complain that the patents do not explain how one could

      have a device that performs all of the functions listed in the claims but that is not a

      processing system and thus does not infringe. Defendants have not cited any authority,

      however, requiring that the patent teach the public how not to infringe.4 Nautilus only

      requires that “a patent be precise enough to afford clear notice of what is claimed,

      thereby apprising the public of what is still open to them.” See Nautilus, 134 S. Ct. at

      2129 (citation and internal quotation omitted). “Processing system” has an ordinary


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             Defendants have not raised an enablement objection in this context of claim
      construction.

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      meaning that may easily be understood, and the claims provide notice that such a system

      may infringe if it performs certain functions as set forth in those claims. Thus, the public

      has been given reasonable notice of what has been claimed—and therefore, of what has

      not been claimed.

             For these reasons, the Court concludes that defendants have not met their burden

      to show, by clear and convincing evidence, that claims containing the term “processing

      system” are invalid as indefinite.

                            3.     CONSTRUCTION UNDER Microsoft

             With respect to the Group 1 patents, defendants propose construing “processing

      system” to mean a CCP, with an additional limiting definition of a CCP. Defendants do

      not contend that “processing system” is defined in the specification or elsewhere as a

      CCP; rather, defendants argue, pursuant to Microsoft Corp. v. Multi-Tech Sys., Inc., that

      the specification repeatedly and consistently describes the invention as including a CCP.

             The Court rejects this attempt by defendants to import such a limitation into the

      patent claims. In support of this argument, defendants cite a number of large excerpts

      from the specification that refer to and discuss the operation of a CCP. The specification

      is consistent, however, in discussing the CCP as an element of particular embodiments

      of the invention.     Defendants have not pointed to any specific language in the

      specification indicating that the overall invention (and not merely an embodiment)

      involves the use of a CCP. Moreover, as Sprint notes, the specification does contain the

      following language:

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                    The CCP is a processing system, and as such, those skilled in the
             art are aware that such systems can be housed in a single device or
             distributed among several devices. Additionally, multiple devices with
             overlapping capabilities might be desired for purposes of redundancy. The
             present invention encompasses these variations.

      (’3,561 Patent, at 13:40-45 (emphasis added).) This language undermines any argument

      that the specification consistently refers to the entire invention as including a CCP and

      not other types of processing systems. Finally, neither the claims nor the specification

      defines “processing system” to be a CCP or contains similarly limiting language, and

      there is no express disavowal of claim scope. Accordingly, the Court rejects defendants’

      proposed construction under Microsoft.5

             Similarly, with respect to the Group 2 and Group 3 patents, defendants propose

      construing “processing system” pursuant to Microsoft to mean a CCM, with additional

      limiting definitions or descriptions of a CCM. For the same reasons, the Court rejects

      such a construction. The specifications for those patents consistently refer to the CCM

      in discussing particular embodiments. Defendants cite only a few excerpts from the

      specifications in support of their argument, and none of those excerpts contains language

      suggesting that the entire invention involves a CCM. Accordingly, the Court concludes

      that the specifications do not repeatedly and consistently refer to the inventions as



             5
              Defendants also take issue with some of the reasoning by the Court in construing
      this term and addressing other proposed limitations in Big River. Defendants have not
      explained, however, how those particular objections support their position under
      Microsoft that the specification repeatedly and consistently describes the invention as
      including a CCP, and the Court therefore sees no need to defend its prior reasoning.

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      involving a CCM.

                            4.     CONCLUSION

             With respect to the term “processing system,” defendants have not shown that

      Section 112(f) applies or that the claims containing that term are impermissibly

      indefinite. Nor does the Court agree that limitations of that term are warranted under

      Microsoft. Defendants have not otherwise explained why the term “processing system”

      cannot be understood by jurors in accordance with its plain meaning. Therefore, as it did

      in Vonage and Big River, the Court declines to construe the term “processing system”

      as used in these patents.



                      B.    “Communication Path”

             The parties dispute the construction of the term “communication path” found in

      claim 4 of the ’052 Patent (Group 1). Sprint argues that no construction is necessary.

      Defendants argue that the term should be defined to mean the combination of

      connections and network elements over which all user communication for a call is

      transferred.

             In support of their construction, defendants first quote the Group 1 specification’s

      statement that “[a] communications path is the combination of connections and network

      elements that physically transfers the information between points.” (’3,561 Patent at

      5:16-18.)      Defendants would then alter that statement essentially by changing

      “information” to “user communication” and by requiring all communications for a call

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      to be transferred along the particular path. The Court rejects both of those proposed

      limitations.

             In support of the first change, defendants point to language in the specification

      indicating that user information travels over connections while signaling (another type

      of information) travels over links. Defendants have not cited any language, however,

      limiting the information that travels over a communications path to user

      communications. Nor have they demonstrated that the specification repeatedly and

      consistently describes the invention or “communication paths” in that manner. The

      Court concludes that there is no basis to impose this proposed limitation.

             In support of the second change, defendants point to their general argument that,

      in these patents, communication paths are pre-established (prior to the transmission of

      data) on a call-by-call basis (such that a single path is used for any call). In Big River,

      the Court rejected this same argument and proposed limitation in construing a number

      of different terms. See Big River, 2009 WL 1992537, at *4-5, 8, 9, 16, 19. In arguing

      for this construction of “communication path,” defendants have not addressed that

      holding and rationale from Big River. Accordingly, the Court rejects this argument again

      for the same reasons expressed in Big River.

             Finally, defendants have not explained why this term may not stand on its plain

      meaning. Both “communication” and “path” are readily understood by their plain

      meaning, and defendants have not shown that this term should have a different meaning

      when used in this patent claim. Accordingly, the Court declines to construe the term

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      “communication path.”



                    C.     “Route” and “Routing”

             The parties dispute the construction of the terms “route” and “routing”, which

      may be found in claims 1 and 24 of the ’3,561 Patent and claim 11 of the ’6,561 Patent

      (Group 1); claim 1 of the ’084 Patent and claim 2 of the ’429 Patent (Group 2); claim 11

      of the ’340 Patent (Group 3); and claim 1 of the ’992 Patent and claim 1 of the ’912

      Patent (Group 4). In both Vonage and Big River, the Court construed these terms to

      mean direct/directing through a communication system by a selected route or in a

      specified direction. See Vonage, 518 F. Supp. 2d at 1312; Big River, 2009 WL 1992537,

      at *19. Sprint would construe these terms in the same way in this case. Defendants

      would construe these terms to mean direct/directing through a communication system

      along a communications path pre-selected on a call-by-call basis.

             Defendants again rely on their general argument that the inventions here require

      a pre-selected path on a call-by-call basis. That argument is based on their expert’s

      opinion that the inventions require the use of a CCP, CCM, or ATM system. The Court

      has rejected defendants’ attempt, however, to limit the inventions to the use of a CCP or

      a CCM. See supra Part III.A. Moreover, as noted above, see supra Part III.B, the Court

      has previously rejected this argument in construing various terms in Big River, and

      defendants have not attempted to show how the Court erred in its reasoning in that case.

      Accordingly, the Court again rejects defendants’ proposed limitation.

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             With respect to these specific terms, defendants argue that in Vonage and Big

      River, the Court relied solely on dictionary definitions, while its own proposed

      construction is rooted in the specification. The Court’s rejection of this general

      argument in Big River concerning pre-selection and a call-by-call basis, however, was

      rooted in an analysis of the intrinsic evidence. See Big River, 2009 WL 1992537, at *4-

      5. Moreover, in construing these terms specifically in Vonage, the Court noted that the

      specification did not support a similar argument by Vonage that the term required actual

      delivery to the final destination. See Vonage, 518 F. Supp. 2d at 1312. The Court also

      noted in Big River that its construction was consistent with the intrinsic record. See Big

      River, 2009 WL 1992537, at *19. Finally, the Court rejects defendants’ argument that

      the concept of “direction” is inapt in this context. The Court’s construction includes the

      alternatives of a selected route or a specified direction, and such alternatives adequately

      convey that the “routing” must be directed and not done aimlessly. See id. at *18.

             Accordingly, as it did in Vonage and Big River, the Court construes “route” and

      “routing” to mean direct/directing through a communication system by a selected route

      or in a specified direction.



                    D.      “Network Element”

             The parties dispute the construction of the term “network element,” found in

      claims 1 and 24 of the ’3,561 Patent, claim 1 of the ’052 Patent, and claim 14 of the

      ’6,561 Patent (Group 1). Sprint contends that no further construction is necessary.

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      Defendants propose to construe the term to mean a telecommunications device which,

      in operation, forms a part of a communications path.

             In support of their construction, defendants point to the specification’s statement

      that a communications path is typically comprised of a series of connections between

      network elements. (’3,561 Patent, at 1:32-34.) As defendants concede, however, there

      may be network elements that are not part of a communications path. Thus, defining

      “network element” as something found in a communications path would not be accurate

      in the context of this specification. Defendants nonetheless argue for such a definition

      because, in the context of these particular patent claims, the “network element”

      referenced in the claims provides egress for the communication from the system. As

      Sprint, points out, however, the claims themselves provide that limitation. Thus, there

      is no need to construe this term to include such a limitation, especially at the cost of a

      technically-inaccurate definition.

             Defendants have not provided an alternative construction, and the Court agrees

      with Sprint that this term is easily understood by its plain meaning of an element within

      a network. Accordingly, the Court declines to construe the term “network element.”



                    E.     “[Telecommunication] Signaling Message”

             The parties dispute the construction of the terms “signaling message,” found in

      claims 1 and 24 of the ’3,561 Patent and claim 11 of the ’6,561 Patent (Group 1); and

      “telecommunication signaling message,” found in claim 2 of the ’224 Patent (Group 3).

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      In Vonage and Big River, the Court construed “signaling message” in various patent

      claims to mean a message used to set up or tear down a call. See Vonage, 518 F. Supp.

      2d at 1318; Big River, 2009 WL 1992537, at *8 (construing term as used in the ’3,561

      Patent). Sprint proposes that the Court adopt the same construction for these terms in

      this case. Defendants propose to construe the terms to mean a message that is used to

      establish a communications path on a call by call basis.

             For the same reasons set forth above, the Court again rejects defendants’ attempt

      to limit the invention and the claims to a single path set up on a call-by-call basis. See

      supra Part III.B. Defendants point to the specification’s statement that “[s]ignaling is

      the transfer of information among points and network elements and is used to establish

      communication paths.” (’3,561 Patent, at 5:23-25.) As noted in Big River, however, that

      definition does not limit signaling to a single path for each call. See Big River, 2009 WL

      1992537, at *4-5. As noted in the Court’s previous opinions, its prior construction is

      supported by the patents’ specifications, and defendants have not explained why that

      definition is inaccurate for purposes of these claims. The Court also rejects defendants’

      suggestion that “signaling message” is indefinite under the Court’s prior construction,

      as that construction adequately allows for the scope of the claims to be determined.6

             Defendants     have    submitted    the   same     proposed    construction    for

      “telecommunication signaling message” as used in the ’224 Patent, and for the same


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             In their supplemental briefs addressed specifically to the issue of indefiniteness,
      defendants did not discuss the term “signaling message” as used in the Group 1 patents.

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      reasons, the Court rejects that construction and instead adopts the same construction as

      for “signaling message” in the Group 1 patents. In the alternative, defendants argue that

      this term is indefinite, based primarily on the fact that this term is not used in the ’224

      Patent’s specification. Again, however, defendants have failed to explain how the

      Court’s prior definition of “signaling message” is deficient or how the addition of the

      word “telecommunication” (the field at issue) alters the meaning of the term. The

      Court’s construction gives sufficient definition to the term to allow the claim’s scope to

      be determined. This patent’s specification is consistent with the idea that signaling

      messages would be those messages used in setting up or tearing down calls, and

      defendants have not proffered any other construction supported by the intrinsic evidence.

      Finally, for the reasons set forth in the next section, see infra Part III.F, the Court rejects

      defendants’ argument that “telecommunication signaling message” is indefinite because

      it cannot be distinguished from “control message” in this patent.

             Accordingly, the Court construes these terms to mean a message used to set up

      or tear down a call.



                     F.      “Control Message / Messaging”

             The parties dispute the construction of the terms “control message” and “control

      messaging” found in claims 1 and 24 of the ’3,561 Patent and claim 11 of the ’6,561

      Patent (Group 1); claim 11 of the ’340 Patent (Group 3); and claim 11 of the ’918 Patent,

      claim 1 of the ’992 Patent, and claim 1 of the ’912 Patent (Group 4). Sprint contends

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      that no further construction is necessary, while defendants argue that the term is

      indefinite or propose various constructions, depending on the patents.

                            1.     GROUP 1 PATENTS

             Defendants argue that the term “control message” as used in the Group 1 patents

      is impermissibly indefinite. In the alternative, defendants propose to construe the term

      to mean a message that is used to establish a communications path on a call-by-call

      basis. As a preliminary matter, the Court rejects the alternative construction for the same

      reasons stated above for the rejection of such a limitation. See supra Part III.B.

             In arguing that this term is indefinite, defendants note that the term “control

      message” is not used in the specification for these patents, and they argue, based on their

      expert’s declaration, that the term has no standard meaning in this field. The term

      certainly has an easily understood plain meaning, however—a message involved in the

      control of a call. Moreover, defendants’ expert stated that the term’s meaning depends

      on its context, and the Court agrees with Sprint that the requirements of the claims

      themselves provide sufficient context to inform those skilled in the art about the scope

      of the claims with reasonable certainty. For instance, the method in claim 1 of the ’3,561

      Patent includes the steps of generating a control message that indicates a selected

      network code that identifies a network element to provide egress from the packet

      communications system; and transferring the control message from one particular system

      to another. Claim 24 of that patent includes similar steps of generating and transferring

      a control message. Claim 11 of the ’6,561 Patent refers to the transfer and receipt of a

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      control message. The Court concludes that these claims are not indefinite, and that the

      term “control message” as used in the Group 1 patents need not be construed further.

                           2.      ’918 AND ‘340 PATENTS

             Defendants argue that the term “control message” in claim 11 of the ’918 Patent

      and the term “control messaging” in claim 11 of the ’340 Patent are indefinite.

      Defendants rely on the following statement contained in these patents’ specifications:

      “The term ‘control message’ as used herein means a control or signaling message, a

      control or signaling instruction, or a control or signaling signal, whether proprietary or

      standardized, that conveys information from one point to another.” (’340 Patent, at 6:63-

      67; ’918 Patent, at 3:67-4:5.) Defendants argue that, based on that apparent definition,

      “control message” and “signaling message” appear to be synonymous, but that because

      both “control” messaging and the concept of signaling are found in the patent claims,

      they must mean different things—which different meanings are unclear. See, e.g., CAE

      Screenplates Inc. v. Heinrich Fiedler GmbH & Co. KG, 224 F.3d 1308, 1317 (Fed. Cir.

      2000) (“In the absence of any evidence to the contrary, we must presume that the use of

      . . . different terms in the claims connotes different meanings.”).

             The Court rejects this argument by defendants. The claims may refer to particular

      types of “signaling” or “signaling information,” but they do not use the term “signaling

      message,” and thus the Court’s construction of that term is not applicable to these patent

      claims. Moreover, the most reasonable reading of the statement in the specifications is

      that “control message” is a broader term than signaling message. Defendants have not

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      explained why the plain meaning of “control message” and “control messaging”—a

      message involved in control of the call—is not sufficiently definite to make the scope

      of the claims reasonably certain.       Nor have defendants provided an alternative

      construction. As in the case of the Group 1 patents, the language of the particular

      claims, with their explicit limitations, provides the necessary context.

             Accordingly, the Court declines to construe these terms as used in these two

      patents.

                            3.     ’992 PATENT

             With respect to claim 1 of the ’992 Patent, defendants propose to construe the

      term “control message” to mean the following: A message sent by the signaling

      processor which includes an identifier of a connection to be used for the call. A

      “connection” is the “transmission media to be used for the call.” Defendants argue that,

      in order to avoid indefiniteness, the term as used in this patent must be construed to mean

      the “processor control message” disclosed in the specification, and they purport to

      provide limitations based on language in the specification.

             For the reasons already stated, the Court does not agree that this claim is

      indefinite if the term “control message” is given its ordinary meaning, as elucidated by

      the particular requirements of the claim. Defendants cite to language in the specification

      referring to control messages that designate connections. As Sprint points out, however,

      the specification also contains language indicating that the signaling processor may

      receive a control message (’992 Patent, at 2:17-20), which undermines defendants’

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      definition requiring that the control message be sent by the processor. Defendants’

      citations generally refer to particular embodiments of the invention, and the Court cannot

      conclude that the specification repeatedly and consistently defines “control message” or

      the invention generally in a manner consistent with defendants’ proposed construction.

      Finally, the language of the claim indicates that the control message must indicate the

      selected identifier for routing the call; thus, defining “control message” to require an

      identifier is unnecessary.

             Accordingly, the Court declines to construe this term as used in this patent.

                            4.     ’912 PATENT

             Defendants propose to construe “control message” in claim 1 of the ’912 Patent

      to mean a message which identifies an assignment between a DS0 and an ATM VPI/VCI.

      Defendants cite to two places in the specification to support their proposed limitation,

      but those descriptions are clearly referring to particular embodiments of the invention.

      See, e.g., ’912 Patent, at 5:22-25 (“These control messages are typically provided . . . .)

      (emphasis added). Defendants have not explained why this term as used in this patent

      claim should be limited to an application using ATM technology, and the Court cannot

      conclude that the specification repeatedly and consistently defines “control message” in

      this way. Again, the Court concludes that this term may be understood by its ordinary

      meaning within the context and requirements of the particular patent claim, and it

      therefore declines to construe the term.



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                    G.     “Signaling Formatted for a Narrowband System”

             The parties dispute the construction of the term “signaling formatted for a

      narrowband system,” which is found in claim 1 of the ’052 Patent (Group 1). Sprint

      argues that the term should not be construed further. Defendants propose that the term

      be construed to mean signaling message in a format that can be processed by a

      narrowband system.

             Defendants essentially seek to make two changes to this phrase. First, defendants

      would change “signaling” to “signaling message.” Defendants argue that this change is

      intended to avoid jury confusion because “signaling message” appears in other claims.

      Defendants have not provided any support for equating “signaling” with “signaling

      message” in this context, however. Therefore, the Court rejects this proposed addition.

             Second, defendants would define “formatted for a narrowband system” to mean

      “in a format that can be processed by a narrowband system.” As Sprint points out,

      however, the claim makes clear that the signaling is processed by a processing system,

      not by a narrowband system.        Therefore, the Court rejects this construction by

      defendants as inconsistent with the language of the claim. Defendants have not cited any

      intrinsic or other evidence in support of their construction.

             Defendants suggest that this phrase would be indefinite if their construction is not

      used, but they have not explained how the claim scope would not be understood. Neither

      side has addressed what it means for something to be “formatted for” a narrowband

      system. Indeed, defendants’ own construction uses the term “format”. In the absence

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      of any argument addressing that question, the Court declines to construe this phrase at

      this time.



                      H.   “User Communication”

             The parties dispute the construction of the term “user communication,” which

      may be found in almost all of the patents at issue in this suit. Sprint contends that no

      further construction is necessary. Defendants would construe the term to mean the

      following: The voice or data information sent between the caller and the person that

      was called. “User communication” does not include signaling or control information.

             First, the Court agrees with Sprint that the reference to a “caller” and a “person

      . . . called” in defendants’ construction is unnecessarily confusing, as such terms might

      suggest to a jury that user communications include only voice calls and not data

      transmissions. Defendants have not explained why the term “user” is unclear or in need

      of further construction. Therefore, the Court rejects that part of defendants’ proposed

      construction.

             Second, the Court rejects defendants’ proposed limitation that “user

      communication” cannot include signaling or control information. Although defendants

      cite various statements in the patents’ specifications in which signaling or control

      information is distinguished from user communications or information, defendants have

      not cited any support for the argument that those concepts are mutually exclusive, that

      is, that user communications can never include signaling information. In fact, as Sprint

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      points out and as defendants do not dispute, user communications may include, for

      example, trigger messages that involve signaling and control. Defendants argue that

      although such messages may be “embedded” in user communications, they are still

      separate from the communications themselves. Such a distinction would only add

      confusion for the jury, however. Defendants also argue that most claims in these patents

      refer both to user communications and to signaling, which must therefore have different

      meanings. The fact that their meanings differ, however, does not necessarily mean that

      the scope of the terms cannot intersect. Accordingly, the Court rejects this limitation

      proposed by defendants.

             Sprint does not appear to take issue specifically with defendants’ reference to

      “voice or data information.”        Defendants have not explained, however, why

      “communication” in this context requires further construction. The Court concludes that

      “user communication” is easily understood by its plain and ordinary meaning, in the

      context of the language and limitations of the particular patent claims. Accordingly, the

      Court declines to construe this term.



                    I.      “Processing . . . to Select”

             The parties dispute the construction of the term “processing . . . to select,” found

      in claim 1 of the ’3,561 Patent, claim 1 of the ’052 Patent, claim 1 of the ’932 Patent, and

      claim 11 of the ’6,561 Patent (Group 1); claim 1 of the ’429 Patent and claim 1 of the

      ’064 Patent (Group 2); and claim 1 of the ’992 Patent and claim 1 of the ’912 Patent

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      (Group 4). Sprint proposes construing this term to mean processing to participate in the

      selecting. Defendants propose the following construction for the term: Processing . .

      . and making the selection. The selection can be made using information from other

      sources.

             The Court first considered this term in Vonage. At the summary judgment stage,

      the Court rejected Vonage’s argument that the processing system must not only process

      but must also select a network code; the Court held that the claim did not require that the

      system actually select the code, and it further held that a question of fact remained

      because a jury could conclude that the system processed signaling to select the code if

      it was involved in the selection. See Vonage, 500 F. Supp. 2d at 1322-23. Then, at the

      claim construction stage, Vonage proposed a construction requiring the processing

      element also to make the selection, while Sprint proposed construing the term to mean

      “processing to participate in the selection.” See Vonage, 518 F. Supp. 2d at 1320.

      Because neither party supported its argument with citation to intrinsic evidence, the

      Court rejected both parties’ arguments and declined to construe the term. See id. at

      1321. The Court addressed this term again in Big River, in which the parties proposed

      the same constructions rejected in Vonage. See Big River, 2009 WL 1992537, at *17-18.

      The Court rejected the construction offered by Big River, as that party had again failed

      to support its construction sufficiently. See id. at *18. The Court then noted that the

      particular specification at issue did make clear that information from other elements may

      be used in selection, and it reaffirmed its conclusion from Vonage that the claim

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      language did not require that the processing system actually select the element. See id.

      The Court further concluded that “the scope of the claims might be ambiguous on this

      issue, to the extent that someone might believe that the selection must be made without

      help from any other network element.” See id. For that reason, the Court adopted

      Sprint’s construction and construed the term “process[ing] . . . to select” to mean

      process[ing] . . . to participate in the selecting. See id.

             Like Vonage and Big River before them, defendants argue that the element that

      does the processing (such as the processing system) must also do the selecting.

      Defendants argue that, although information from other sources may be considered, the

      processing element actually makes the decision about the selection. Defendants cite to

      a couple of examples from one specification in support of their argument, but those

      examples relate to particular embodiments, and defendants have not shown that the

      inventions are repeatedly and consistently described as having the processing element

      actually make the selection. Defendants also analogize the situation to one in which the

      President makes decisions with input from advisors, but that analogy is not necessarily

      apt—these inventions might act more like a committee than a President with advisors,

      and the specifications do definitively choose one model over the other. Moreover, a

      human scenario seems to be a questionable model for understanding how decisions are

      made mechanically or electronically, and neither party has pointed to evidence

      concerning how decisions are physically made within this technology. At any rate, the

      claims themselves do not require that the processing element also make the selection, but

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      instead require only “processing . . . to select,” and in the absence of sufficient evidence

      from the specifications, the Court will honor that distinction.

             Accordingly, the Court will follow its construction from Vonage and Big River,

      and it construes “processing . . . to select” in these patents to mean processing . . . to

      participate in the selecting.



                    J.      “Interworking Unit”

             The parties dispute the construction of the term “interworking unit,” which is

      found in claim 1 of the ’084 Patent, claim 1 of the ’429 Patent, and claim 1 of the ’064

      Patent (Group 2); claim 1 of the ’224 Patent (Group 3); and claim 1 of the ’992 Patent

      and claim 11 of the ’918 Patent (Group 4). Defendants argue that the Court should

      reaffirm its construction from Vonage and Big River, in which the Court interpreted this

      term as used in the family of Group 2 patents to mean ATM interworking multiplexer.

      See Vonage, 500 F. Supp. 2d at 1314-18; Big River, 2009 WL 1992537, at *11-13.

      Sprint proposes to construe the term to mean a device that translates between

      narrowband and packet formats.

             This dispute boils down to whether the claimed interworking unit should be

      limited to ATM (Asynchronous Transfer Mode) technology. In Vonage and Big River,

      the Court agreed with those defendants that “interworking device” and “interworking

      unit” should be so limited because the Group 2 specification repeatedly and consistently

      describes the invention (and not merely particular embodiments) as involving an ATM

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      interworking multiplexer. See Vonage, 500 F. Supp. 2d at 1314-18; Big River, 2009 WL

      1992537, at *11-13. Sprint argues that the Court should reconsider that decision.

             First, Sprint argues that a different result is warranted by consideration of the

      Federal Circuit’s opinion in Thorner v. Sony Computer Entertainment America LLC, 669

      F.3d 1362 (Fed. Cir. 2012). In particular, Sprint relies on the following standard set

      forth by the court in Thorner:

             The words of a claim are generally given their ordinary and customary
             meaning as understood by a person of ordinary skill in the art when read
             in the context of the specification and prosecution history. See Phillips v.
             AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). There are
             only two exceptions to this general rule: 1) when a patentee sets out a
             definition and acts as his own lexicographer, or 2) when the patentee
             disavows the full scope of a claim term either in the specification or during
             prosecution. Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1580
             (Fed. Cir. 1996).

      Thorner, 669 F.3d at 1365. Sprint argues that in the Group 2 specification the patentee

      neither defined this term as limited to an ATM multiplexer nor disavowed a broader

      claim scope.    In essence, Sprint argues that application of the “repeatedly and

      consistently” standard from Microsoft is no longer proper after Thorner.

             The Court does not agree that Thorner impliedly abrogated or otherwise cast

      doubt upon the Microsoft standard. The case on which Thorner relied in setting forth its

      two exceptions, Vitronics, preceded Microsoft. Moreover, in Thorner, the Federal

      Circuit did not state or suggest that it was altering or abandoning any of its previously-

      stated claim construction principles or standards; nor has Sprint pointed to any case after

      Microsoft casting doubt on the validity of the standard applied therein. In fact, in

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      discussing the first exception, the court in Thorner cited its opinion in C.R. Bard, which

      this Court cited in Big River as supporting the Microsoft standard. See Thorner, 669

      F.3d at 1365-66 (quoting C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed.

      Cir. 2004)); see also C.R. Bard, 388 F.3d at 864 (“Statements that describe the invention

      as a whole, rather than statements that describe only preferred embodiments, are more

      likely to support a limiting definition of a claim term.”); Big River, 2009 WL 1992537,

      at *3 (citing C.R. Bard). In discussing the second exception, the Thorner court cited as

      an example of a disavowal of claim scope a case in which the specification “repeatedly

      described” the invention in a certain way. See Thorner, 669 F.3d at 1366 (citing SciMed

      Life Sys., Inc. v. Advanced Cardiovascular Sys., Inc., 242 F.3d 1337, 1342 (Fed. Cir.

      2001)). Finally, only last year, the Federal Circuit, while applying standards from

      Thorner, concluded that a patentee had, “without express redefinition, disclaimed a

      potential embodiment from the ordinary scope of a claim term through clear, repeated,

      and consistent statements in the specification.” See SkinMedica, Inc. v. Histogen Inc.,

      727 F.3d 1187, 1203 (Fed. Cir. 2013). There is little doubt, then, that Federal Circuit

      law still allows for the scope of a claim to be limited by the specification’s clear,

      repeated, and consistent description of the invention in a certain way.

             As set forth in Vonage and as reaffirmed in Big River after another review, the

      Group 2 specification, and in particular its summary of the invention, describes the

      invention as limited to the use of an ATM interworking multiplexer. Sprint repeats its

      prior arguments based on claim differentiation and the use of the term “mux” in the

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      specification, but the Court rejects those argument for the same reasons set forth in Big

      River. See Big River, 2009 WL 1992537, at *12-13. Sprint also argues that the Group

      2 specification incorporates the Group 1 patent specification, in which the interworking

      unit is described more broadly. The Group 2 patents involve a different invention than

      that described in the Group 1 patents, however, and that incorporation by reference does

      not alter the fact that the Group 2 specification makes clear that the invention includes

      the use of an ATM multiplexer. Finally, Sprint argues that words from the specification

      such as “includes” and “comprises”, which the Court cited in its previous opinions, are

      permissive and thus do not connote that the interworking unit can only be an ATM

      multiplexer. As defendants point out, however, those words do indicate that an ATM

      multiplexer must be involved, whatever other elements are also used. The specification

      did not state that the invention could or may include an ATM interplexer. Thus, the

      Court is not persuaded that its prior analysis was faulty. For these reasons, the Court

      again construes this term in the Group 2 patents to mean ATM interworking multiplexer.

             The Court then turns to the Group 3 and Group 4 patents in which this term is

      found. The Court concludes that the specifications for the ’224 Patent, the ’992 Patent,

      and the ’918 Patent do clearly, repeatedly, and consistently describe their inventions as

      involving the use of the ATM format, particularly in the specifications’ abstracts and

      summaries. For instance, in the ’224 Patent specification, the abstract begins as follows:

      “A system and method provide enhanced services for a call that is transported from a

      communication device through an asynchronous transfer mode system.” (’224 Patent,

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      at Abstract.) The same specification’s summary describes the invention as involving

      ATM technology in multiple places, and begins as follows: “The present invention

      comprises a system for providing services for a call from a first communication device

      in an asynchronous transfer mode format.” (’224 Patent, at 1:26-28.) The summary in

      the ’992 Patent’s specification begins as follows: “The present invention is directed to

      a telecommunication system for transporting a call through an asynchronous transfer

      mode system.” (’992 Patent, at 1:58-60.) In the specification for the ’918 Patent, the

      statement of the Field of Invention refers to the field of “telecommunications call

      switching and transport in a system that provides asynchronous transfer mode

      connections.” (’918 Patent, at 1:18-21.) Sprint cites to a couple of instances in the

      descriptions of embodiments in the ’224 Patent and the ’992 Patent that contain

      references to other types of formats; the Court agrees with defendants, however, that it

      is not clear in those references whether the patentee intended that the invention could

      include entirely non-ATM elements.         Those references do not alter the Court’s

      conclusion that one skilled in the relevant art would read these patents’ specifications to

      mean that the inventions themselves (and not merely embodiments thereof) include the

      use of ATM technology.         Accordingly, the Court also the construes the term

      “interworking unit” as used in these three patents to mean ATM interworking

      multiplexer.



                     K.     “Identifier”

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             The parties dispute the construction of the term “identifier” in claim 1 of the ’084

      Patent and claim 1 of the ’429 Patent (Group 2). In Vonage and Big River, the Court

      construed this term in a Group 2 patent to mean data for routing information in a packet

      network. See Vonage, 500 F. Supp. 2d at 1312-14; Big River, 2009 WL 1992537, at *13-

      14. Sprint proposes the same construction here, with the addition of the word “user”

      before “information”. Defendants propose to construe the term to mean identifier of an

      ATM virtual connection.

             In Vonage, the Court rejected the defendant’s proposed limitation of this term to

      a VPI/VCI combination on the basis that the specification’s references to such

      combinations were exemplary only. See Vonage, 500 F. Supp. 2d at 1312-14. In Big

      River, the Court rejected the defendant’s attempt to limit this term to pre-provisioned

      virtual connections. See Big River, 2009 WL 1992537, at *13-14. The Court also

      rejected the defendant’s attempt to limit the term to the use of virtual connections

      generally, reasoning as follows:

             With respect to [this] concept, Sprint does not dispute that virtual
             connections are used, a point confirmed by the summary of the
             specification. Big River has not explained, however, why the use of
             virtual connections in general should be included in this construction of
             “identifier”. The use of virtual connections as a feature of ATM
             technology can be easily explained to the jury at trial. Therefore, the
             Court declines to incorporate that feature into the construction of this term.

      See id. at *14.

             The Court does not see a reason to alter its conclusion in Big River concerning the

      need for the construction of “identifier” to include a reference to virtual connections.

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      Based on the Court’s construction of “interworking unit,” these claims are limited to the

      use of ATM technology, and there is no basis to repeat that limitation by grafting it onto

      this particular term—as defendants point out, the term “identifier” is generally absent

      from the specification.      Accordingly, the Court rejects defendants’ proposed

      construction.

             Defendants argue that the Court’s prior construction is without basis, but as the

      Court explained in Vonage, its construction was based on the claim language itself and

      represents a fair and accurate construction. See Vonage, 500 F. Supp. 2d at 1314.

      Defendants have not explained why that construction is inaccurate. Moreover, Sprint has

      not explained why its proposed addition to the Court’s prior construction is appropriate

      or necessary. Accordingly, the Court again construes this term to mean data for routing

      information in a packet network.



                      L.    “Communication System”

             The parties dispute the construction of the term “communication system,” which

      is found in claim 11 of the ’6,561 Patent (Group 1); claim 1 of the ’224 Patent and claim

      11 of the ’340 Patent (Group 3); and claim 1 of the ’992 Patent, claim 11 of the ’918

      Patent, and claim 1 of the ’912 Patent (Group 4). Sprint proposes to construe the term

      in each case to mean a plurality of network elements and connections forming a network

      to transfer information. Defendants argue that the term is indefinite as used in the ’6,561

      Patent, and they offer various constructions for the other patents that would limit the

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      term to ATM technology. In Vonage and Big River, the Court adopted the construction

      urged by Sprint here, but in those cases, the defendants agreed to that portion of the

      construction, and thus the Court did not offer any analysis to support that construction

      (other than in rejecting defendants’ additional limitations). See Vonage, 518 F. Supp.

      2d at 1315; Big River, 2009 WL 1992537, at *4-6.

             With respect to the ’6,561 Patent, defendants argue that this term is indefinite

      under Section 112(f) because there is no corresponding structure to perform the functions

      set forth in the claim. For the same reasons set forth above, see supra Part III.A.1,

      defendants have not shown that that section applies to these method claims, and the

      Court therefore rejects defendants’ arguments under that section.

             Defendants also suggest that this term is otherwise indefinite under Section

      112(b). The Court rejects that argument as well, for the reasons stated above with

      respect to the term “processing system.” See supra Part III.A.2. Defendants concede

      that this term has an ordinary meaning, and they have failed to explain why this claim

      does not have a reasonably certain scope in light of that ordinary meaning as limited by

      the requirements of the claim. Nor have defendants cited any authority outside the

      context of Section 112(f) that indicates that a term (as opposed to a claim) is indefinite

      if there is not sufficient structure described in the specification.

             With respect to the Group 3 and Group 4 patents, defendants appear to argue,

      based on Section 112(f), that this term must be further defined, by reference to the

      specification, in order to connote structure. Again, the Court has concluded that Section

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      112(f) does not apply here. In proposing constructions for this term as used in these

      patents, defendants have offered various limitations involving ATM technology, but

      defendants have not offered any argument under Microsoft that repeated and consistent

      descriptions of the inventions in these patents support these limitations. Nor have

      defendants pointed to any language in the specifications specifically defining

      “communication system” in accordance with their proposed constructions. Accordingly,

      the Court rejects defendants’ proposed constructions.

             Sprint argues that the Court should simply adopt its prior construction, but as

      noted above, that construction was essentially unopposed in the prior cases. Sprint

      supports its construction by pointing to the various functions contained in the claims.

      Sprint also cites a couple of places in the specifications, but those excerpts did not define

      “communication system.” Most importantly, Sprint has not explained why the term

      requires further construction, or why the term cannot be understood consistent with its

      ordinary meaning. For these reasons, the Court declines to construe this term in any of

      these patents.



                       M.   “Narrowband [Communication] System”

             The parties dispute the construction of the term “narrowband communication

      system” found in claims 1 and 24 of the ’3,561 Patent (Group 1), and the term

      “narrowband system” found in claim 1 of the ’052 Patent (Group 1). Sprint argues that

      the terms need no further construction. Defendants propose construing the terms to

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      mean a local exchange carrier (LEC) switch.

             For the same reasons set forth above, see supra Part III.A.1-2, the Court rejects

      defendants’ arguments that Section 112(f) requires that this term be construed as they

      propose, and that a particular structure is required even absent application of Section

      112(f) in order to avoid indefiniteness. Accordingly, the Court rejects defendants’

      proposed constructions.

             Defendants also appear to take issue with the term “narrowband”. Defendants’

      expert states that “narrowband communication system” and “narrowband system” are

      imprecise and have relative meanings that change “as technology changes resulting in

      faster connection speeds.” The relevant inquiry, however, is a term’s meaning as

      understood by a person skilled in the art at the time of the invention. See Phillips, 415

      F.3d at 1312-13. Sprint’s expert states that these terms were understood by those skilled

      in the art at that time, and defendants’ expert has not disputed that particular fact.

      Neither side has proposed a definition of the term “narrowband”. Accordingly, the Court

      declines to construe these terms.



             N.     “Packet [Communication] System”

             The parties dispute the construction of the term “packet communication system”

      found in claims 1 and 24 of the ’3,561 Patent and claim 1 of the ’052 Patent (Group 1),

      and the term “packet system” found in claim 11 of the ’6,561 Patent (Group 1). Sprint

      argues that the terms need no further construction. Defendants argue that the terms are

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      indefinite.

               For the same reasons set forth above, see supra Part III.A.1, the Court rejects

      defendants’ arguments that these terms are indefinite under Section 112(f). Defendants’

      expert also states that the term “packet communication system” has a variety of

      meanings depending on the context, but he does not take issue with the statement by

      Sprint’s expert that one skilled in the art would understand this term in this context,

      except to challenge its application to a particular embodiment. At any rate, defendants

      have not shown by clear and convincing evidence that these claims are invalid as

      indefinite.

               In Big River, the Court declined to construe further the term “packet

      communication system” as used in patents in the Group 1 family because Big River had

      not explained why the modifier “packet” required further definition. Similarly here,

      defendants have not explained why “packet” should be not be interpreted according to

      its usual meaning in the art in the context of these claims; nor have defendants offered

      their own construction of that term. Accordingly, the Court declines to construe these

      terms.



                     O.     “Asynchronous Communication System”

               The parties dispute the construction of the term “asynchronous communication

      system” found in claim 1 of the ’932 Patent (Group 1). Sprint argues that the term needs

      no further construction. Defendants propose construing the term to mean an ATM

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      network.

             In support of their construction, defendants again appear to argue that a

      corresponding structure must be identified from the specification. For the same reasons

      set forth above, see supra Part III.A.1-2, the Court rejects such an argument, whether

      based on Section 112(f) or Section 112(b).

             In Vonage, the Court declined to construe “asynchronous communication” as used

      in a patent in the Group 1 family to mean “ATM communication,” based on the fact that

      one skilled in the art would understand such a communication to be one in which the

      transmitting and receiving devices do not share a common clock. See Vonage, 500 F.

      Supp. 2d at 1318-19. In Big River, the Court referenced that construction from Vonage

      and the acceptance of “asynchronous” as a term of art understood in this field in

      declining to construe further the term “asynchronous communication system.” See Big

      River, 2009 WL 1992537, at *7. Defendants cite to their expert’s statement that the term

      “asynchronous communications system” was not well known in the art, although they

      concede that “asynchronous” has a plain and ordinary meaning. Defendants have not

      explained how the Court erred in Big River, however, or attempted to explain why

      “asynchronous” should not be given its plain meaning in modifying “communication

      system,” or why the entire term should be construed differently in this context from the

      ordinary meaning. Accordingly, as in Big River, the Court declines to construe this term.



                    P.     “Device”

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             The parties dispute the construction of the term “device” found in claim 1 of the

      ’052 Patent (Group 1). Sprint argues that the term needs no further construction.

      Defendants argue that the term is indefinite for lack of a corresponding structure in the

      specification, but for the same reasons set forth above, see supra Part III.A.1-2, the Court

      rejects that argument.

             Defendants concede that “device” has a plain and ordinary meaning, and

      defendants have not proposed a different construction or explained why the term should

      be interpreted other that in accord with that plain meaning. Thus, the Court declines to

      construe this term.



                    Q.      “Routing System”

             The parties dispute the construction of the term “routing system” found in claim

      2 of the ’429 Patent (Group 2). Sprint argues that the term needs no further construction.

      Defendants argue that the term is indefinite for lack of a corresponding structure in the

      specification, but for the same reasons set forth above, see supra Part III.A.1-2, the Court

      rejects that argument. In light of the Court’s construction in the same patent claim of the

      term “routing”, see supra Part III.C, the Court declines to construe further the term

      “routing system.”



                    R.      “Service Node”

             The parties dispute the construction of the term “service node” found in claim 1

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      of the ’224 Patent (Group 3). Sprint argues that the term needs no further construction.

      Defendants argue that the term is indefinite for lack of a corresponding structure in the

      specification, but for the same reasons set forth above, see supra Part III.A.1-2, the Court

      rejects that argument. Again, the fact that this term is described in this method claim in

      terms of what it does instead of what it is does not render the claim indefinite. See supra

      Part III.A.2.

             Defendants complain that the specification does not adequately distinguish

      “service node” from “service platform,” but the relevance of that argument is unclear,

      as “service platform” is not a term found in this claim. Moreover, as defendants

      concede, the specification refers to “a service node in a service platform” (’224 Patent,

      at 5:67), and the Court does not agree that other excerpts from the specification suggest

      that the two terms may be synonymous. Defendants’ expert states that this term does not

      have an accepted meaning in the field, but Sprint’s expert disagrees and cites a number

      of other contemporary patents in this field using the term.

             The method of the claim includes selecting a service node to provide a service and

      transmitting a message and a user communication to the service node. Thus, as noted

      by Sprint’s expert, the service node is used for further call processing to provide a

      particular service for a call (with examples of such services found in various dependent

      claims). The Court concludes that defendants have not shown by clear and convincing

      evidence that the use of the term “service node” renders this claim invalid as indefinite.

      The Court declines to construe this term.

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                    S.     “Service Platform System”

             The parties dispute the construction of the term “service platform system” found

      in claim 11 of the ’340 Patent (Group 3). Sprint argues that the term needs no further

      construction. Defendants argue that the term is indefinite for lack of a corresponding

      structure in the specification. For the same reasons set forth above with respect to

      “service node,” the Court rejects defendants’ indefiniteness arguments. See supra Part

      III.R. Moreover, as Sprint notes, the specification for this patent contains a long

      discussion of “service platform systems.” Nor have defendants shown how the claims

      could be construed in various ways because of the use of this term. Defendants suggest

      that this term could refer to an interworking unit, but this claim does not include that

      term, and defendants have not cited any portion of the specification that supports that

      argument.

             In the event that the Court fails to find this claim indefinite, defendants offer an

      alternative construction containing various limitations. Defendants have not adequately

      provided a basis to define this term with those limitations, however, as they have not

      cited any places in which the specification defines the term in that manner, disavows

      claim scope, or repeatedly and consistently describes the invention or this term in that

      manner. Accordingly, the Court rejects defendants’ proposed construction, and it

      declines to construe this term.



                    T.     “Control System”

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             The parties dispute the construction of the term “control system” found in claim

      11 of the ’918 Patent (Group 4). Sprint contends that no further construction is needed,

      while defendants argue that the term is indefinite, although both sides offer alternative

      constructions.

             The Court first rejects defendants’ argument pursuant to Section 112(f), which has

      not been shown to apply here. See supra Part III.A.1. The Court also rejects defendants’

      argument under Section 112(b), as defendants have failed to show that this term renders

      the scope of this claim uncertain.

             Sprint argues that no further construction is necessary. Defendants’ alternative

      construction is to construe this term to mean the disclosed Call Process Control System

      (CPSC), with a lengthy description of the CPSC. The Court agrees with defendants that

      “control system” as used in this patent claim is synonymous with “call process control

      system” as used in the specification. “Control system” is not mentioned in the

      specification other than as a part of the term “call process control system.” Moreover,

      it is clear from the claims and the specification that the invention includes a “call process

      control system.” In independent claims 1 and 11 of this patent, the claimed method

      include steps in three elements: a control system including control system data tables;

      a call processor; and an interworking unit. The specification’s abstract begins by

      describing “[a]n architecture for connecting a call [that] comprises a call processor, a

      signaling interface, a call process control system (CPCS), and an interworking unit.”

      (’918 Patent, Abstract.) The specification’s summary of the invention begins by

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      describing the invention as comprising a call processor, a signaling interface, a call

      process control system, and an interworking unit. (’918 Patent, at 1:50-65.) In the next

      paragraph, the summary describes the invention as comprising a system involving a call

      processor and a call process control system. Thus, the specification repeatedly and

      consistently describes the invention as including a “call process control system,” which

      is called a “control system” in the claim at issue.

             Defendants’ construction includes a number of functional limitations, but the

      Court rejects that description of the call process control system because it is taken only

      from a particular embodiment. Defendants have not shown that the invention is

      repeatedly and consistently described with those limitations. The summary does twice

      describe the call process control system as a system “adapted to manage the call-

      associated data and to exchange the call-associated data with the call processor.” (’918

      Patent, at 1:59-61, 2:8-10.) Thus, the Court concludes that a proper construction of the

      “control system” from the claim should track that repeated description.

             The Court concludes that, because the claimed “control system” is given the

      different term “call process control system” in the specification, there is at least some

      potential for jury confusion, and the term should be construed by the Court.

      Accordingly, the Court construes this term to mean call process control system, which

      is a system adapted to manage the call-associated data and to exchange the call-

      associated data with the call processor.



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                    U.      “Narrowband Switch”

             The parties dispute the construction of the term “narrowband switch” in claim 1

      of the ’932 Patent (Group 1). Defendants propose to construe the term to mean circuit

      switch. The Court rejects defendants’ proposed construction, as defendants have not

      pointed to any language in the specification defining this term as or limiting its scope to

      a particular type of switch. Indeed, defendants have not cited any place in which the

      specification mentions circuit switches. Defendants argue that one particularly-identified

      narrowband switch is a circuit switch (according to their expert), but there is no basis to

      limit this term to a single embodiment.

             In its proposed construction, Sprint incorporates its construction of “switch” and

      essentially construes the modifier “narrowband” to mean in a narrowband format. In

      another place in its briefs, however, Sprint argues that this term need not be construed.

      The Court does not believe that defining the modifer “narrowband” to mean “in a

      narrowband format” is helpful, and, as noted above, see supra Part III.M, the parties

      have not offered meaningful constructions of the word “narrowband”. Accordingly, the

      Court declines to construe this term.



                    V.      “Signaling Processor”

             The parties dispute the construction of the term “signaling processor” found in

      claim 11 of the ’340 Patent (Group 3); and claim 1 of the ’992 Patent and claim 1 of the

      ’912 Patent (Group 4). Sprint argues that no construction is necessary. Defendants

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      argue that the term is indefinite under Section 112(f), but for the reasons stated above,

      see supra Part III.A.1, that section does not apply. The Court also rejects defendants’

      alternative construction that would limit the scope of this term to the disclosed CCM.

      See supra Part III.A.1, 3.

             In their alternate construction, defendants would also limit this term as used in the

      ’340 Patent to require that the signaling processor be “separate from, and not included

      in, the claimed service platform system.” Defendants have not supported that limitation

      other than by citation to the claim itself. Defendants argue that because the claim

      indicates that the signaling processor transfers certain messaging to a service platform

      system, those two elements must be separate and distinct. Sprint has not specifically

      addressed this proposed limitation in its briefs. Nevertheless, the Court concludes that,

      in the absence of support from the specification, the language of the claim may stand on

      its own, as the proposed limitations is already contained in the claim itself. Accordingly,

      the Court declines to construe this term.



                    W.      “[A Processing System] External to Narrowband Switches”

             Defendants argue that certain language renders claim 1 of the ’932 Patent

      indefinite under Section 112(b). The claimed method includes the step of “receiving and

      processing the first message in a processing system external to narrowband switches to

      select one of the narrowband switches.”          In its supplemental briefs addressing

      indefiniteness, defendants rely on (a) their previous argument that the claimed

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      “processing system” should be limited to the disclosed CCP, see supra Part III.A, and

      (b) the specification’s statement that “[i]t is possible to house the CCP within other

      telecommunications devices, even switches.” (’932 Patent, at 13:65-67.) Defendants

      argue that it is therefore not clear whether the processing system must be external to all

      narrowband switches, or whether the processing system may be contained in one

      narrowband switch and select from other switches to which it is external.

             The Court rejects this argument. First, as explained above, the Court has rejected

      defendants’ attempt to limit the scope of the term “processing system” to the disclosed

      CCP. See supra Part III.A. Thus, the CCP is used only in embodiments of the

      inventions, and descriptions of the embodiments do not provide a proper basis for

      limiting the scope of the claim.

             Moreover, the Court concludes that the scope of the claim is reasonably certain

      in light of the claim language and the specification. The specification’s abstract and

      summary make clear that the invention involves a method for processing signals in a

      location external to the switches in a network that make the connections for the call.

      (’932 Patent, at Abstract, 3:34-37.) Thus, the claim is clearly limited to a processing

      system (wherever located) that is in a location external to the switches (those forming

      the network) from which the processor chooses. The Court concludes that the scope of

      the claim is reasonably certain, and defendants have not provided clear and convincing

      evidence of indefiniteness to overcome the presumption of patent claim validity.



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                    X.     “Communication Switches” / “Telecommunication Switches”

             The parties dispute the construction of the term “communication switches” found

      in claims 23 and 38 of the ’3,561 Patent (Group 1); and the term “telecommunication

      switches” found in claim 5 of the ’429 Patent and claim 7 of the ’064 Patent (Group 2).

      In Vonage and Big River, the Court construed these terms to mean devices that set up

      calls and relay voice and/or data information from one connection to another. See

      Vonage, 518 F. Supp. 2d at 1317; Big River, 2009 WL 1992537, at *22. Sprint urges the

      Court to construe these terms in the same way in this case. Defendants propose to

      construe these terms to mean switching fabric for connecting an input to an output and

      the control logic for controlling the switching fabric.

             Defendants have not sufficiently supported their construction. They cite to one

      portion of the Group 1 specification, but that excerpt discusses a switch processor.

      Defendants cite to portions of the Group 2 specification, including excerpts that mention

      an “ATM fabric.” Defendants have not identified any part of the specifications,

      however, that defines or describes “switches” or “communication switches” or

      “telecommunication switches” in accordance with defendants’ construction. Defendants

      cite to their expert’s declaration, but nowhere therein does the expert espouse such a

      definition or otherwise suggest that these terms were known to those skilled in the art as

      having these meanings. Moreover, defendants’ construction is not especially helpful, as

      the plain meaning of the undefined term “switching fabric” is not clear. Finally, as

      Sprint points out, defendants’ construction would eliminate switches’ call-setup

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      functions, which functions are supported by the patents’ specifications.

             Although defendants state that their construction is “more precise,” they have not

      explained how the Court’s previous construction is inaccurate. Accordingly, the Court

      again construes these terms to mean devices that set up calls and relay voice and/or data

      information from one connection to another.



                    Y.     “In Response to”

             The parties dispute the construction of the term “in response to,” which is used

      in claims in many of the patents at issue in this case. Sprint contends that no

      construction of this phrase is necessary. Defendants do not dispute that this term has a

      plain and ordinary meaning, but they would add a limitation requiring the action taken

      “in response to” something to be taken “immediately”.            The Court rejects this

      construction, which defendants have not supported by any citation to the patents’

      specifications. Defendants only argument is that immediacy is implied by the claims

      because otherwise the claims could have stated merely that one action precedes another,

      and that the use of the phrase “in response to” suggests that something more is required.

      Under the plain and ordinary meaning of this phrase, however, that “something more”

      is the concept of causation. There is no basis to add any temporal limitation to these

      claims. Accordingly, the Court declines to construe this term.



                    Z.     “Network Code . . . to Provide Egress”

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             The parties dispute the construction of certain similar phrases in three Group 1

      patents. Claim 1 of the ’3,561 Patent includes the step of processing the signaling

      message to select “a network code that identifies a network element to provide egress

      from the packet communication system for the user communication.” Claim 24 of the

      ’3,561 Patent and claim 1 of the ’052 Patent include the step of selecting “a network

      code that identifies a network element to provide egress for the user communication from

      the packet communication system.” Dependent claim 14 of the ’6,561 Patent refers to

      “a network code representing a network element to egress the call from the packet

      system.” Sprint would construe these terms to mean a code identifying a network

      element which network element provides an exit from a packet communication system.

      Defendants would construe these terms to mean a logical address of a switch to which

      the user communication will egress from the packet communication system and which

      is in a network outside the packet communication system. The parties’ competing

      constructions thus raise three issues, which the Court will address in turn.

             First, defendants seek to construe “network code” to mean logical address, based

      on the following excerpt from the specification:

                    In one embodiment, the selection of a network characteristic will
             include the selection of a network code. Network codes are the logical
             addresses of the network elements.

      (’3,561 Patent, at 12:47-49.) In Vonage, the Court cited this excerpt in agreeing with

      Vonage that this term should be construed to mean a logical address identifying a

      network element that provides an exit from a packet communication system. See

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      Vonage, 518 F. Supp. 2d at 1318-19. The Court reconsidered that construction in Big

      River, however, and agreed with Sprint that the term should be construed to mean a code

      identifying a network element which network element provides an exit from a packet

      communication system. See Big River, 2009 WL 1992537, at *7. With respect to the

      “logical address” construction, the Court noted that a dependent claim in the ’3,561

      Patent limits the “network code” to a “logical address of the network element,” and it

      agreed with Sprint that such a dependent claim suggests that “network code” as used in

      the independent claim was not intended to be limited to mean “logical address.” See id.

      The Court further concluded that “the specification’s description of ‘network codes’ as

      ‘logical addresses’ in the second sentence of one embodiment of the invention could be

      read to be limited to that embodiment.” See id.

             In this case, defendants argue that the Court got it right in the first instance in

      Vonage. As the Court concluded in Big River, however, the presence of the dependent

      claim does provide evidence of an intent that “network code” be broader in scope than

      “logical address,” and in light of the ambiguity concerning whether the specification’s

      apparent definition of “network codes” was intended to be limited to one embodiment,

      the Court cannot conclude that the presumption of a broader construction in the

      independent claim should be overcome here. Accordingly, the Court rejects this

      limitation urged by defendants.

             Second, defendants would alter the Court’s construction to limit the “network

      element” to a “switch”. The Court rejects such a limitation. Defendants cite an excerpt

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      in which the specification refers to a “destination code” that facilitates egress from the

      system, and defendants argue that such a code is a LEC switch or another type of switch.

      The excerpt actually states, however, that the destination code “typically represents a

      network element that is connected to a LEC switch.” (’3,651 Patent, at 12:51-53

      (emphasis added).) Thus, the specification does not state that the destination code is a

      switch, and defendants have relied only on particular embodiments at any rate.

      Moreover, as Sprint points out, dependent claim 18 of the ’3,561 Patent claims the

      method wherein the network element comprises a switch, which suggests an intent that

      “network element” not be limited to a switch otherwise. Accordingly, there is no basis

      to change “network element” to “switch” in the Court’s construction.

             Third, defendants propose a construction requiring a network element to which

      the user communication will egress from the packet communication system and which

      is in a network outside the packet communication system. Defendants argue that their

      construction is supported by the language of the claims themselves, as the egress must

      be to an element outside the system. In Vonage and Big River, however, the Court

      construed “egress” to mean an exit (defendants do not take issue with that particular

      definition of “egress”), and the ordinary meaning of “egress” and “exit” do not require

      that they be outside the place being departed, as an exit is usually understood to be on

      the periphery or the border of that place. The claims do not indicate or suggest that the

      selected network element is the place outside the system to which the communication is

      sent; rather, the network element “provide[s] egress” or “egress[es] the call.”

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      Accordingly, there is no basis to construe these terms with this limitation urged by

      defendants.

             Accordingly, the Court again construes these terms to mean a code identifying a

      network element which network element provides an exit from a packet communication

      system.



                    AA.    “Transmitting” / “Receiving” / “Transferring”

             Defendants argue that the terms “transmitting”, “receiving”, and “transferring”

      in various patent claims in Groups 1 and 2 should be construed with the following

      limitation: the thing a message or instruction is transmitted (or transferred) from is not

      part of the thing which receives the transmitted (or transferred) message or instruction

      [and vice-versa], and the message or instruction received is identical to the message or

      instruction transmitted (or transferred). Sprint argues that no such construction is

      warranted.

             Essentially, defendants argue that the use of “transmitting” or “transferring” with

      “receiving” in the claim language means that the transmitting or transferring element

      cannot be “part of” the receiving element. Defendants rely on their argument that a CCP,

      located outside of the communications path, is a fundamental feature of these inventions,

      but the Court has already rejected defendants’ argument concerning the CCP, which is

      described only in embodiments of the inventions. See supra Part III.A.3. Otherwise,

      defendants do not cite any evidence to support this construction, and instead rely solely

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      on the plain meaning of these terms as used in the claims.

             Sprint argues that there is no reason, for instance, that the processing system,

      which controls a packet communication system and from which a control message is

      transferred (in claim 1 of the ’3,561 Patent), cannot be part of the packet communication

      system to which the control message is transferred. Sprint cites the specification’s

      statement that a CCP (an example of a processing system) could be integrated into a

      packet-based network. (’3,561 Patent, at 8:35-43.) Defendants argue that such language

      does not overcome the plain meaning of the claims, and thus refers only to an unclaimed

      embodiment. The Court agrees with Sprint, however, that such language suggests an

      intent not consistent with defendants’ “not part of” limitation.

             In light of that suggestion from the specification and in the absence of any

      intrinsic or extrinsic evidence supporting defendants’ position, the Court is unwilling to

      impose such a limitation. Nor does the Court agree with defendants that, under the plain

      meaning of these terms, one device could not transfer or transmit or send something to

      an element contained in the device or to an element of which that device is a part. (As

      one simple example, one’s smartphone might send itself an e-mail or text.) Without a

      more specific argument, based not on the general meaning of these terms but based

      instead on the specific transferring and receiving elements—an analysis not undertaken

      by defendants here—the Court cannot conclude that the plain meaning of these terms in

      these patent claims requires the limitation urged by defendants. Moreover, it is not clear

      what it means if one system or element “is not part of” another in the context of this

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      technology, and thus defendants’ construction could cause confusion for the jury.

      Accordingly, the Court rejects this proposed construction by defendants.

             In the briefs, neither side addressed defendants’ proposed limitation that the

      received message or instruction be identical to the one transferred or transmitted.

      Accordingly, the Court declines to impose such a limitation, and thus it will not construe

      these terms.



                     BB.    “A Call Having a First Message and Communications”

             The parties dispute the construction of the term “a call having a first message and

      communications,” found in claim 1 of the ’932 Patent (Group 1). In Vonage, the Court

      construed “first message” used in this patent to mean a signaling message that is distinct

      from the second message. See Vonage, 518 F. Supp. 2d at 1322-23. In Big River, the

      Court reaffirmed that construction, and it construed the term “call having a first

      message” to mean a call having a signaling message that is distinct from the second

      message. See Big River, 2009 WL 1992537, at *9. Sprint argues that the Court should

      apply the same constructions here.

             Defendants have not addressed the Court’s previous constructions. Instead,

      defendants propose that the term “a call having a first message and communications” be

      construed to include the limitation that the first message is sent on the same

      communication path as that used for user communications. In their initial brief,

      defendants argue that the specification does not explain how a call could have both a first

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      message and communications, and as the only possible answer, they point to the

      specification’s reference in one embodiment to in-band signaling, in which the signaling

      “must be placed on the actual communications path.” That one embodiment, however,

      does not provide a proper basis for imposing such a limitation. Moreover, the excerpt

      cited by defendants—which does not refer to a “first message”—goes on to state that

      such signaling is usually removed from the communications path and transferred to an

      out-of-band signaling system. (’932 Patent, at 7:50-63.)

             In their rebuttal brief, defendants argue that because the claim refers to a “call

      having a first message,” the first message must be part of the call. That truism, however,

      does not bear on whether the first message must be part of the communications path, as

      defendants have not cited any basis to equate “call” with “communications path” in the

      context of this claim.

             For these reasons, the Court rejects defendants’ proposed construction, and it

      again construes the term “a call having a first message” to mean a call having a

      signaling message that is distinct from the second message.



                    CC.    “Converting the Asynchronous Communication into a User
                           Commnication”

             Claim 1 of the ’064 Patent includes the step of “converting the asynchronous

      communication into a user communication.” Defendants propose to construe this term

      to add the limitation that the asynchronous communication is not a user communication,


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      while Sprint argues that no construction is necessary.

             Both sides rely solely on the language of the patent claims. Defendants argue that

      the plain meaning of the word “converting” means that the two objects cannot have been

      the same.    Sprint argues that this patent claim addresses the conversion of a

      communication between asynchronous and synchronous formats, but that is certainly not

      clear from a plain reading of the claim. Sprint also argues that defendants, by their

      construction, wish to limit the claim to require a conversion both of the

      asynchronous/synchronous format and the content of the communication, but that too is

      not clear from defendants’ argument.

             The Court does not believe that any further construction of this phrase is

      necessary, as the claim is already limited by the plain meaning of its terms. Defendants

      will certainly be free to argue that the “asynchronous communication” and “user

      communication” referenced by this claim must be different by virtue of the conversion.

      This Court has already declined to construe the term “user communication,” however,

      see supra Part III.H, and neither side has addressed the particular meaning of “user

      communication” in the context of this claim. Accordingly, the Court declines to construe

      this term.



                    DD.    “Generating a . . . Message”

             The parties dispute the construction of the term “generating a . . . message,” found

      in claims 1 and 24 of the ’3,561 Patent and claim 1 of the ’932 Patent (Group 1); claim

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      1 of the ’429 Patent and claim 1 of the ’064 Patent (Group 2); and claim 1 of the ’224

      Patent and claim 11 of the ’340 Patent (Group 3). In Vonage and Big River, the Court

      construed “generate/generating a message” as used in these Group 1 and Group 2 patents

      to mean assemble/assembling information to create a message. See Vonage, 518 F.

      Supp. 2d at 1312-13; Big River, 2009 WL 1992537, at *19-21. Sprint proposes that the

      Court use the same construction here. Defendants generally accept the Court’s previous

      construction, but would specify for each claim a particular type of information (network

      code, identifier) that must be assembled.

             In Vonage, the Court noted that “the language of the various claims demonstrates

      that the messages are generated by assembling information because each of the claims

      requires the generation of a message that includes some particular content.” See Vonage,

      518 F. Supp. 2d at 1312. Defendants argue that they merely seek to specify that

      particular content for each of the patent claims. The Court concludes that such an

      addition is unnecessary, however. If a particular claim explicitly requires that the

      generated message contains certain content, then that claim limitation is sufficient, and

      the limitation need not be repeated in the definition of “generating”. Moreover, the

      Court emphasized in Vonage and Big River that although the signaling is new, the

      content contained in the generated message need not be new, as pre-existing content may

      be included. See, e.g., Big River, 2009 WL 1992537, at *20-21. The Court concludes

      that defendants’ requirement that the assembled information include certain content

      could cause the jury to believe improperly that the content must be new. Therefore, the

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      Court declines to include the addition proposed by defendants, and it construes the term

      “generating a . . . message” in these patent claims to mean assembling information to

      create a message.



                    EE.    “DS0 Connection”

             The parties dispute the construction of the term “DS0 connection,” which is found

      in claim 3 of the ’052 Patent (Group 1); and claim 1 of the ’429 Patent, claim 1 of the

      ’064 Patent, and claim 7 of the ’084 Patent (Group 2). In Vonage, the Court instructed

      the jury that “DS0 connection” meant a channel over which DS0 communication signals

      (a term of art meaning Digital Signal Level 0) are transmitted or received. In Big River,

      the Court followed that construction from Vonage for each of these patent claims. See

      Big River, 2009 WL 1992537, at *21. Sprint urges the same construction in this case.

      Defendants argue that no construction is necessary.

             Defendants note that this construction refers back to “DS0” and the full name for

      that acronym, and they argue that this construction is therefore no more helpful to a jury

      than the term by itself. The term at issue, however, is “DS0 connection,” not just “DS0”,

      and defendants have not explained why this particular connection should not be

      construed as it was in the prior cases. Defendants have not argued that the prior

      construction is inaccurate in any way, and the Court believes that the construction could

      be helpful to the jury. Accordingly, the Court again construes this term to mean a

      channel over which DS0 communication signals (a term of art meaning Digital Signal

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      Level 0) are transmitted or received.



                    FF.     “In the Processing System, Selecting a Service and a Service
                            Node”

             The parties dispute the construction of the phrase “in the processing system,

      selecting a service and a service node,” found in claim 1 of the ’224 Patent (Group 3).

      Sprint argues that no construction of this phrase is needed. Defendants would construe

      the phrase to mean the following: The processing system chooses one service from

      among several available services, and then chooses one service node from among

      several available service nodes that are capable of providing that service.

             This patent claim includes the following step: “in the processing system, selecting

      a service and a service node to provide the service based on the information.”

      Defendants would limit the choice or selection only to one service and one service node.

      The claim itself refers only to “a service” and “a service node,” and as Sprint points out,

      under Federal Circuit law, one rule of patent parlance is that “a” means “one or more.”

      See Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342 (Fed. Cir. 2008)

      (citing KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000)).

      Defendants note that an exception to that rule exists for the situation in which the

      patentee evinces a clear intent to limit “a” to “one”. See id. The prosecution history and

      specification excerpts cited by defendants, however, do not directly address whether

      there may be only one service or one service node in the context of this claim, and thus


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      defendants have not shown a clear intent for such a limitation.

             Defendants’ construction would also require that there be several available

      services. While it might be true in a general sense that there are various services that

      could be used by a caller, defendants’ construction could be confusing in the sense that

      it would require that there be multiple services appropriate for a particular call—a

      limitation for which defendants have offered no support. Similarly, defendants have not

      supported its proposed limitation that there be several available service nodes for a

      particular service. Thus, the Court rejects defendants’ proposed limitations relating to

      the number of services or service nodes.

             Defendants would also construe this phrase to impose a sequential limitation, such

      that the service is chosen first, and then the service node is chosen. Again, however, the

      prosecution history and specification excerpts cited by defendants do not directly address

      these questions of whether the two selections must be separate and whether the service

      must be chosen first. For instance, as Sprint points out, defendants have not pointed to

      evidence that forecloses the possibility that, because only one service node is available

      to provide a certain service, the selection of the service compels the selection of the

      service node, which selections might therefore be understood to occur simultaneously.

      Thus, because defendants’ construction could be understood by a jury to limit the claim

      improperly, the Court rejects defendants’ proposed limitation.

             The Court concludes that this phrase may be understood by its plain meaning.

      Accordingly, the Court declines to construe this phrase.

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                    GG.    “Generating . . . a Second Message . . . Wherein the Second
                           Message Indicates the Selected Service and a User”

             The parties dispute the construction of the phrase “generating . . . a second

      message . . . wherein the second message indicates the selected service and a user,”

      found in claim 1 of the ’224 Patent (Group 3). Sprint would construe this phrase, in

      accordance with the Court’s prior construction of “generating . . . a message,” see supra

      Part III.DD, to mean assembling information to create a second message . . . that

      indicates the selected service and a user. Defendants would construe this phrase to

      mean assembling information, including an identifier of the selected service and an

      identifier of a user, to create a second message containing that information. For the

      same reasons set forth above, see supra Part III.DD, the Court rejects defendants’

      limitation requiring “identifiers”, as defendants have not shown that the specification

      defines this term or repeatedly and consistently describes the overall invention in such

      a way. Nor have defendants adequately supported a limitation of the claim’s plain

      language requiring only that the message “indicate” the selected service and user.

      Accordingly, the Court construes this phrase to mean assembling information to create

      a second message . . . that indicates the selected service and a user.



                    HH.    “Identifiers That Are Used for Routing”

             Claim 11 of the ’340 Patent (Group 3) refers to the steps of generating and

      transferring control messaging indicating “identifiers that are used for routing,” and


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      exchanging communications that include “the identifiers.” Consistent with the Court’s

      previous construction of “identifier” in the Group 2 patents, see supra Part III.K, Sprint

      would construe these terms again to mean data for routing information in a packet

      network. Defendants argue that the Court’s prior construction is not supported by the

      Group 3 specification, and they therefore contend that these terms should not be

      construed.

             Sprint concedes that the limitation “in a packet network” from the Group 2

      construction is not supported by the claim itself, but it suggests that “identifier” should

      be construed consistent with its construction in the Group 2 patents for the jury’s sake.

      The Court concludes, however, that this limitation should not be applied in the context

      of this patent if such application is inappropriate. On the other hand, the claim does

      indicate that the identifier is used for routing information, and defendants have not

      explained why the first part of the Court’s Group 2 construction is not accurate as

      applied to this patent. Accordingly, the Court construes these terms as used in claim 11

      of the ’340 Patent to mean data for routing information.



                    II.     “Identifier for Routing”

             The parties dispute the construction of the terms “identifier for routing” and

      “identifier” from claim 1 of the ’992 Patent (Group 4). Sprint again espouses the Court’s

      prior construction of “identifier”. See supra Part III.K. Defendants again seek to add

      the limitation that the identifier identify a connection, based on their argument that this

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      invention is limited to ATM technology. The Court has so limited the invention in this

      patent in its construction of “interworking unit.” See id. For the same reasons set forth

      above, however, the Court declines to graft that limitation onto a definition of

      “identifier”, as defendants can explain to the jury the features of ATM technology in the

      context of the claim. See id. The Court therefore adopts the more general construction

      for this term of data for routing information in a packet network.



                    JJ.    “Another Control Message”

             The parties dispute the construction of the term “another control message,” found

      in claim 1 of the ’992 Patent (Group 4). That claim recites the following method “for

      operating a communications system to handle a call”:

             receiving signaling for the call into a signaling processor;
             in the signaling processor, processing the signaling to select an identifier for
                     routing the call;
             transferring a control message indicating the identifier from the signaling
                     processor;
             receiving user communications for the call and the control message into an
                     interworking unit;
             in the interworking unit, converting the user communications into asynchronous
                     communications including the identifier in response to the control
                     message;
             transferring the asynchronous communications from the interworking unit;
             in the interworking unit, monitoring the user communications during the call to
                     detect a call trigger; and
             transferring a trigger message from the interworking unit if the call trigger is
                     detected;
             receiving and processing the trigger message in the signaling processor; and
             transferring another control message from the signaling processor in response to
                     processing the trigger message.


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      (Emphasis added.) Defendants would add the following limitation concerning the term

      “another control message”: the another control message will not in any way cause the

      interworking unit to change the processing, translation or routing of the call.

             Defendants do not support this argument by any citation to the specification;

      rather, defendants argue only that this limitation is required by a logical reading of the

      claim. Although their argument is not entirely clear, defendants appear to argue that

      because the interworking unit processes and routes calls in response to the “control

      message” mentioned earlier in the claim, the interworking unit could not also perform

      such functions in response to “another control message” that is transferred in response

      to a trigger message. The Court rejects this argument. Under a plain reading, the claim

      does not prohibit any actions after the creation of “another control message,” and there

      is no reason logically (according to the terms of the claim) why the interworking unit

      could not perform some function in response to the creation of the additional control

      message. Accordingly, the Court declines to impose this limitation urged by defendants.



                    KK.    “Transferring the Asynchronous Communications . . .
                           Monitoring the User Communications”

             The parties dispute the construction of the phrase “transferring the asynchronous

      communications . . . monitoring the user communications,” found in claim 1 of the ’992

      Patent (Group 4). By this argument, defendants do not actually seek to construe

      particular terms contained in this claim; rather defendants seek to add three particular


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      limitations to this claim, which the Court will address in turn.

             First, defendants would add the limitation that the occurrence of a call trigger will

      not in any way affect the processing, translation or routing of the user communications.7

      Defendants appear to concede (for instance, in their argument relating to the construction

      of “call trigger”) that additional processing, translation, or routing does occur after the

      detection of a call trigger, but they argue that such processing is not caused directly by

      the call trigger, in the sense that additional steps must first occur. The fact that

      additional steps may be necessary, however, does not mean that the call trigger has not

      “in any way affect[ed]” the processing, as the ordinary meaning of causation does not

      preclude a chain of events to achieve the final result. It will be clear to the jury from the

      claim itself that various steps are required, and defendants’ proposed limitation could

      confuse the jury by suggesting that no further processing may occur. Accordingly, the

      Court rejects this proposed limitation.

             Second, defendants would add the limitation that the asynchronous

      communications are separate and distinct from the trigger message. Defendants argue

      that, according to the language of the claim (set forth in the preceding section), user



             7
               The joint claim construction submission and defendants’ brief use the word
      “effect” instead of “affect” in defendants’ proposed construction. Defendants argue,
      however, that processing, translation, and routing are not “affected” by the detection of
      a call trigger, and that such processing, translation, and routing may not be “changed”
      directly by a call trigger. Thus, the Court has assumed that defendants intended to use
      the word “affect” in their proposed construction. Even if “effect” were intended,
      however, the Court would not impose such a limitation for this claim.

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      communications are converted into asynchronous communications prior to the detection

      of a call trigger, and the trigger message is generated after the detection of the call

      trigger, and that distinction means that the “asynchronous communications” and the

      “trigger message” referenced in the claim must be separate and distinct. Sprint does not

      dispute that sequence. Sprint argues, however, that the patent contemplates calls

      between synchronous and asynchronous networks, and that a trigger may be sent from

      either side, which would mean that a trigger message could be in asynchronous format.

      By that argument, Sprint has not disputed that the trigger message would be distinct from

      the particular asynchronous communications referenced in the claim; rather, Sprint

      appears to argue that the trigger message is not necessarily distinct from all

      asynchronous communications.

             The Court appreciates this concern by Sprint and agrees that defendants’ proposed

      limitation could cause some confusion. The Court also concludes that the claim

      language adequately conveys that the particularly-referenced asynchronous

      communications are different from the trigger message. Thus, the Court declines to add

      any such explicit limitation.

             Third, defendants would add the limitation that the call trigger is converted into

      asynchronous communications in the same manner as the user communications. The

      Court does not agree, however, that the language of the claim in any way suggests that

      the trigger message must not only be converted, but also be converted in a particular

      manner. Accordingly, the Court declines to impose this proposed limitation.

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                    LL.     “Call Trigger”

             The parties dispute the construction of the term “call trigger” from claim 1 of the

      ’992 Patent (Group 4). Sprint would construe the term to mean an event or signal that

      causes some call processing, call translation, or call routing to occur when trigger

      criteria is satisfied [sic]. Defendants would construe the term to mean an event or signal

      intended to cause some change in the processing, translation or routing of the call.

             Sprint’s proposed definition is taken verbatim from the specification. (’992

      Patent, at 7:3-6.) Defendants do not address the fact that Sprint’s proposed construction

      follows an express definition of the term in the specification. Instead, defendants argue

      that Sprint’s construction improperly implies that the processing, translating, and routing

      are caused directly by the trigger message, when in fact additional steps are required.

      As set forth above, however, see supra Part III.KK, the Court does not believe that the

      word “causes” prohibits the need for multiple steps in the chain of causation. In

      addition, defendants’ construction ignores the specification’s definitional requirement

      that criteria be satisfied. Accordingly, the Court construes this term in accordance with

      the specification’s definition.

             The Court does have some concern about using the phrase “when trigger criteria

      is satisfied,” since “criteria” is a plural noun. Use of this phrase unaltered could cause

      some confusion concerning whether there must be multiple criteria. The Court believes

      that use of the phrase “all criteria are satisfied” adequately encompasses situations with

      either one criterium or multiple criteria, as no doubt intended by the patentee.

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      Accordingly, the Court construes “call trigger” in this claim to mean an event or signal

      that causes some call processing, call translation, or call routing to occur when all

      trigger criteria are satisfied.



                     MM. “Trigger Message”

             Defendants argue that the term “trigger message,” found in claim 1 of the ’992

      Patent (Group 4), is indefinite. That claim includes the steps of monitoring user

      communications to detect a call trigger; if a call trigger is detected, transferring a trigger

      message from the interworking unit; receiving and processing the trigger message in the

      signaling processor; and transferring another control message from the signaling

      processor in response to that processing of the trigger message.

             Defendants argue that “trigger message” has no ordinary meaning to one skilled

      in the art. The Court concludes, however, that the meaning of that term is easily

      understood in the context of the claim, as the language of the claim itself makes its scope

      clear as it relates to the trigger message. As defendants concede in their brief, “trigger

      message” as used in the claim “refers to some kind of message that is generated by the

      interworking unit in response to its detection of a call trigger [and] that is transferred to

      the signaling processor.” Defendants complain that the specification describes other

      types of messages performing those functions, but those references relate only to

      particular embodiments of the invention. Defendants have not shown by clear and

      convincing evidence that the scope of this claim is not reasonably certain and is therefore

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      invalid as indefinite. Accordingly, the Court rejects this argument, and it declines to

      construe this term.



                    NN.     “Processing . . . to Transmit”

             The parties dispute the construction of the term “processing . . . to transmit,”

      found in claim 1 of the ’912 Patent (Group 4). Defendants propose to construe this term

      to mean processing and transmitting.         Sprint would construe the term to mean

      processing . . . to participate in the transmitting, in accordance with the Court’s previous

      construction of the term “processing . . . to select.” See supra Part III.I.

             Just as they argued with respect to the term “processing . . . to select,” see id.,

      defendants contend that the same element (the signaling processor) that does the

      processing must also make the decision and do the transmitting. The Court disagrees

      with defendants, however, that their construction is compelled by the language of the

      claim itself, as the claim does not require processing and transmitting (by the signaling

      processor), but instead requires only “processing . . . to transmit.” Defendants cite to the

      Abstract and specification for the patent, but those excerpts use the same wording that

      the claim does. Accordingly, for the same reasons set forth above with respect to the

      term “processing . . . to select,” see id., the Court construes the term “processing . . . to

      transmit” in this patent claim to mean processing . . . to participate in the transmitting.



                    OO.     “Identifier for Routing”

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             The parties dispute the construction of the terms “identifier for routing” and

      “identifier” found in claim 1 of the ’912 Patent (Group 4). Sprint again proposes the

      Court’s prior construction of “identifier”. See supra Part III.K, Part III.II. Defendants

      again seek to add the limitation that the identifier identify a connection, based on their

      argument that this invention is limited to ATM technology. The Court has so limited the

      invention in this patent in its construction of “interworking system,” which is also

      required in this patent claim. See infra Part III.PP. For the same reasons set forth above,

      however, the Court declines to graft that limitation onto a definition of “identifier”, as

      defendants can explain to the jury the features of ATM technology in the context of the

      claim. See supra Part III.K. The Court therefore adopts the more general construction

      for this term of data for routing information in a packet network.



                    PP.     “Interworking System”

             The parties dispute the construction of the term “interworking system” from claim

      1 of the ’912 Patent (Group 4). Sprint would define this term to mean a system that

      translates communications between narrowband and packet formats. Defendants

      propose the construe the term to mean a plurality of ATM interworking multiplexers each

      connected to the same ATM cross-connect.

             Sprint opposes defendants’ first proposed limitation—limiting the interworking

      system to a plurality of ATM interworking multiplexers—by referring to its opposition

      to defendants’ construction of “interworking unit” in other patent claims. See supra Part

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      III.J. The Court agrees with defendants, however, that this invention, like the other

      inventions involving an “interworking unit,” is repeatedly and consistently described as

      including ATM technology. For instance, in its background section, the specification

      states that “[t]he invention relates to tandem systems for circuit-based traffic, and in

      particular, to tandem systems that use Asynchronous Transfer Mode (ATM) systems to

      interconnect various circuit-based networks or network elements.” (’912 Patent, at 1:16-

      10.) Similarly, the specification begins its summary of the invention as follows:

                    The invention includes a telecommunications tandem system and
             method for providing a tandem connection for a call. The tandem system
             comprises a first ATM interworking multiplexer, an ATM cross-connect,
             a second ATM interworking multiplexer, and a signaling processor.

      (’912 Patent, at 1:66-2:3.) The summary continues by describing the functions of the

      ATM components of the system. (’912 Patent, at 2:3-30.) Accordingly, for the same

      reasons set forth above with respect to the term “interworking unit,” the Court concludes

      that this term is appropriately limited to ATM interworking multiplexers. Moreover,

      Sprint has not challenged defendants’ proposed language requiring a “plurality” of such

      multiplexers, and the Court will therefore use that term as well in its construction.

             Sprint does oppose specifically the second part of defendants’ construction, which

      would require each ATM multiplexer to be connected to the same ATM cross-connect.

      Sprint argues that defendants have supported that limitation only by reference to

      particular embodiments.     As noted above, however, the specification’s summary

      describes the invention as including an ATM cross-connect, and it further describes that


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      cross-connect as being connected to both ATM multiplexers. (’912 Patent, at 2:1-13.)

      Thus, the invention as a whole is described in a manner consistent with defendants’

      proposed limitation, and the embodiments in the specification follow that description.

      Sprint cites language from the specification noting that variations from one embodiment

      are contemplated by the invention, but there is nothing to indicate that those variations

      could include not having the multiplexers connect to the same cross-connect. Sprint also

      purports to cite to versions of the invention that do not include any discussion requiring

      an ATM cross-connect, but the cited excerpts relate only to the signaling processor, an

      element separate from the cross-connect. (’912 Patent, at 10:62-11:39.) The Court

      therefore agrees with defendants that the specification repeatedly and consistently

      describes the invention in accord with this proposed limitation.

             Accordingly, the Court construes this term to mean a plurality of ATM

      interworking multiplexers each connected to the same ATM cross-connect.



                    QQ.    “Receiving a Response Message”

             The parties dispute the construction of the term “receiving a response message,”

      found in claim 1 of the ’912 Patent (Group 4). Sprint argues that no construction is

      necessary. Defendants would construe this term to add the following limitation: the

      response message is received by the signaling processor of the communications system.

             Claim 1 of the ’912 Patent recites a method for operating a communications

      system comprising the following steps:

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             receiving a call setup message including a called number into a signaling
                    processor;
             processing the called number in the signaling processor to transmit a query;
             receiving a response message responsive to that query that includes number
                    portability information for the called number;
             processing the number portability information to select an identifier for routing;
             transmitting a control message that indicates the identifier;
             receiving a Time Division Multiplex (TDM) user communication and the control
                    message into an interworking system;
             converting the TDM user communication into packet communications that
                    include the identifier for routing; and
             transferring the packet communications that include the identifier for routing.

      (Emphasis added.)

             Defendants argue that the signaling processor that sent the query would also be

      the element receiving the response message in return. The Court, however, has already

      refused to construe this claim to require that the signaling processor actually transmit the

      query (it need only participate in the transmitting). See supra Part III.NN. Moreover,

      while some steps specifically require the signaling processor to perform some function,

      such assignation is absent from the step of “receiving a response message.”

             Defendants rely on the Abstract of the patent, which states that the signaling

      processor does perform the functions listed in the first five steps of the claim, including

      receiving the response message. The specification’s summary, however, while noting

      that the signaling processor performs certain functions, does not mention the signaling

      processor’s receipt of the response message.           Otherwise, defendants cite only

      embodiments of the invention.

             The Court cannot conclude that the single statement in the abstract is sufficient


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      in this case to support the imposition of a limitation not contained in the claim language.

      It is true than a patent’s abstract may be considered by a court in considering the scope

      of the invention, see Hill-Rom Co. v. Kinetic Concepts, Inc., 209 F.3d 1337, 1341 n.*

      (Fed. Cir. 2000)8, as this Court has done in finding that other limitations are supported

      by repeated descriptions of the invention in the specification. See, e.g., supra Part III.J.

      Nevertheless, the abstract, by itself, has limited usefulness in interpreting the scope of

      the claims, as (at the time of this patent application) the abstract was limited to 150

      words and was intended to reveal only the nature and gist of the technical disclosure

      upon a cursory inspection. See 65 Fed. Reg. 54604, 54667-68 (Sept. 8, 2000) (amending

      37 C.F.R. § 1.72(b)). Defendants have not identified any authority suggesting that a

      single statement in the Abstract is enough to satisfy the Federal Circuit’s standard for

      imposing a limitation not contained in the claim language if the specification repeatedly

      and consistently describes the invention with that limitation. In fact, courts have refused

      to import limitations into patent claims based solely on statements in the abstract. See,

      e.g., Verco Decking, Inc. v. Consolidated Sys., Inc., 2014 WL 3894144, at *6 (D. Ariz.

      Aug. 8, 2014) (because of its limitations, the abstract “as a practical matter cannot

      describe the full scope of all of the claims of the patent”); Takeda Pharm. Co. v. Mylan,


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              The Federal Circuit so held despite the statement in the applicable regulation, 37
      C.F.R. § 1.72(b), that the abstract “shall not be used for interpreting the scope of the
      claims.” See Hill-Rom, 209 F.3d at 1341 n.*. In 2003, in light of that holding in Hill-
      Rom, the regulation was amended to remove that statement prohibiting the use of the
      abstract for claim interpretation. See 68 Fed. Reg. 38611, 38614 (June 30, 2003)
      (amending 37 C.F.R. § 1.72(b)).

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      Inc., 2012 WL 4832813, at *8-10 (S.D.N.Y. Oct. 11, 2012) (patents did not contain

      repeated descriptions of the invention with the proposed limitation, and single

      description in the abstract was not a sufficient basis by itself; distinguishing Federal

      Circuit cases that relied on multiple descriptions of the invention).

             Accordingly, the Court cannot conclude that the specification repeatedly and

      consistently defines the invention as having the signaling processor receive the response

      message, and the Court therefore rejects defendants’ proposed construction and declines

      to construe this term.



                    RR.    “Call Setup Message”

             The parties dispute the construction of the term “call setup message” from claim

      1 of the ’912 Patent (Group 4). Sprint argues that the term should not be construed.

      Defendants would construe the term to mean a message used by the signaling processor

      to establish connections between the calling and called parties.

             Claim 1 begins with the step of “receiving a call setup message including a called

      number into a signaling processor.” The claim does not contain the limitation urged by

      defendants; the only limitation contained in the claim is that the call setup message must

      include a called number. Defendants cite only two pieces of evidence to support their

      limitation. First, defendants cite to a statement in the specification, but that statement

      mentions “a call set-up message,” in “various embodiments,” as only one of many

      possible bases for the signaling processor’s selection of connections for the call. The

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      specification does not define this term as defendants propose, and it cannot be said that

      the specification repeatedly and consistently describes the invention with this limitation.

      Second, defendants cite to the patent’s prosecution history, in which the patentee

      distinguished prior art on the basis that that prior art did not “dynamically control the

      interworking point by dynamically specifying the routing identifier.” Defendants argue

      that such evidence supports its construction because “[d]ynamic control in this context

      is the establishment of connections for the call between the calling and called parties

      based [on] the call set-up message.” Defendants offer no support for that statement,

      however. Thus, there is no basis to conclude from the prosecution history that this claim

      requires that the call setup message must be used to establish connections.

             Because defendants have not adequately supported their proposed limitation, the

      Court rejects that construction, and it declines to construe this term.



                    SS.     “Processing . . . to Transfer”

             The parties dispute the construction of the term “processing . . . to transfer” from

      claim 11 of the ’918 Patent (Group 4). In accordance with the Court’s prior construction

      of the term “processing . . . to select,” see supra Part III.I, Sprint would construe this

      term to mean processing . . . to participate in the transferring. Defendants would

      construe this term to mean the call processor transfers the control message to the

      interworking unit. Thus, as with the terms “processing . . . to select” and “processing .

      . . to transmit,” see supra Part III.I, Part III.NN, the issue is whether the processing

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      element (in this case, a call processor) must actually transmit the control message or

      must only participate in the transmitting.

             The Court again disagrees with defendants that the language of the claim itself

      supports their construction. To the contrary, the claim does not require “processing . .

      . and transferring” by the call processor, but only requires “processing . . . to transfer.”

      In this case, however, defendants are able to support their construction with citations to

      descriptions in the specification of the invention itself. For instance, the specification’s

      summary states that, in the present invention, “[t]he call processor transports a control

      message identifying the selected connection,” and [a]n interworking unit is adapted to

      receive the control message from the call processor.” (’918 Patent, at 1:54-55, 1:61-62.)

      The summary later repeats that, in the present invention, “[t]he call processor transports

      a control message identifying the selected connection.” (’918 Patent, at 2:3-4.) These

      statements distinguish this dispute from those involving the construction of “processing

      . . . to select” and “processing . . . to transmit,” because in this case defendants have been

      able to demonstrate that the patent’s specification repeatedly and consistently describes

      the invention in a manner consistent with the proposed limitation.

             Accordingly, the Court construes “processing . . . to transmit” in this patent claim

      to require that the call processor transfers the control message to the interworking unit.



                     TT.    “Connection”

             The parties dispute the construction of the term “connection” from claim 11 of the

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      ’918 Patent (Group 4). Sprint proposes to construe the term to mean transmission media

      that may be used to carry user communications between elements of a communication

      system and/or other devices. Defendants propose to construe the term to mean the

      transmission media to be used for the call.

             Claim 11 of the ’918 Patent includes the following step: “in an interworking unit,

      receiving the control message, and in response to the control message, receiving user

      communications in a first format from a first connection, converting the user

      communications to a second format, and transferring the user communications in the

      second format over the second connection.” The specification contains the following

      statement concerning the meaning of the term “connection”:

                    Connections are used to transport user communications and other
             device information between communication devices and between elements
             and devices of architecture system 102. The term “connection” as used
             herein means transmission media that may be used to carry user
             communications between elements of architecture system 102 and to other
             devices.

      (’918 Patent, at 4:6-12.) Each side bases its construction on the express definition of

      “connection” in the second sentence of that excerpt.

             Although both proposed constructions start with the concept of “transmission

      media,” the constructions diverge from there. First, Sprint opposes defendants’ use of

      the phrase “for the call.” Defendants argue that the previous step in the patent claim

      shows that the user communications that are carried are for a call. The references to “a

      call” in the preceding step, however, are related to signaling information and a control


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      message for the call. Sprint notes that connections carry user communications, while

      links transport signaling and control messages. (’918 Patent, at 3:56-4:15.) The Court

      agrees with Sprint that a reference to “a call” in defining “connection” is inappropriate

      and unnecessary and potentially confusing, and the Court rejects that proposed language

      by defendants.

             Second, under Sprint’s construction, the transmission media “may be used,” while

      defendants’ construction requires that the media actually be used to carry user

      communications. Although the definition referenced by both sides includes the “may be

      used” language, the Court agrees that in the context of this claim, the connections are

      actually used for the transfer of user communications. Sprint has not addressed this issue

      in its briefs, and thus it has not disputed that the connections are actually used.

      Moreover, the sentence preceding the express definition uses the words “[c]onnections

      are used.” Accordingly, the Court declines to use the “may be used” language of

      Sprint’s construction.

             Third, defendants argue that Sprint’s modification of the specification’s definition

      is not accurate concerning the elements between which user communications are carried.

      The specification’s definition is a bit unwieldy and potentially confusing with respect to

      the phrase “between elements of architecture system 102 and to other devices.” The

      preceding sentence in the specification makes clear that the messages may travel either

      between communication devices or between elements and devices of architecture system

      102, and the Court sees no reason why that sentence’s clearer explanation should not be

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      used in this construction.

             Finally, there remains the construction of “architecture system 102.” Sprint

      would change that term referencing an embodiment to “a communications system,”

      while defendants offer no alternative for that term. The present invention is described

      as an “architecture” or a “system for connecting a call” comprising a call processor, a

      signaling interface, a call process control system, and an interworking unit. (’918 Patent,

      at Abstract, 1:50-65). “Architecture system 102” comprises those same elements. (’918

      Patent, at 3:32-35, Fig. 1.) Thus, the Court agrees with Sprint that “architecture system

      102” is most accurately referred to as a “communication system.” Because “connection”

      is used in a claim that describes “a method for operating a communication system,”

      however, it is more appropriate to refer in the construction of “connection” to “the

      communication system.”

             Accordingly, the Court construes “connection” in this claim to mean transmission

      media used to carry user communications between communication devices or between

      elements and devices of the communication system.



                    UU.     “Control System Data Tables” / “Call Processor Data Tables”

             The parties dispute the construction of the terms “control system data tables” and

      “call processor data tables,” found in claim 11 of the ’918 Patent (Group 4). Sprint

      contends that no construction is needed for these terms. Defendants do not offer any

      construction by which these terms are defined. Accordingly, the Court declines to

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      construe these terms.

             Defendants do propose that the Court add the limitation that the “control system

      data tables” are identical in format to the “call processor data tables.” The Court

      rejects that limitation. First, defendants note that the patent claim refers to the transfer

      of data between the two kinds of data tables without the additional step of reformatting

      the data. The Court agrees with Sprint, however, that although such an omission may

      permit the data tables to be in the same format, it does not require that.

             Second, defendants cite to one statement in the specification indicating that

      control system data tables are identical to call processing tables. (’918 Patent, at 5:22-

      24.) That statement refers only to an embodiment of the invention, however. As Sprint

      notes, in another embodiment, the two kinds of data tables are described merely as

      “similar”. (’918 Patent, at 7:44-45.) Defendants also cite the specification’s statement

      that the control system in one embodiment “may process the data to make sure it is in the

      correct format prior to filling the tables in call processor 308.” (’918 Patent, at 7:47-49.)

      That statement does not suggest that the two kinds of data tables have the same format,

      however, and it relates to an embodiment at any rate. Defendants have not shown that

      the specification repeatedly and consistently describes the invention as including the

      proposed limitation.

             Finally, the Court rejects defendants’ argument based on the patent’s prosecution

      history. Defendants note that the patentee distinguished prior art on the basis that the

      other patent did not teach a system involving the transfer of data between these two types

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      of data tables. That statement, however—like the patent claim at issue here—does not

      suggest anything about whether the formats for these types of data tables must be

      identical.

             For these reasons, the Court rejects defendants’ proposed limitation for these

      terms, which it declines to construe.



                    VV.    “Call Processor”

             The parties dispute the construction of the term “call processor” from claim 11

      of the ’918 Patent (Group 4). Sprint contends that no construction is necessary.

      Defendants propose a lengthy construction for this term that would identify five different

      features and functions for the “call processor.” Defendants base that construction on a

      description of one embodiment of a call processor from the specification. (’918 Patent,

      at 4:16-28.) The Court rejects that construction for that very reason—it is taken from a

      description of one embodiment. Defendants have not shown that the specification

      describes the invention as having a call processor with each of those features.

             Defendants argue that the claim itself requires certain of those features and

      functions, but that fact actually supports Sprint’s position, as the claim itself may be

      easily understood as imposing certain limitations. Defendants also suggest that the

      structure of the “call processor” is not sufficiently defined if their construction is not

      adopted, but they support that argument only with a citation to a case involving the

      application of Section 112(f), which does not apply here. See supra Part III.A.1.

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      Accordingly, the Court declines to construe this term.



                    WW. “Call Routing Data”

             The parties dispute the construction of the term “call routing data” from claim 11

      of the ’918 Patent (Group 4). Sprint contends that this term should not be construed.

      Defendants propose to construe the term to mean data which is used to select a mapping

      between a circuit based connection and an ATM virtual connection.

             Defendants seek by this construction to limit the claim to the use of ATM

      technology. The Court has already construed the term “interworking unit” as used in this

      patent claim to mean an ATM interworking multiplexer, based on its conclusion that the

      invention of this patent is repeatedly and consistently described as using ATM

      technology. See supra Part III.J. The Court is not persuaded, however, that such

      limitation should again be inserted into the claim through the construction of this term.

      Defendants argue that the “call routing data” is used to select mapping between two

      connections, one of which must be an ATM connection, that are “interworked” by the

      interworking unit in the final step of the claim. That interworking unit has already been

      defined to mean an ATM multiplexer, however, and defendants will be free to explain

      at trial that such a multiplexer would use an ATM connection. Accordingly, the Court

      declines to construe this term.



                    XX.    “Format”

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             The parties dispute the construction of the term “format” from claim 11 of the

      ’918 Patent (Group 4). Sprint contends that this term should not be construed.

      Defendants propose to construe the term to mean data which is used to select a mapping

      between a circuit based connection and an ATM virtual connection. The Court rejects

      defendants’ construction, and thus declines to construe this term, for the same reasons

      set forth in the preceding section. See supra Part III.WW.



             IT IS THEREFORE ORDERED BY THE COURT THAT certain terms in the

      patents at issue in this action are construed as set forth herein.


             IT IS SO ORDERED.


             Dated this 9th day of October, 2014, in Kansas City, Kansas.


                                                         s/ John W. Lungstrum
                                                         John W. Lungstrum
                                                         United States District Judge




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               UNITED STATES DISTRICT COURT                                1           (Court called to order.)
                 DISTRICT OF KANSAS
                                                                           2           THE COURT: All right. And if we are ready
      SPRINT COMMUNICATIONS
      COMPANY, LP,                                                         3   to proceed, we'll bring in the jury.
                                 Docket No. 11-2686
       Plaintiff,                                                          4           (The jury entered the courtroom, after which
       v.                                                                  5   the following proceedings were had.)
                                 Kansas City, Kansas
      TIME WARNER CABLE, INC.,                    Date:                    6           THE COURT: Thank you. You may be seated.
      ET AL.,
                                 Volume 4 - AM Session                     7   Welcome back, members of the jury. Mr. Wicker, I'll
       Defendants.
      ..........................                                           8   remind you, you remain under oath.
                      TRANSCRIPT OF JURY TRIAL                             9           THE WITNESS: Thank you, Your Honor.
               BEFORE THE HONORABLE JOHN W. LUNGSTRUM
              SENIOR UNITED STATES DISTRICT COURT JUDGE                   10           THE COURT: Counsel, you may resume your
      APPEARANCES:                                                        11   examination.
      For the plaintiff:
                                                                          12           MR. RECKERS: Thank you, Your Honor.
      B. Trent Webb
                                                                          13            FURTHER REDIRECT EXAMINATION
      Peter E. Strand                                                     14   BY MR. RECKERS:
      Robert H. Reckers
      Jordan T. Bergsten                                                  15     Q. So, Dr. Wicker, when we broke yesterday, we had
      Lauren Douville
      Ryan Schletzbaum
                                                                          16   just completed our analysis, our discussion of Claim 1
      Shook, Hardy & Bacon, L.L.P.
      2555 Grand Boulevard
                                                                          17   of the 052 patent; is that correct?
      Kansas City, MO 64108                                               18     A. That's correct.
      For the Defendant:                                                  19     Q. And we had checked all the boxes indicating
      Terrence J. Campbell    Ron E. Shulman
                                                                          20   infringement for that particular claim?
      Barber Emerson, LC       Latham & Watkins, LLP                      21     A. That's correct. Including the topmost box. It
      1211 Massachusetts St. 140 Scott Drive
      Lawrence, KS 66044        Menlo Park, CA 94025                      22   looks like that one's not checked.
      Daniel L. Reisner      Lawrence J. Gotts
      Arnold & Porter Kaye     Latham & Watkins, LLP                      23     Q. You got the clicker there. You can --
       Scholer, LLP         555 Eleventh Street, N.W.
      250 West 55th Street    Suite 1000
                                                                          24     A. I'm sorry.
      New York, NY 10019        Washington D.C. 20004                     25     Q. -- give it a last click there.


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  1                                                                        1         So are you ready to move on to the next claim?
           APPEARANCES:                                                    2     A. Yes, I am.
  2        (continued)                                                     3            THE WITNESS: And if I may, may I approach
  3        Stephanie Grace
           Jake Ryan                                                       4   the screen, Your Honor.
  4        Latham & Watkins, LLP                                           5            THE COURT: You may.
           12670 High Bluff Drive                                          6            THE WITNESS: Thank you, sir.
  5        San Diego, CA 92130                                             7   BY MR. RECKERS:
  6                                                                        8     Q. So, Dr. Wicker, the next claim is Claim 3 of the
  7                           INDEX
  8                                                                        9   052 patent; is that correct?
            Plaintiff's Witnesses:                      Page              10     A. Yes, it is.
  9                                                                       11     Q. And that's another inbound claim?
            STEPHEN B. WICKER, Ph.D                                       12     A. Yes, that's right.
 10          Further Redirect Examination By Mr. Reckers          631     13     Q. And this is -- this is our first dependent claim;
 11
 12                                                                       14   correct?
 13                                                                       15     A. That's right.
 14                                                                       16     Q. Can you explain for the jury what a dependent
 15                                                                       17   claim is?
 16
 17
                                                                          18     A. A dependent claim incorporates another claim.
 18                                                                       19   This claim starts with the method of Claim 1. So it's
 19                                                                       20   telling us at the outset all the steps in Claim 1 have
 20                                                                       21   to be there. So the first requirement of Claim 3 is all
 21                                                                       22   of Claim 1.
 22
 23
                                                                          23     Q. So why do you already have a checkmark in the
 24                                                                       24   first box there?
 25                                                                       25     A. Well, that was what we showed yesterday


                                                                                               1 (Pages 629 to 632)
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                                                 Page 685                                                       Page 687
  1   from the input of the switch to the output. Where do I      1   table and the information that's in the header to
  2   send it next. That's what tells it where to send it         2   determine where to send those packets next.
  3   next.                                                       3     Q. Dr. Wicker, are the differences in the IP and ATM
  4     Q. Okay. So let's ask the same questions for IP.          4   protocol meaningful in the context of Mr. Christie's
  5   How does a packetizer create an IP packet?                  5   inventions?
  6     A. Okay. So with the IP packet we see the same as         6     A. The differences are insubstantial from the
  7   with ATM. With ATM we took zeros and ones, put them in      7   standpoint of Mr. Christie's invention.
  8   the back of the truck and then addressed it.                8     Q. Why is that?
  9        With IP we see zeros and ones being put into the       9     A. Because what Mr. Christie was talking about was
 10   back of the truck and then we address it. The address      10   going to a packet communication network and routing
 11   in this case is called an IP address, an Internet          11   voice traffic across that communication network to take
 12   protocol address.                                          12   advantage of the efficiencies of packet-switching. He
 13     Q. What is an IP address?                                13   didn't go into the details of his claims of how ATM
 14     A. An IP address is -- is a particular sequence. We      14   works. He simply said, I'm going to put header
 15   usually represent it in hexadecimal notation, but          15   information in and route it across my network.
 16   basically -- or octal notation. It's an address that is    16        Well, that's exactly what happens with IP as
 17   used by switches in a packet-switched network to map IP    17   well. So at the level of the claims, the differences
 18   packets from the input of a switch to the output of a      18   are insubstantial.
 19   switch, to move it along towards its final destination.    19     Q. Let's turn, if you will, Dr. Wicker, to the next
 20     Q. So let's address the question of routing. Do IP       20   slide. And this is the claim term interworking unit;
 21   and ATM route in different ways?                           21   correct?
 22     A. Do they route in different ways? If we look in        22     A. That's correct.
 23   the details of IP and ATM, they do indeed. In other        23     Q. And this is the claim term we mentioned earlier
 24   words, they use different approaches to basically get      24   that there was an a judicial construction with an ATM
 25   the packets from one end of the network to the other.      25   component; correct?


                                                 Page 686                                                       Page 688
  1     Q. So how does an ATM network handle ATM packets?         1     A. That's correct.
  2     A. Okay. So an ATM network, here we've got an             2     Q. I think we'll see that on -- well, not the next
  3   example of routing ATM packets. If we look at it at the     3   slide. But let's go to the next slide. My question is
  4   level called for by the patents, what we see is we have     4   this: What type of equipment does Time Warner Cable use
  5   a packetizer generating ATM packets. The ATM packets        5   for its interworking unit?
  6   reach a switch. The switch is going to look up the          6     A. Okay. So the interworking unit, this would be
  7   information in the header. It's going to look up that       7   the media gateways that we've been talking about all
  8   VPI/VCI and say, what's the next route to take. Where       8   morning long, the MGXs. The particular media gateways
  9   do I map this at the output of my switch. The lookup        9   used in Time Warner Cable's VoIP network are made by
 10   table tells it where to go, and it routes the packet       10   Cisco. There's Cisco MGX8880 media gateways, and they
 11   accordingly.                                               11   look like that.
 12     Q. So how are IP packets routed in an IP network?        12     Q. And so for this claim term, there's a claim
 13     A. We'll see when we look at it from the standpoint      13   construction of ATM interworking multiplexers; is that
 14   of the level of the claims we've been discussing, it's     14   correct?
 15   the same way.                                              15     A. That's correct.
 16        Okay. So what we see is in routing IP packets,        16     Q. Is this the -- the definition of interworking
 17   we have an IP packetizer. We generate packets when they    17   unit that you applied in your infringement analysis?
 18   reach a switch, the switch is going to go to a lookup      18     A. Yes, it is.
 19   table. It's going to look up the information in the        19     Q. Okay. So let's break that down a little bit.
 20   header and say, where do I send it next, and then it       20   What is a multiplexer?
 21   will act accordingly, according to what the lookup table   21     A. Okay. A multiplexer is a device that takes
 22   says.                                                      22   traffic from different destination -- from different
 23        So in both the IP case and the ATM case -- this       23   sources and brings it together into one flow or vice
 24   is ATM, this is IP -- what we'll see are these packets     24   versa. That would be demultiplexing, but we can have
 25   coming into switches. The switches will use a lookup       25   single flows becoming multiple flows.


                                                                                     15 (Pages 685 to 688)
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                                                  Page 689                                                        Page 691
  1     Q. And is the Cisco MGX8880 a multiplexer?                1   Trunking Gateway Functional Specification. Okay. The
  2     A. Yes, it is.                                            2   trunking gateway, this is a media gateway. The trunking
  3     Q. And so what is -- what does it mean to do -- to        3   refers to what happens on the PSTN side. So the
  4   be an ATM interworking multiplexer?                         4   trunking gateway IP requirements include ATM-based
  5     A. What that means is that in doing its                   5   switching, ATM cell translation.
  6   multiplexing, moving from one networking technology to      6        And let me put those pieces together. What it's
  7   another, it's going to use ATM.                             7   saying here is that we'll have ATM cell translation for
  8     Q. Okay. And does Time Warner Cable use an ATM            8   cell processing by the ATM based switching fabric. So
  9   interworking multiplexer in its accused systems?            9   the switching fabric, once again, is that backplane.
 10     A. Yes, it does.                                         10   It's what's doing the routing from the input to the
 11     Q. Okay. And does it do so literally? Is the             11   output.
 12   MGA8880 literally an ATM interworking multiplexer?         12      Q. Okay. Did you also consider page 50 of PTX-65?
 13     A. Yes. There is extensive evidence and testimony        13      A. Yes, I did.
 14   that if you look into this box, you will find that ATM     14      Q. And what's shown -- what's shown on this
 15   cells are being used to route data across the backplane,   15   particular figure?
 16   data and voice.                                            16      A. Okay. So I want to know first that -- I've
 17     Q. What evidence did you rely on to determine that       17   highlighted this figure. Okay. So the yellow part's
 18   the MG8880 is an ATM interworking multiplexer?             18   not in the original figure, but everything else is.
 19     A. Okay. To begin with, I used the court's               19        And so what's being shown here is we have a PSTN
 20   construction. We've mentioned this interworking unit.      20   on one side and an IP network on the other. And here we
 21   The court has said that when I see this in the claim       21   have several cards that are in the chassis -- I don't
 22   language, I'm to read ATM interworking multiplexer.        22   think I used that word before -- that are within the
 23        What I then did was I looked at a number of           23   switch, within the MGX8880. The chassis is the big box.
 24   documents to see whether or not the MGX8880 was, in        24   Okay. And that big box has lots of cards that come in
 25   fact, an ATM interworking multiplexer. And what I found    25   and out. These are three of the cards.


                                                  Page 690                                                        Page 692
  1   was this: This is a document, PTX-72. And what it says      1        And so what we see is TDM voice coming in, and
  2   is that, like the 8850 -- that's an earlier version of      2   then the document says we've got ATM in the middle.
  3   the 8880 -- utilizes an ATM backplane. So what that's       3   Okay. That corresponds to what we just saw; namely,
  4   telling me is the part of the interworking multiplexer      4   that the backplane is an ATM backplane.
  5   that moves data from an input to an output, that's using    5        So the backplane is this PXM card -- or includes
  6   ATM. It's an ATM backplane.                                 6   the PXM card. So we've got ATM across the backplane,
  7     Q. Can you elaborate a bit on what a backplane is?        7   and then we've got another card that's providing us with
  8     A. The backplane is sort of the highway within the        8   Voice over IP traffic. So TDM coming in. ATM on the
  9   switch. So a switch is a device that has lots of input      9   backplane. And then Voice over IP coming out. And so
 10   traffic and lots of output traffic. So what has to         10   that's what's telling me this is an ATM interworking
 11   happen then is there has to be a mapping from an input     11   multiplexer.
 12   port to an output port for that switch to do its job.      12     Q. If you go to the next slide, I think we have some
 13   And so for that to happen, most switches use what's        13   further graphics on that. So what is shown on this
 14   called a backplane. That's the communication from the      14   further graphic as to Plaintiff's Exhibit 65?
 15   input ports to the output ports.                           15     A. Okay. This is just further explanation of what's
 16        Well, this is more than just a switch. We're          16   going on, and this is what I just showed you. We've got
 17   also doing translation, interworking between networking    17   synchronous DS0 voice. That's the PSTN voice. To cross
 18   technologies. And what this is telling me is that          18   the backplane, it's been converted to asynchronous ATM
 19   whatever is coming in or going out, when it's going        19   voice, and at the output of this interworking
 20   across the backplane, it's ATM.                            20   multiplexer we have this asynchronous IP voice. So in
 21     Q. Dr. Wicker, did you also consider Plaintiff's         21   the middle, it's ATM. It's an interworking multiplexer
 22   Exhibit 65 in your literal infringement analysis?          22   that's called for by the court.
 23     A. Yes, I did.                                           23     Q. And, Dr. Wicker, in considering your opinions,
 24     Q. In what way?                                          24   concerning the evidence as to literal infringement, did
 25     A. Okay. So this is PTX-65, and it's titled TWC's        25   you also consider the testimony of Cisco's corporate


                                                                                     16 (Pages 689 to 692)
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                                                  Page 693                                                       Page 695
  1   representative?                                             1   right, I'm happy to press forward.
  2     A. Yes, I did.                                            2            THE WITNESS: I'm all right.
  3     Q. And in what way?                                       3            THE COURT: He looks like he's doing -- I
  4     A. Okay. This is Mr. Yildirim's testimony. And            4   can't really see him. I hear him. It seems like he's
  5   just to remind you, he testified on a number of issues,     5   doing okay.
  6   but he talked about how the Cisco MGX8880 works. And so     6            MR. RECKERS: Yes, sir.
  7   what I found in his testimony is he was asked, In           7            THE COURT: All right.
  8   between the receipt of a TDM communication -- the voice     8   BY MR. RECKERS:
  9   from the PSTN -- and the transmission of a packet           9      Q. So I'd asked you if you performed some additional
 10   communication -- Voice over IP -- Cisco's media gateways   10   analysis. Can you explain to the jury what additional
 11   rely on an ATM switching fabric; correct?                  11   analysis you did in support of your infringement
 12        Correct.                                              12   position as to the ATM interworking multiplexer?
 13        So without the ATM switching fabric, Cisco's          13      A. Okay. So this notion -- and I think you heard
 14   media gateways would not be able to convert TDM to IP?     14   about this very early in the case, the doctrine of
 15        Correct.                                              15   equivalents. It's basically requiring that I ask myself
 16     Q. Dr. Wicker, in your infringement analysis, did        16   the question, is the difference between what the claims
 17   you consider the fact that Time Warner Cable's MGX8880     17   literally called for and what's being done by an accused
 18   do not actually output ATM cells?                          18   device insubstantially different. In other words, are
 19     A. Yes, I did.                                           19   the differences that I see insubstantial as far as what
 20     Q. And what is the impact of that -- of that fact?       20   the claims are calling for. If they are, then we see
 21     A. What I found was that it had no impact. It's an       21   satisfaction of those claim elements under the doctrine
 22   ATM interworking multiplexer, but the claims don't call    22   of equivalents. If I find that the differences are
 23   for transition of ATM cells or packets out across the      23   substantial from the standpoint of the claims, then I'd
 24   network.                                                   24   say, no, it's not satisfied under the doctrine of
 25     Q. And would the MG8880 be able to convert TDM to IP     25   equivalents.


                                                  Page 694                                                       Page 696
  1   without ATM interworking?                                   1      Q. And why did you perform this additional analysis
  2     A. No. You wouldn't -- let me go back a little bit.       2   for this claim element?
  3   You would not be able to get from here, the PSTN, to        3      A. Well, basically it was done so that -- you know,
  4   here, the IP network, in the MGX8880 without doing this     4   it was just another way of showing that we're doing
  5   conversion to ATM. If you didn't do that, you couldn't      5   essentially the same thing. In other words, we've got
  6   get across the backplane. If you can't get across the       6   literal with ATM in the middle, and doctrine of
  7   backplane, you can't get from the input to the output.      7   equivalents with simply to say, there's another way of
  8     Q. So, Dr. Wicker, what is your opinion as to             8   looking at it. It's saying here too we see that the
  9   whether or not in Time Warner's network, the 8880 media     9   claims are practiced.
 10   gateway, literally meets the court's claim construction    10      Q. Okay. And so getting more into the specifics of
 11   of an ATM interworking multiplexer?                        11   your equivalents analysis, can you explain to the jury
 12     A. It is literally, as I've shown, an ATM                12   what the factors are you considered when assessing the
 13   interworking multiplexer. It interworks ATM in its         13   presence of this claim element through the doctrine of
 14   multiplexing functionality.                                14   equivalents?
 15     Q. And, Dr. Wicker, did you perform additional           15      A. Okay. So there's basically two approaches to
 16   analysis for this particular claim element in support of   16   determining whether or not the differences between
 17   your infringement opinion?                                 17   what's claimed and what you're analyzing are
 18     A. Yes, I did.                                           18   insubstantial. One is to determine whether or not
 19           MR. RECKERS: Your Honor, I know that we            19   there's known interchangeability. In other words, could
 20   have a 10:30 break. This would be a --                     20   I have swapped IP for ATM or vice versa in the accused
 21           THE COURT: Well, 10:45 is usually --               21   system. Was it known that I could go from ATM to IP and
 22           MR. RECKERS: I apologize.                          22   back for that matter.
 23           THE COURT: It's no problem. And if this is         23      Q. Known by whom?
 24   a better time, that's fine. Whichever works for you.       24      A. Known by engineers at the time that infringement
 25           MR. RECKERS: We can -- if Dr. Wicker's all         25   began.


                                                                                     17 (Pages 693 to 696)
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                                                 Page 697                                                        Page 699
  1      Q. Okay. And --                                          1   and wires. Maybe not so many wires, but lots of chips,
  2      A. Known by a person of skill -- excuse me --            2   integrated circuits, various things that provide the
  3   according to the patent.                                    3   functionality for that particular card.
  4      Q. Yes, sir. And then what is the function -- I'm        4        Cards also often have connectors. You can see a
  5   sorry. What is the second test that you -- that you         5   connector here and here that provide outputs for, for
  6   performed?                                                  6   example, a packet network, packet-switched network.
  7      A. Okay. So the second test is called the                7     Q. Is the MG8880 built for you to be able to change
  8   function-way-result test. Basically what this does is       8   the cards?
  9   it says, does the Cisco MGX8880 gateways perform            9     A. Yes. It's specifically designed for that because
 10   substantially the same function as the claimed ATM         10   that's basically -- it gives you the flexibility to
 11   interworking multiplexer, in substantially the same way,   11   change your system as you need to. If all of this was
 12   to yield substantially the same result.                    12   just built in and fixed in a way where you couldn't
 13        So it's another way of looking at things to say,      13   remove it, your product wouldn't have flexibility. You
 14   are these differences insubstantial or are they            14   know, one group's needs would be different from another
 15   substantial. Do we have infringement under the doctrine    15   group, but they'd all have to buy the same box. That's
 16   of equivalents or not.                                     16   not so good.
 17      Q. Okay. So let's start with your known                 17     Q. So if I wanted to change my MG8880 from a device
 18   interchangeability opinions. And my question is this:      18   that output IP packets to one that output ATM packets,
 19   At the time of infringement in this case, was there        19   what would I do?
 20   known interchangeability between IP interworking and ATM   20     A. I would literally take one card out, put another
 21   interworking?                                              21   card in, and I would have to tell the system, I just
 22      A. Yes. Certainly were.                                 22   changed your cards, and I would be through.
 23      Q. And what evidence did you rely on as to that         23     Q. Was a device made for that swap?
 24   particular factor?                                         24     A. It was exactly made for that swap.
 25      A. Okay. Well, the first thing I did was I looked       25     Q. Okay. Did you rely on evidence from Cisco's


                                                 Page 698                                                        Page 700
  1   at the device itself. And I'm glad this is up again. I      1   designee Mr. Yildirim in support of your known
  2   mentioned this idea of a chassis. When you have various     2   interchangeability opinion?
  3   kinds of communication systems, switches and various        3     A. I did.
  4   other things, you'll often have a frame -- we call it       4     Q. So what testimony in particular?
  5   the chassis -- and that frame provides power. This one      5     A. So he was asked, So the MGX8880 is actually
  6   happens to have some cooling. Things get hot. And then      6   designed to interwork both between IP and ATM?
  7   it's got boards that we can pull in and out. So we can      7        And let me make sure I said that correctly.
  8   swap in and swap out boards as needed to provide            8        So the MGX8880 is actually designed to interwork
  9   whatever functionality we wish.                             9   between both IP and ATM?
 10         And so I looked at this switch, and I asked, were    10        And here's what he said: MGX8880 series box, you
 11   IP and ATM interfaces interchangeable; and what I found    11   know, from the day that it was envisioned and built,
 12   was, in fact, they are. And they were, going back quite    12   thinking that it was going to be everything ATM.
 13   a ways.                                                    13        So what he's telling me, in a person of skill, is
 14      Q. Okay. And can you explain to the jury when --        14   that, you know, originally they thought everything was
 15   let me first ask this: How big of a device is this         15   going to be ATM. And there's a long story behind that.
 16   MG8880?                                                    16   ATM was a very -- and is a good technology.
 17      A. Okay. So it's about that big (indicating).           17        It was ATM interworking, you know, all the media
 18      Q. And can you point to the cards on the screen?        18   running through ATM. It was built that way. This box,
 19      A. Yes. These are the cards here.                       19   the MGX8880, was designed for ATM communication. But
 20      Q. And was the device made -- I'm sorry. Go ahead.      20   the time frame that you're talking about, when 8880
 21      A. I was about to say, and you can think of each one    21   built for Voice over IP in mind, and in that case, you
 22   of these -- I'm trying to think of a good analogy --       22   know, we optimized whatever we had to between TDM and
 23   it's almost like maybe a cookie tin or something. You      23   IP.
 24   know, it's going to slide out like this. And when you      24        So what he's saying there is that he had a box
 25   pull them out, what you'll see are all kinds of chips      25   designed for ATM, and then they took that box and used


                                                                                    18 (Pages 697 to 700)
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  1   it for communication between TDM and IP.                    1   those particular steps in terms of the function, the way
  2      Q. Does this analysis or this testimony from             2   and the result?
  3   Mr. Yildirim also support your literal analysis?            3     A. Yes, I will.
  4      A. Yes, it does. Going back to the literal case          4     Q. Okay. We can move forward now to the next set of
  5   that it is an ATM interworking multiplexer, what he's       5   patents. And these are the claims actually of the
  6   saying is that from the start, this box was designed to     6   broadband patents. So Slide 164, we have the three
  7   be an ATM box. And when it came time to use it for          7   broadband patents that are asserted in the case. Can
  8   Voice over IP, they kept the same basic functionality,      8   you explain just to the jury a summary of what you did,
  9   simply added the IP functionality. The ATM on the           9   what your analysis was and conclusions as to these
 10   backplane remained.                                        10   particular claims of the broadband patents?
 11      Q. Dr. Wicker, to what extent is the use of IP and      11     A. Okay. So we have three different claims --
 12   ATM in networks such as these and equipment such as this   12   excuse me. We have three different patents, the 064,
 13   a design choice?                                           13   the 429 and the 084. Each one of these patents has a
 14      A. It's a design choice in the sense that when          14   relatively small number of asserted claims, three for
 15   you're looking to design a box, you're going to make       15   the 064, three for the 429 and two for the 084.
 16   decisions about what kind of backplane to use, what kind   16        So what I did was I looked at these claims, and
 17   of technologies to use. And as we've seen, there are       17   then I determined whether or not Time Warner Cable's
 18   different options. In this case ATM was a design           18   outbound and inbound call processing infringed or did
 19   choice.                                                    19   not infringe, and I found they did infringe these
 20      Q. Did you rely on Mr. Yildirim's testimony on this     20   claims.
 21   point as well?                                             21     Q. Okay. So let's start with Claim 1 of the 064
 22      A. Yes. He was asked -- asked -- excuse me -- the       22   patent. So, Dr. Wicker, this is an outbound call?
 23   specific question. It was just a design choice by          23     A. Yes.
 24   Cisco, the use of ATM across the backplane?                24     Q. Okay. And the first step -- I'm sorry. This is
 25        Yes. Just leveraged that what we already had          25   a method claim as well?


                                                  Page 702                                                        Page 704
  1   instead of spending more and building something new.        1     A. Yes, it is. All of our claims are method claims.
  2        So he took his ATM switch and adapted it rather        2     Q. Yes, sir. The first step is receiving setup
  3   than starting over again.                                   3   signaling associated with the call into a processing
  4     Q. So based on all the evidence you just discussed        4   system. What evidence did you consider as to Time
  5   regarding the 8880, what is your conclusion as to           5   Warner's CMS network as to the first step of Claim 1 of
  6   whether or not Time Warner Cable's media gateway            6   the 064 patent?
  7   constitutes an ATM interworking multiplexer under the       7     A. Okay. So just to remind you, it's an outbound
  8   doctrine of equivalents?                                    8   call. So it's a subscriber of Time Warner's network
  9     A. Okay. This notion of it being a design choice          9   making a call to someone on the PSTN. So then I have
 10   points to known interchangeability. Being able to pull     10   this claim language, claim step, receiving setup
 11   cards in and out points to known interchangeability.       11   signalling associated with the call into a processing
 12   This is telling me that the ATM interworking multiplexer   12   system.
 13   and the MGX8880 are equivalent under the doctrine of       13        So you've seen this evidence already because then
 14   equivalents. So the differences are insubstantial.         14   the question is, are we receiving setup signaling into
 15     Q. If we go to the next slide, we have a checkmark.      15   our call processing system. Yes, we are. Mr. Cannon
 16   I see that you've checked the box indicating your          16   testifies that the user dials the telephone number, the
 17   opinion in that regard?                                    17   telephone attached to this eMTA. The message gets
 18     A. Yes.                                                  18   relayed to the CMS. Then the CMS sends media gateway
 19     Q. Now, did you also consider the question of            19   control protocol-based messaging back down to the eMTA
 20   equivalents in the context of the function-way-result      20   to select an IP address and port.
 21   test that you mentioned?                                   21        So we receive this dialed telephone number into
 22     A. Yes, I did.                                           22   our call processing system, in this case the CMS.
 23     Q. And as we go through the claim steps in the           23     Q. And you relied on Mr. Cannon's testimony for
 24   remaining claims that implicate the -- the interworking    24   that?
 25   unit claim term, will you provide your analysis for        25     A. Yes, I did.


                                                                                     19 (Pages 701 to 704)
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   1                            UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS
   2
          SPRINT COMMUNICATIONS
   3      COMPANY, LP,
                                                   Docket No. 11-2686
   4       Plaintiff,
   5       v.
                                                   Kansas City, Kansas
   6      TIME WARNER CABLE, INC.,                  Date: 2/27/2017
          ET AL.,
   7                                     Volume 10 - AM Session
           Defendants.
   8      ..........................
   9                      TRANSCRIPT OF JURY TRIAL
                   BEFORE THE HONORABLE JOHN W. LUNGSTRUM
 10               SENIOR UNITED STATES DISTRICT COURT JUDGE
 11
          APPEARANCES:
 12
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 13
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 25

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   1    application that ultimately resulted in the patent. So,     1   and the patent?
   2    again, because of a constructive reduction to practice,     2            MR. BENYACAR: Mr. Christie and the patent,
   3    conception is not at issue here. So, again, because the     3   yes, sir. And he assumes that those things exist; and,
   4    specification is adequately clear, there's no need for      4   in fact, the fact of the matter is that the invention of
   5    us to introduce extrinsic evidence of what one employee     5   the broadband patents is a recognition that the call
   6    may or may not have thought at the time of invention.       6   control patents wouldn't work because those switches
   7             THE COURT: Let me clarify one more thing.          7   didn't exist, so we need to think of another way to do
   8    Apparently I was incorrect, based upon Sprint's             8   it, and that's what's disclosed in the broadband
   9    representation, that Dr. Min -- concerning Dr. Min's        9   patents, and that's the subject matter that Dr. Min is
  10    reliance on Gardner. Was Sprint unaware of the reliance    10   going to testify about.
  11    on Gardner when they made that representation last week?   11         Counsel for Sprint says, well, it's really
  12             MR. SCHLETZBAUM: Sure. I had that same            12   irrelevant because written description is supposed to be
  13    question. I think we went back and looked at it. I         13   ascertained from the four corners of specification. But
  14    don't know that we were definitively clear on whether or   14   as we know, Your Honor, the specification is supposed to
  15    not it was included in his report, and I apologize if      15   be read as one of skill in the art would understand it.
  16    that was not clear.                                        16   And as Dr. Min, as one of skill in the art understands
  17         Dr. Min does cite to Mr. Gardner's testimony in       17   it, those embodiments disclosed in the call control
  18    his expert report. I think at the time we were confused    18   patents would not work because Mr. Christie assumed the
  19    whether or not that citation related to this ATM switch    19   technology existed which did not exist. Mr. Gardner,
  20    issue.                                                     20   one of Sprint's engineers, confirmed that those switches
  21         There is a section in Dr. Min's report where he       21   did not exist. And that is evidence that those skilled
  22    cites to Mr. Gardner and Mr. Setter and a bunch of         22   in the art, including Dr. Min and Mr. Gardner, would
  23    extrinsic deposition testimony to show the ATM and IP      23   understand that those embodiments would not work.
  24    issues are not equivalent. And so our understanding at     24            THE COURT: Let me ask this: To what extent
  25    that time was that, you know, if he cites to               25   does your argument cross over into enablement?

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   1    Mr. Gardner, it was for the purposes of showing ATM and     1            MR. BENYACAR: It does not cross into
   2    IP as equivalent, or not the same technology.               2   enablement at all, Your Honor. We are not going to
   3         As Time Warner pointed out, there are other            3   argue that the claims are not enabled. What we're going
   4    citations mixed in throughout the report where Dr. Min      4   to say is that when an inventor relies on a technology
   5    does rely on Gardner's testimony as to whether or not an    5   that those skilled in the art understand did not exist,
   6    ATM switch existed at the time.                             6   those skilled in the art would understand, from the
   7            THE COURT: All right. Thank you,                    7   specification, that the inventor was not in possession
   8    Mr. Schletzbaum. Who speaks for Time Warner?                8   of the invention because he -- there is no way to do it.
   9            MR. BENYACAR: David Benyacar, Your Honor.           9   And that's the case law with regard to a wish and a
  10    So I believe as counsel just admitted, indeed Dr. Min      10   plan.
  11    does rely on the testimony of Mr. Gardner on the exact     11        Mr. Christie had a wish or an assumption that
  12    point of whether or not ATM switches existed at the time   12   technology existed, and then describes an invention,
  13    that could perform the functions that Mr. Christie         13   assuming that that technology was in place when, in
  14    ascribes to them in the specification. And really all      14   fact, it was not. And because the technology was not in
  15    we're asking today is that Dr. Min be able to testify to   15   place, those skilled in the art would understand that
  16    exactly what's contained in his expert report. Really      16   Mr. Christie was not actually in possession of the
  17    nothing more.                                              17   invention at the time the application was filed.
  18         Counsel says that there really is no dispute that     18            THE COURT: Let me get Mr. Schletzbaum back
  19    Mr. Christie had full conception of these embodiments      19   up for a moment, and I'll visit with you some more,
  20    that use these ATM switches because he says things that    20   Mr. Benyacar. Thank you.
  21    the switches are supposed to do, but the fact of the       21            MR. SCHLETZBAUM: Yes, Your Honor.
  22    matter is that Mr. Gardner does not disclose a new ATM     22            THE COURT: Let me ask you this, in terms of
  23    switch in the specification. He assumes those switches     23   the -- the argument that the ATM switches -- that that
  24    exist and says they'll do --                               24   was something that did not exist in the art, what if
  25            THE COURT: Pardon me, you mean Mr. Christie        25   Mr. Christie had described an invention that said

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   1    included in this is an antigravity device, describe --      1   operate as it's intended.
   2    and described it very clearly how this antigravity          2        And Your Honor picked up on the same point that
   3    device worked, all of this to be able to invent a           3   we were just discussing at counsel's table is the idea
   4    perpetual motion machine.                                   4   of whether or not this would operate with a -- with or
   5              MR. SCHLETZBAUM: Sure.                            5   without a switch is really an enablement question. And
   6              THE COURT: He would have adequately               6   I think this issue is -- really does bleed over into 112
   7    described an antigravity device perhaps. Was that           7   enablement questions that Dr. Min is not going to
   8    enough, even if we all would assume that that's probably    8   testify to is my understanding.
   9    not going to work? How is that example like or unlike       9            THE COURT: This is hardly definitive, but
  10    the situation here posed by Time Warner?                   10   out of curiosity, Sprint did not attack Dr. Min's
  11              MR. SCHLETZBAUM: Well, I think -- first of       11   opinion either through a Daubert motion or on summary
  12    all, I think it's a little unlike the situation because    12   judgment or motion in limine. Dr. Min's opinion
  13    it's -- you know, we're not talking about some             13   certainly was not a surprise to Sprint apparently that
  14    hypothetical antigravity situation. This is a real live    14   he relied on the absence of the ATM switch. Is that --
  15    switch that people in the industry were working on to      15   am I right in the understanding?
  16    develop, but I think --                                    16            MR. SCHLETZBAUM: That's correct. We did
  17              THE COURT: Now, wait a minute, let me stop       17   file a Daubert motion against Dr. Min in the Comcast
  18    you there. Okay. There -- there was no such thing as       18   case.
  19    an ATM switch at the time; is that correct?                19            THE COURT: Comcast but not in this case?
  20              MR. SCHLETZBAUM: Not -- not necessarily.         20            MR. SCHLETZBAUM: That's correct, Your
  21    There was an ATM switch but not one that could do          21   Honor.
  22    call-by-call setup that we're talking about, a switch      22            THE COURT: And, you know, I might infer
  23    virtual circuit.                                           23   from that that you didn't think there was anything wrong
  24              THE COURT: So you say they were working on       24   with it at the time.
  25    it. What do you mean by that?                              25            MR. SCHLETZBAUM: Well, frankly, we didn't

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   1             MR. SCHLETZBAUM: Sure. So I think the              1   -- you know --
   2    testimony from other inventors that we haven't put on in    2            THE COURT: I mean, and again, that may be
   3    the trial is that there were various companies that         3   too broad. There's no rule that says you have to file a
   4    Sprint was working with to actually build these devices     4   Daubert motion about everything you don't like.
   5    to work with Sprint's JCS2000 project.                      5            MR. SCHLETZBAUM: Sure. I guess our concern
   6         But I think, to get back to your point as to           6   is that, you know, the further we go down this path, as
   7    whether or not that's even relevant to the written          7   we talked about yesterday, it's really an effort by them
   8    description requirement, if the inventor adequately         8   to introduce JCS2000 into this case which we've made a
   9    describes antigravity or an ATM switch, the test is         9   very conscious effort to exclude. And so to the extent
  10    whether or not a person of ordinary skill in the art       10   he's going to testify about Mr. Gardner's belief at the
  11    reading that specification would understand the inventor   11   time in relation to JCS2000, that's going to force our
  12    to be in possession of the invention.                      12   hand to bring in additional evidence to rebut that
  13         Now, it doesn't matter if it is something that's      13   testimony.
  14    to be built later or hasn't existed before now. If the     14            THE COURT: All right. Let me get
  15    inventor can describe it in such detail and how it         15   Mr. Benyacar back up again.
  16    operates in the specification, then it's sufficient for    16        Mr. Benyacar, tell -- tell me again why you think
  17    the written description requirement.                       17   this isn't really enablement that you're discussing.
  18             THE COURT: Then what is the significance of       18            MR. BENYACAR: Certainly, Your Honor. Let's
  19    the wish or plan language in Novozyme and Eli Lilly?       19   take the antigravity machine example that Your Honor
  20             MR. SCHLETZBAUM: Sure. So I think in those        20   used. If a specification that said there's an
  21    decisions it was more of in a pharmaceutical context       21   antigravity machine and this is the way I'm going to use
  22    where they think basically this drug will do "x" or we     22   it, here's all the things I'm going to do with this
  23    think we can build "x" to do "y." Here it's not a wish     23   antigravity machine, and your invention is use the
  24    or a plan. It's actual call flows are described in         24   antigravity machine for functions A, B and C, well,
  25    great detail to make sure that the invention would         25   those skilled in the art, including those in this room,

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   1    would understand there is no such antigravity machine,      1   written description requirement is not satisfied.
   2    so it cannot be that the inventor was in possession of      2            THE COURT: Now, I'm sorry, Mr. Schletzbaum,
   3    an invention which could actually perform those             3   you may be heard. Then, Mr. Benyacar, you will
   4    functions because the inventor was assuming a technology    4   ultimately get the last word whenever that is since it's
   5    that did not exist. And that's the mere wish or plan.       5   your motion.
   6         There's really no difference between the example       6            MR. SCHLETZBAUM: Your Honor, I think we've
   7    counsel cited about a drug that you hope will do            7   kind of bled over into a second issue that we raised
   8    something, which is the example counsel cited. Here         8   with some of the demonstratives. And if you don't mind,
   9    there's a switch which he hoped existed that would do       9   I'll hand you a copy.
  10    something, but it didn't.                                  10            THE COURT: That's fine. Thanks.
  11             THE COURT: Now, Mr. Schletzbaum says that         11            MR. SCHLETZBAUM: Again, these are the
  12    there would be evidence that if we go down this path       12   demonstratives that Dr. Min intends to use during his
  13    Sprint could put on to show that such a switch was in      13   examination today. If you could look at Slide 16, this
  14    development --                                             14   claim construction issue, it becomes front and center
  15             MR. BENYACAR: So --                               15   that you just raised with Mr. Benyacar.
  16             THE COURT: -- whether it ultimately worked        16         You see in Slide 16 there's a distinction between
  17    or not.                                                    17   the specification and the claims. And in the
  18             MR. BENYACAR: So I want to be clear about         18   specification section, Time Warner Cable intends to have
  19    one thing. We absolutely do not intend to introduce any    19   -- it appears that Dr. Min's going to say that the
  20    evidence about JCS2000. Your Honor -- the court's          20   specification requires ATM virtual circuit telephone
  21    orders on that are crystal clear, and Dr. Min will not     21   company technology. Do you see that?
  22    discuss JCS2000 at all. It will be a very discrete         22         And that is exactly the type of claim
  23    point, just about the existence of a technology at the     23   construction argument that Your Honor has already ruled
  24    time. No reference to Sprint's commercialization           24   on as a matter of law that doesn't exist in the claims
  25    efforts. No reference to Sprint's prototypes. Just as      25   as they're -- as construed.

                                                         2095                                                            2097

   1    a person of ordinary skill in the art, Mr. Gardner,         1            THE COURT: All right. Let's --
   2    understood these switches didn't exist. Period.             2            MR. SCHLETZBAUM: Slide 27 has a similar
   3            THE COURT: Let me ask you one other                 3   issue as well.
   4    question -- or let me -- let me just pose to you a          4            THE COURT: 16 and 27?
   5    concern I have, and that is, Time Warner has taken a        5            MR. SCHLETZBAUM: Yeah, 27 also quotes the
   6    different position from the court on the extent to which    6   terms identifier, asynchronous communication and routing
   7    the invention is limited to ATM technology beyond the       7   as all limited to ATM-type technology. Again, each of
   8    ATM multiplexer in the one set of patents -- or the one     8   these claim construction positions has been directly
   9    circumstance. And I am concerned that there is the          9   rejected by Your Honor.
  10    possibility of Time Warner's claim construction theory,    10            THE COURT: All right. Thank you.
  11    which is contrary to the court's ruling, right or wrong,   11   Mr. Benyacar.
  12    bleeding into Time Warner's case here. Now, can you        12            I'm sorry. One other question for
  13    allay my concern in that regard?                           13   Mr. Schletzbaum. Is it -- is it correct that the only
  14            MR. BENYACAR: Yes, Your Honor, I absolutely        14   embodiment that's shown in the Christie patents uses the
  15    can, and I will be as clear in allaying your concern as    15   ATM switch in question?
  16    I can possibly be. We do not intend to argue that the      16            MR. SCHLETZBAUM: I believe that's correct,
  17    claims of the call control patents require these ATM       17   Your Honor. I believe that the drawings show the ATM
  18    switches or ATM technology. The exact opposite is true.    18   switch.
  19    We intend to tell the jury the claims do not require ATM   19            THE COURT: Does the fact that the only
  20    technology, but the written description requirement        20   embodiment shows that limit for written description
  21    requires an alignment between the claims and the           21   purposes in any way the specification issue?
  22    specification.                                             22            MR. SCHLETZBAUM: No, Your Honor. So the
  23         So we intend to be very clear with the jury about     23   specification describes that embodiment in broad terms.
  24    what Your Honor's claim construction is. They do not       24   It uses words like broadband packet network, switching
  25    require ATM. We say the spec does, and that's why the      25   capability. So to the extent that the figure is showing

                                                         2096                                                            2098

                                                                                           Pages 2095 to 2098
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   1    an ATM embodiment, as Your Honor looked at it during        1   don't know exactly what Time Warner's concern is there.
   2    claim construction, there is no limiting language that      2            THE COURT: All right. Well, let's hear
   3    that is the only idea that Mr. Christie had possessed.      3   from Time Warner then. Okay. Thank you.
   4             THE COURT: All right. Thank you. Now let           4            MR. BENYACAR: Thank you, Your Honor. The
   5    me go back to you, Mr. Benyacar.                            5   issue with respect to Dr. Houh -- and just to respond to
   6             MR. BENYACAR: Thank you, Your Honor. The           6   Your Honor's timing question, I believe these two are
   7    slide that counsel has up, I believe, is an example of      7   the only ones that are pressing for this morning. I
   8    what -- exactly what I promised Your Honor a minute ago     8   believe Your Honor asked a question about timing of the
   9    with respect to not saying anything to the jury that        9   different issues.
  10    would contradict Your Honor's construction of the claims   10        The issue with Dr. Houh is throughout the course
  11    of the call control patents, for example that they don't   11   of this case Sprint has been asserting that it was
  12    require ATM.                                               12   entitled not to the filing date of the patents but to
  13         This is -- these slides are clearly broken up to      13   this October 1993 date, which -- which they allege was
  14    show what does the specification teach. That's not what    14   the conception date and then a diligence in reducing to
  15    Your Honor construed. Your Honor construed the claims,     15   practice. And we developed our case accordingly, for
  16    of course. And then the claims, and we make it very        16   example, through the testimony of Mr. Schessel.
  17    clear the claims are not limited to ATM. The               17        In its motion with respect to Mr. Gardner on
  18    specification only discloses ATM. So I -- we set it up     18   Friday, in order to advocate that Mr. Gardner's
  19    this way specifically to make very clear to the jury we    19   testimony was not necessary, what Sprint said is, we're
  20    are not contradicting Your Honor's claim constructions.    20   not going to rely on any reduction to practice, we're
  21    In fact, we are affirmatively relying on them to show      21   just going to accept the filing date of the patents, and
  22    the -- the incongruity between the specification and the   22   so Mr. Gardner's testimony is irrelevant because you
  23    claims.                                                    23   don't need to know what we actually did, all we're going
  24             THE COURT: All right. Thank you. Is               24   to rely on the filing date.
  25    Dr. Min your first witness?                                25        And that's fine. And they prevailed on that

                                                          2099                                                           2101

   1             MR. BENYACAR: He is very early. He could           1   argument on the Gardner issue, but that impacts which
   2    be within an hour.                                          2   art Dr. Houh is going to present. So if they were
   3             THE COURT: Thank you. Let's -- let's talk          3   relying on the 1993 date, there would be a number of
   4    at least about how we might deal with this time-wise,       4   pieces of art that go back further. If they're going to
   5    about the other issues that were raised in the e-mail       5   rely on the filing date, we can significantly cut back
   6    that Mr. Campbell sent to Ms. Scheurer this morning. Do     6   on the art that we're relying on because the published
   7    you want to speak to those? Who's speaking on behalf --     7   patent application of Mr. Schessel itself would be prior
   8             MR. SCHLETZBAUM: I'll refer to Mr. Reckers         8   art.
   9    on behalf of --                                             9        So all we did was ask Sprint's counsel, after
  10             THE COURT: For Dr. Houh -- how is it --           10   Friday's motion, please confirm that you are not -- no
  11             MR. BENYACAR: It's Dr. Houh, Your Honor.          11   longer alleging a 1993 date but you are only going to
  12             THE COURT: Houh. Dr. Houh. Thank you.             12   rely on the filing dates of the patents because we need
  13             MR. RECKERS: Yes, Your Honor. I think the         13   that to know what Dr. Houh is going to testify to, and
  14    e-mail indicated that Time Warner wanted some kind of      14   we never got a response. And that's why we're here on
  15    holding that Sprint's estopped from challenging some       15   this issue today.
  16    piece of prior art on the basis of the fact that we're     16            THE COURT: All right. Let's have
  17    not going to try to swear behind a conception date.        17   Mr. Reckers back up again.
  18    We're not planning on offering evidence of the '93         18            MR. RECKERS: Just for context, Your Honor,
  19    conception document because we can't get -- we can't get   19   on Friday they had five pieces of prior art they
  20    all the way behind Vision O.N.E. because they filed the    20   identified for this trial and under the 102(g) theory.
  21    thing in '92.                                              21   After the weekend they dropped the 102(g) but, you know,
  22         So I don't know what the dispute is or why we         22   I don't know that any of this is germane to our
  23    should be estopped from doing anything. We're not          23   discussion. We've said that we're not going to swear
  24    intending to push our date back to '93. I don't know       24   behind to '93. Some of the art that they've dropped
  25    that there's anything else we need to do on that. I        25   are --

                                                          2100                                                           2102

                                                                                           Pages 2099 to 2102
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                                                                                                                             Page 2550
   ·1·   · · · · · · · UNITED STATES DISTRICT COURT                         ·1· · · · · · · · · THE COURT:· We're back in session.
   · ·   · · · · · · · · · ·DISTRICT OF KANSAS
   ·2                                                                       ·2· ·But outside the hearing of the jury, we can take up
   · ·   ·SPRINT COMMUNICATIONS
   ·3·   ·COMPANY, LP,                                                      ·3· ·that issue that was brought up before lunch,
   · ·   · · · · · · · · · · · · · · · · ·Docket No. 11-2686                ·4· ·Mr. Reckers.
   ·4·   · ·Plaintiff,
   ·5·   · ·v.                                                              ·5· · · · · · · · · MR. RECKERS:· ·Dr. Wickers' rebuttal
   · ·   · · · · · · · · · · · · · · · · ·Kansas City, Kansas
   ·6·   ·TIME WARNER CABLE, INC.,· · · · Date:· 2/28/2017                  ·6· ·will be addressing Vision One theories submitted by
   · ·   ·ET AL.,                                                           ·7· ·Time Warner in their case in chief.· The dispute
   ·7·   · · · · · · · · · · · · · · · · ·Volume 11 - PM Session
   · ·   · ·Defendants.                                                     ·8· ·arises regarding several concept papers that
   ·8·   ·..........................
   ·9·   · · · · · · · ·TRANSCRIPT OF JURY TRIAL
                                                                            ·9· ·Mr. Schessel addressed on his direct testimony.· We
   · ·   · · · · ·BEFORE THE HONORABLE JOHN W. LUNGSTRUM                    10· ·are going to -- these are from '91 and '92 which is
   10·   · · · ·SENIOR UNITED STATES DISTRICT COURT JUDGE
   11·   ·APPEARANCES:                                                      11· ·the exact time frame which Time Warner says for their
   12·   ·For the plaintiff:                                                12· ·system-based theory, which is the theory they've
   13·   · B. Trent Webb
   · ·   · Peter E. Strand                                                  13· ·advanced, shows the progress that they had as to the
   14·   · Robert H. Reckers
   · ·   · Jordan T. Bergsten                                               14· ·Vision One conception.· These are within months of
   15·   · Lauren Douville                                                  15· ·the documents that their expert relied on, the
   · ·   · Ryan Schletzbaum
   16·   · Shook, Hardy & Bacon, L.L.P.                                     16· ·alleged publication in '91 and the patent application
   · ·   · 2555 Grand Boulevard
   17·   · Kansas City, MO 64108
                                                                            17· ·in '92, so they were within months of the documents
   18·   ·For the Defendant:                                                18· ·they are relying on.· They were discussed on direct
   19·   · Terrence J. Campbell· · · · Ron E. Shulman
   · ·   · Barber Emerson, LC· · · · · Latham & Watkins, LLP                19· ·with Mr. Schessel in their case in chief, we are not
   20·   · 1211 Massachusetts St.· · · 140 Scott Drive                      20· ·going to be arguing about the fact they never
   · ·   · Lawrence, KS 66044· · · · · Menlo Park, CA 94025
   21                                                                       21· ·commercialized these concepts.· We are looking at, in
   · ·   ·   Daniel L. Reisner· · · · · ·Lawrence J. Gotts
   22·   ·   Arnold & Porter Kaye· · · · Latham & Watkins, LLP              22· ·1991, what did Schessel even have and that's relevant
   · ·   ·   · Scholer, LLP· · · · · · · 555 Eleventh Street, N.W.          23· ·to what's in the disclosure because the
   23·   ·   250 West 55th Street· · · · Suite 1000
   · ·   ·   New York, NY 10019· · · · · Washington D.C. 20004              24· ·contemporaneous documents say they didn't have the
   24
   25                                                                       25· ·broadband requirement, which is exactly our point.

                                                                Page 2549                                                    Page 2551
   ·1·   · APPEARANCES:
                                                                            ·1· ·Within months of the patent application they have
   · ·   · (continued)
   ·2                                                                       ·2· ·another document that says, hey, we have all these
   · ·   ·   Stephanie Grace                                                ·3· ·phases, we're working on Phase 1 now and later we'll
   ·3·   ·   Jake Ryan
                                                                            ·4· ·do 6 and 7.· They're the once that relate to the
   · ·   ·   Latham & Watkins, LLP
   ·4·   ·   12670 High Bluff Drive                                         ·5· ·technology that they claim is disclosed in the patent
   · ·   ·   San Diego, CA 92130                                            ·6· ·application.· They're very probative as to what they
   ·5
   ·6
                                                                            ·7· ·actually had in the time frame and relevant to
   ·7·   · · · · · · · · · · · · ·I N D E X                                 ·8· ·respond to Mr. Schessel's direct testimony and
   ·8·   ·Witnesses:                                                        ·9· ·Dr. Houh's theories as to the two documents that were
   ·9·   ·Jonathan Putnam
   · ·   · · Cross-Examination by Mr. Strand· · · · ·2567
                                                                            10· ·allegedly published about the same time.· That's our
   10·   · · Redirect Examination by Mr. Gotts· · · ·2612                   11· ·position, that we should be able to use the documents
   11·   ·Rebuttal Witness:                                                 12· ·to show that at the time they didn't actually have
   12·   ·Stephen Wickers
   · ·   · · Further Examination by Mr. Reckers· · · 2637
                                                                            13· ·the details that Dr. Houh and Mr. Schessel stated
   13·   · · Further Examination by Mr. Reisner· · · 2713                   14· ·they had.
   14                                                                       15· · · · · · · · · THE COURT:· Remind me again or take me
   15·   · · · · · · · · · E X H I B I T S
   16·   ·Exhibits· · · · · · · ·Offered· · · · · · ·Received               16· ·back to what the documents in question are.
   · ·   ·2977· · · · · · · · · ·2591· · · · · · · · 2592                   17· · · · · · · · · MR. RECKERS:· · ·Let me was out of
   17·   ·3157· · · · · · · · · ·2634· · · · · · · · 2634
                                                                            18· ·slides.· It starts slide four, goes on to about 11.
   · ·   ·3158· · · · · · · · · ·2634· · · · · · · · 2634
   18·   ·3159· · · · · · · · · ·2634· · · · · · · · 2634                   19· · · · · · · · · THE COURT:· Is this an internal
   · ·   ·2843· · · · · · · · · ·2634                                       20· ·document?
   19·   ·2845· · · · · · · · · ·2634
   20
                                                                            21· · · · · · · · · MR. RECKERS:· · ·It is the internal
   21                                                                       22· ·Siemens document, Your Honor, that was introduced
   22                                                                       23· ·into evidence by Mr. Schessel for the purpose of
   23
   24
                                                                            24· ·showing that they had possession in his view of some
   25                                                                       25· ·set of technical subject matter.




                                                                                                                                         YVer1f
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                                                    Page 2740                                                    Page 2742
   ·1· · · · · ·A.· · ·Yes.· Again, I don't agree the           ·1· · · · · ·Q.· · ·You're not surprised by that.· Why
   ·2· ·question remains.· I think we've answered it, but       ·2· ·don't we look at that one.· It's 29.· This slide 29
   ·3· ·that is an important question.                          ·3· ·is a quote from the '084 patent at column ten, lines
   ·4· · · · · ·Q.· · ·Fair enough.· You have your answer to    ·4· ·57 through 58 and another quote from column 11, lines
   ·5· ·the question, of course, we have a different answer.    ·5· ·21 through 28; do you see that?
   ·6· ·My question simply was that's the question all of us    ·6· · · · · ·A.· · ·Yes, I do.
   ·7· ·have to address here?                                   ·7· · · · · ·Q.· · ·And you talked about the fact that
   ·8· · · · · ·A.· · ·That's correct.                          ·8· ·this refers to TCP slash IP, right?
   ·9· · · · · ·Q.· · ·Now, when you do a written description   ·9· · · · · ·A.· · ·That's correct.
   10· ·analysis and you've done many, many before this day,    10· · · · · ·Q.· · ·Now, you're not intending to convey
   11· ·right?                                                  11· ·the impression to the jury that the broadband patents
   12· · · · · ·A.· · ·That's correct.                          12· ·discussed using IP for the voice, are you?
   13· · · · · ·Q.· · ·What is the single most important        13· · · · · ·A.· · ·This is not a specific disclosure of
   14· ·thing for an expert to look at when evaluating a        14· ·IP being used for voice.· It's a specific disclosure
   15· ·written description?                                    15· ·being used for signalling.
   16· · · · · ·A.· · ·Determine whether there's adequate       16· · · · · ·Q.· · ·Here the IP, I think you can see it if
   17· ·disclosure for a person of skill to understand that     17· ·you just read it, it says on the line, don't have
   18· ·the inventor was in possession of the invention.        18· ·line numbers here, Ethernet while supporting TCP/IP
   19· · · · · ·Q.· · ·What I'm asking you is what is the       19· ·which transfers signalling messages, right?
   20· ·single most important piece of evidence that you need   20· · · · · ·A.· · ·That's correct.
   21· ·to look at to answer that question?                     21· · · · · ·Q.· · ·So it's not talking here now about
   22· · · · · ·A.· · ·Oh, I understand.· The written           22· ·using IP for voice?
   23· ·description.                                            23· · · · · ·A.· · ·No, not in this section.
   24· · · · · ·Q.· · ·And by written description you're        24· · · · · ·Q.· · ·And you weren't hoping that people
   25· ·referring to the actual specification of the patent?    25· ·would be confused and see TCP/IP and think, oh, the

                                                    Page 2741                                                    Page 2743
   ·1· · · · · ·A.· · ·That's correct.                          ·1· ·broadband patents were talking about voice?
   ·2· · · · · ·Q.· · ·Now, I want to focus on the broadband    ·2· · · · · ·A.· · ·No, I've tried to be as clear as
   ·3· ·patents for a moment.· You have 49 slides on written    ·3· ·possible.
   ·4· ·description, right, that you just testified to about    ·4· · · · · ·Q.· · ·When you testified, did you say, by
   ·5· ·today, right?                                           ·5· ·the way the TCP/IP is only for signalling, not for
   ·6· · · · · ·A.· · ·Again, I'll take your word for that.     ·6· ·voice?· Did you point that out?
   ·7· · · · · ·Q.· · ·Okay.· Well, the last page says 49.      ·7· · · · · ·A.· · ·I mentioned TCP/IP was one of the many
   ·8· ·So I want to ask you how many of these slides showed    ·8· ·kinds of signalling that was considered.· I don't
   ·9· ·figures from the broadband patents?                     ·9· ·believe I said this is an example of TCP/IP being
   10· · · · · ·A.· · ·I don't believe I used figures from      10· ·used for voice communication.
   11· ·the broadband patents.                                  11· · · · · ·Q.· · ·That would be a pretty big deal if the
   12· · · · · ·Q.· · ·So that would be zero, right?            12· ·broadband patents said you can use TCP/IP for voice,
   13· · · · · ·A.· · ·Yes, I think that's right.               13· ·right?
   14· · · · · ·Q.· · ·How many of these slides contained       14· · · · · ·A.· · ·If they explicitly said that, it would
   15· ·text from the broadband patents?                        15· ·have been helpful, yes.
   16· · · · · ·A.· · ·I believe there was a handful. I         16· · · · · ·Q.· · ·It would be very helpful to what
   17· ·don't recall the number.                                17· ·you're trying to say, right?
   18· · · · · ·Q.· · ·Maybe you can show us the handful.       18· · · · · ·A.· · ·It would have made the scope of the
   19· ·Because I don't see a handful.                          19· ·disclosure more clear, but I still think it's clear.
   20· · · · · ·A.· · ·I actually haven't done that analysis.   20· · · · · ·Q.· · ·I understand.· But, in fact, that is
   21· ·I don't know how many of my slides quoted from one      21· ·your view but, in fact, if you look at the broadband
   22· ·group of patents as opposed to another.                 22· ·patents you won't find anywhere a statement that says
   23· · · · · ·Q.· · ·Would you be surprised to learn that     23· ·use IP for the voice, right?
   24· ·it's only one?                                          24· · · · · ·A.· · ·No, it doesn't say that.
   25· · · · · ·A.· · ·No, I would not be surprised.            25· · · · · ·Q.· · ·Now, in the call control patents is




                                                                                                                             YVer1f
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                                                    Page 2744                                                    Page 2746
   ·1· ·ATM used as a method for setting up a path to carry     ·1· ·control patents in this case?
   ·2· ·user communications?                                    ·2· · · · · ·A.· · ·That's correct.
   ·3· · · · · ·A.· · ·Yes, it is.                              ·3· · · · · ·Q.· · ·In the entire call control patents
   ·4· · · · · ·Q.· · ·The call control patents describe        ·4· ·there's only one example of an actual broadband
   ·5· ·interconnecting TDM circuits to ATM virtual circuits,   ·5· ·switch that somebody could purchase, right?
   ·6· ·right?                                                  ·6· · · · · ·A.· · ·That's correct.
   ·7· · · · · ·A.· · ·That's correct.                          ·7· · · · · ·Q.· · ·The one example of an actual broadband
   ·8· · · · · ·Q.· · ·And certainly ATM and circuit            ·8· ·switch that someone could purchase was a four systems
   ·9· ·switching are the primary technologies discussed in     ·9· ·ASX, right?
   10· ·the call control patents?                               10· · · · · ·A.· · ·I believe that's right, yes.
   11· · · · · ·A.· · ·They're the primary examples provided.   11· · · · · ·Q.· · ·And the four systems ASX is an ATM
   12· · · · · ·Q.· · ·They are also the primary technologies   12· ·broadband switch, right?
   13· ·discussed in the patents?                               13· · · · · ·A.· · ·That's correct.
   14· · · · · ·A.· · ·That's correct.                          14· · · · · ·Q.· · ·Now, the call control patents refer
   15· · · · · ·Q.· · ·Now, when the call control patents       15· ·generally to all of the media between two switches,
   16· ·referred to examples of broadband networks, the only    16· ·right?
   17· ·examples provided are ATM, right?                       17· · · · · ·A.· · ·Can you rephrase the question?· I'm
   18· · · · · ·A.· · ·That's correct.                          18· ·not sure what you're getting at.
   19· · · · · ·Q.· · ·The call control patents talk            19· · · · · ·Q.· · ·That's fine, and if you want to look
   20· ·generally about broadband networks, but ATM is the      20· ·at the patent so you can follow me, I'll give you a
   21· ·only example discussed?                                 21· ·cite.· So Exhibit 2, column 5, lines 3 through 5.
   22· · · · · ·A.· · ·That's right.                            22· · · · · ·A.· · ·Thank you.
   23· · · · · ·Q.· · ·Was there any discussion of any other    23· · · · · ·Q.· · ·There is a reference there to all of
   24· ·broadband technology in the call control patents        24· ·the media between two switches; do you see that?
   25· ·other than ATM?                                         25· · · · · ·A.· · ·Yes.


                                                    Page 2745                                                    Page 2747
   ·1· · · · · ·A.· · ·Yes.· There was a discussion of          ·1· · · · · ·Q.· · ·The term "media" is another way of
   ·2· ·different kinds of identifiers that, for example,       ·2· ·saying connection, the connection between the network
   ·3· ·would have been associated with IP.                     ·3· ·elements, right?
   ·4· · · · · ·Q.· · ·Dr. Wicker, do you remember me asking    ·4· · · · · ·A.· · ·Yes, that's right, in this context,
   ·5· ·you this precise question at your deposition?           ·5· ·that's correct.
   ·6· · · · · ·A.· · ·Not exactly, but I'm sure you did.       ·6· · · · · ·Q.· · ·And the call control patents explain
   ·7· · · · · ·Q.· · ·What I asked you was, I'm going to       ·7· ·that the media or connection might correspond to a
   ·8· ·confirm this, should be in your binder, a deposition    ·8· ·virtual path in an ATM system or a trunk group in a
   ·9· ·that took place on June 12, 2015.                       ·9· ·T-1 system, right?
   10· · · · · ·A.· · ·Can you tell me what tab it would be     10· · · · · ·A.· · ·That's correct.
   11· ·under because I'm not seeing it.                        11· · · · · ·Q.· · ·A trunk group in a T-1 system is like
   12· · · · · ·Q.· · ·Let me know when you're there.           12· ·a DS0?
   13· · · · · ·A.· · ·Can you give me the page number again.   13· · · · · ·A.· · ·No.· A trunk group would contain DS0.
   14· · · · · ·Q.· · ·Certainly.· Page 411, lines 8            14· · · · · ·Q.· · ·I misspoke.· You're absolutely right.
   15· ·through 11.                                             15· ·A trunk group contains a bunch of DS0s?
   16· · · · · ·A.· · ·I'm there.                               16· · · · · ·A.· · ·Lots of them.
   17· · · · · ·Q.· · ·Did I ask you, was there any             17· · · · · ·Q.· · ·And the DS0's, this is TDM?
   18· ·discussion of any other broadband technology in the     18· · · · · ·A.· · ·That's correct.
   19· ·6561 patent other than ATM?· And was your answer no?    19· · · · · ·Q.· · ·So this is not talking here about IP,
   20· · · · · ·A.· · ·That's correct.                          20· ·right?
   21· · · · · ·Q.· · ·And just so we're clear the question     21· · · · · ·A.· · ·Not in this example, no.
   22· ·was with respect to the 6561 patent, that patent is     22· · · · · ·Q.· · ·Now, the call control patents refer to
   23· ·referring to the '561 patent in this case, right?       23· ·B-ISDN numerous times, right?
   24· · · · · ·A.· · ·That's correct.                          24· · · · · ·A.· · ·That's correct.
   25· · · · · ·Q.· · ·And the '561 patent is one of the call   25· · · · · ·Q.· · ·And B-ISDN stands for broadband ISDN?




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         THEIR ENTIRETY
